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Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 1 of 274 PageID 3875



   1                       UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
   2                              TAMPA DIVISION

   3    UNITED STATES OF AMERICA,         Case No.8:12-CR-45-T-35AEP

   4               Plaintiff,

   5     VS.                              Tampa, Florida

   6    SAMI OSMAKAC,                     June 3, 2014

   7               Defendant.             10:00 a.m.

   8    __________________________/

   9                                   VOLUME 6
                        TRANSCRIPT OF JURY TRIAL PROCEEDINGS
  10                     BEFORE THE HONORABLE MARY S. SCRIVEN
                            UNITED STATES DISTRICT JUDGE
  11
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Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 2 of 274 PageID 3876



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                                                                              3
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 3 of 274 PageID 3877



   1                                  I N D E X

   2    WITNESSES:                                                        PAGE

   3

   4    WILLIAM ORTIZ

   5    DIRECT EXAMINATION BY MS. SWEENEY......................            235

   6    CROSS-EXAMINATION BY MR. GEORGE TRAGOS ................            238

   7    REDIRECT EXAMINATION BY MS. SWEENEY ...................            242

   8

   9    STEVEN MILLER

  10    DIRECT EXAMINATION BY MS. SWEENEY .....................            244

  11    CROSS-EXAMINATION BY MR. GEORGE TRAGOS ................            249

  12    REDIRECT EXAMINATION BY MS. SWEENEY ...................            257

  13

  14    EXHIBITS:

  15    Government's Exhibit 22 (Stipulation) .................            233

  16    Government's Exhibit Number 54-A

  17    in Evidence (Photo of Defendant's vehicle) ............            245

  18    Government's Exhibit Number 54-C in Evidence

  19    (Photo of pistol) .....................................            246

  20    Government's Exhibit Numbers 54-D and E in Evidence

  21    (Photos of bombs) .....................................            248

  22

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  24

  25



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                                                                              4
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 4 of 274 PageID 3878



   1                           P R O C E E D I N G S

   2                               June 3, 2014

   3                                    ******

   4               THE COURT:    Good morning.

   5               Are there any preliminary issues to address from the

   6    Government or the defense?

   7               MS. SWEENEY:    Your Honor, from the Government, we're

   8    going to begin playing the CHS recordings this morning and one

   9    of the ones that's earliest in the timeline is the one on which

  10    the Government has lodged a hearsay objection.

  11               THE COURT:    The Government briefed the issue of

  12    impeachment.    I didn't see any briefing on the question of the

  13    803 motive or intent or mental impression.

  14               And is the Government prepared for the Court to

  15    present to the jury a limiting instruction as to the purpose

  16    for which the CHS's statements are being offered and have you

  17    drafted such a limiting instruction?

  18               MS. SWEENEY:    I have not drafted one, Your Honor, I

  19    apologize, but, yes, I was anticipating that such a limiting

  20    instruction would be given.      I would just suggest that it's

  21    essentially that the CHS's statements in the recordings are not

  22    admitted for the truth of the matter and they're admitted only

  23    to make the Defendant's statements in the recordings

  24    understandable.

  25               THE COURT:    And with regard to that, if that is true,



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                                                                              5
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 5 of 274 PageID 3879



   1    that they're not being offered for the truth of the matter

   2    asserted, Mr. Tragos, do you have any notion that the 806

   3    objection or exception to the hearsay rule would be applicable?

   4                MR. GEORGE TRAGOS:    Well, I do, Your Honor, in a

   5    sense.

   6                THE COURT:   Well, let me ask you the first question.

   7    Do you agree that the statements in the recordings are not

   8    offered for the truth of the matter asserted?

   9                MR. GEORGE TRAGOS:    No, I do not.

  10                THE COURT:   So, for example?

  11                MR. GEORGE TRAGOS:    Well, I'm sorry, this kind of

  12    catches me -- the CHS talks about where he's to go, what he's

  13    to do.

  14                THE COURT:   What who's to do and where who's to go?

  15                MR. GEORGE TRAGOS:    Your Honor, give me a minute.

  16    I'll have to pull all the CHS's transcripts.

  17                THE COURT:   You knew you were going to have to make

  18    the argument this morning, so I'm not sure why that's a

  19    surprise.

  20                MR. GEORGE TRAGOS:    Well, Your Honor, the Government

  21    yesterday did not say they were going to put this instruction

  22    up.

  23                THE COURT:   Well, the Government did say that the

  24    CHS's statements were not being offered for the truth of the

  25    matter asserted.



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                                                                              6
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 6 of 274 PageID 3880



   1               MR. GEORGE TRAGOS:     Can you give me a moment, Your

   2    Honor?

   3               (Brief pause.)

   4               THE COURT:    Well, setting aside that question for one

   5    second, let's assume for a moment that the CHS's statements are

   6    not being offered for the truth of the matter asserted.           The

   7    statement at issue is this one of "I intend to control him this

   8    time."   That is not a statement of fact, in any event, that is

   9    a statement of an intent or motive which, as I understand it,

  10    under 803 is an exception in and of itself.         And tell me why

  11    that's not true.

  12               MS. SWEENEY:    I think that perhaps that is true, Your

  13    Honor.   The purpose that the defense said they were going to

  14    offer this statement for was to impeach the credibility of the

  15    CHS, so regardless of whether this statement may fall under a

  16    hearsay exception by itself, it doesn't meet the standards of

  17    806 to impeach the credibility of a hearsay declarant.

  18               THE COURT:    Does it permit the Defendant to play it

  19    for the purpose of establishing the CHS's intent or motive or

  20    then present mental impression?

  21               MS. SWEENEY:    Not 806, Your Honor.

  22               THE COURT:    Well, the defense said 804, 806, 801

  23    yesterday.

  24               MS. SWEENEY:    So, Your Honor, if that is the path by

  25    which this is being moved into evidence by the defense, the



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                                                                              7
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 7 of 274 PageID 3881



   1    Government's response would be that that's not relevant.

   2               Again, this goes back to the Government's argument

   3    that the actions or statements of Government agents or actors

   4    outside of the presence of the Defendant are not relevant to an

   5    entrapment defense.

   6               THE COURT:    Mr. Tragos.

   7               MR. GEORGE TRAGOS:     The case law cited by the

   8    Government isn't necessarily relevant to the facts that we have

   9    here today.    We have --

  10               THE COURT:    This is on the 806 objection?

  11               MR. GEORGE TRAGOS:     806, but we're also arguing that

  12    this does express the motive of the -- and I think the motive

  13    is relevant.    I think motive of an agent of the Government, and

  14    again, we're talking very early on, this is a statement made

  15    before the December 5th meeting which was the first meeting

  16    that was supposed to happen with the UCE where the Defendant

  17    did not show.    This is the CHS is going to control this

  18    Defendant.    And that is his motive for doing what he's doing.

  19               THE COURT:    Well, the case law seems pretty clear

  20    that the motive is not relevant.       The motive of an agent of the

  21    Government is not relevant to an entrapment defense.

  22               MR. GEORGE TRAGOS:     Well, Your Honor, I don't -- I

  23    don't know if I necessarily agree that motive is not relevant.

  24    I think the Court went to a -- cited a case yesterday with

  25    regards to statements about entrapment made by the agent.           I



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                                                                              8
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 8 of 274 PageID 3882



   1    don't have -- do we have that case handy?

   2               THE COURT:    Pickle?

   3               MR. GEORGE TRAGOS:      United States versus Price.      I

   4    don't know if that is correct or not, but the Court read that

   5    the motive of the agent that they weren't going to entrap him

   6    or try to entrap him, that that statement was relevant.

   7    Pickle.

   8               THE COURT:    That's not their motive, that's their

   9    intent.

  10               MR. GEORGE TRAGOS:      Well, the intent of this person

  11    is to control my client.      And I don't know how much clearer he

  12    can say it than he said it here.       And he said it on

  13    December 5th before any meetings with the UCE.

  14               THE COURT:    I think that is right.      I think his

  15    intent, not his motive, but what he was going to do as

  16    expressed by him is relevant to this case.         Why he was doing it

  17    or what his purpose was, whether he was trying to work his time

  18    off or whether he, himself, was under investigation, whether

  19    the Government needed a big hit or a big prosecution, all of

  20    that is motive and it's not relevant to the Defendant's

  21    behavior or to the Government's prosecution.

  22               But its intent in inducing the Defendant, which is

  23    what the defense of entrapment suggests, is supportable by U.

  24    S. versus Pickle, as admissible because there, the Government

  25    wanted to offer evidence of the Government's intent not to



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                                                                              9
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 9 of 274 PageID 3883



   1    entrap the Defendant and the Court said it wasn't admissible as

   2    its intent.    And so its intent to control the Defendant is, I

   3    can't imagine otherwise, equally relevant and 803 would allow

   4    it to come in because it's not hearsay or it's an exception to

   5    the hearsay because it's offered to prove intent and he said

   6    it, it's available, the Court will allow it to be introduced in

   7    the course of the case.

   8                Does the defense agree with the limiting instruction

   9    the Government proposes that the confidential human source's

  10    statements are not offered to prove the truth of the matter

  11    asserted, but offered to provide context for the Defendant's

  12    statements?

  13                MR. GEORGE TRAGOS:    Your Honor, again, I don't see

  14    how that can be separated out.       If the Court wants some

  15    examples now, I have some examples.

  16                THE COURT:   Yes, sir.

  17                MR. GEORGE TRAGOS:    This is on Exhibit 101.4-B.       It's

  18    a transcript from November 30th, 2011, just a couple

  19    statements.    If the Court will remember, they were talking

  20    about in the UCE's -- remember, they were talking about St.

  21    Petersburg, going down to South St. Pete to meet drug dealers.

  22                And the conversation of the CHS, page eight, "No, you

  23    need to make a decision before we talk about it.          So life is

  24    okay now.    Oh, oh, oh, I remember, I was talking to a brother

  25    in St. Pete that has a grocery store and a gas station."



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                                                                             10
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 10 of 274 PageID 3884



   1                THE COURT:    I'm sorry, who's speaking?

   2                MR. GEORGE TRAGOS:      The CHS is speaking.

   3                THE COURT:    All right.

   4                MR. GEORGE TRAGOS:      "I told him he's not going to be

   5    in a place that has alcohol.        I said, no, I can put him with

   6    the guys just to fill up.      They have full, especially since the

   7    winter is coming, they have full service.         Are you willing to

   8    work?"

   9                My client:    "Yeah."

  10                CHS: "In St. Pete?"

  11                My client:    "Yes, inshallah, God willing, I live

  12    there."

  13                "Which area do you live in?"

  14                THE DEFENDANT:    "I live 118th and U. S. 19."

  15                CHS:   "Oh, I never" --

  16                CHS: "It's so close, it doesn't matter, St. Pete."

  17                "I don't know anything about St. Pete, but I" -- and

  18    it goes on and on talking about St. Pete.

  19                CHS talking, same page, they're talking about,

  20    "something bigger than me and you and what makes me nervous

  21    that you change."

  22                101-B -- excuse me -- 101-B, again, November 30th,

  23    2011, page 45.     One of the reasons given for the CHS not

  24    participating with the Defendant, and I don't know if the Court

  25    remembers, the UCE, they were talking about one of the -- the



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                                                                             11
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 11 of 274 PageID 3885



   1    Defendant wanted the CHS to actually drive the truck.           One of

   2    the reasons why the CHS talks about his knee surgery and the

   3    reason he can't drive the truck is because of the knee surgery

   4    that he had.    And that's on page 45.      There's --

   5                THE COURT:    Well, 101-B, on my exhibits, 101.4-B, is

   6    what you said, it's only 14 pages long.

   7                MR. GEORGE TRAGOS:     Well, this is 101-B.

   8                MS. SWEENEY:    Your Honor, we're not seeking to

   9    introduce 101-B.     We're not introducing the entirety of their

  10    conversation, only portions of it which are the clips that are

  11    marked.

  12                So Mr. Tragos is referring to a part that I don't

  13    believe is in a clip, although it may be, but I don't think it

  14    is.

  15                MR. GEORGE TRAGOS:     The 101.4 is a clip you're

  16    introducing, right?

  17                MS. SWEENEY:    Right.

  18                THE COURT:    101.4-B?

  19                MR. GEORGE TRAGOS:     Point 4-B, yes.

  20                THE COURT:    And what page are you speaking from?

  21                MR. GEORGE TRAGOS:     I was talking about -- initially,

  22    I was reading from page nine -- page eight.

  23                THE COURT:    Eight of 14?

  24                MR. GEORGE TRAGOS:     Right.

  25                (Brief pause.)



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                                                                             12
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 12 of 274 PageID 3886



   1                THE COURT:    So what truth is being asserted there in

   2    the defense's perspective?

   3                MR. GEORGE TRAGOS:     Relates to St. Petersburg and he

   4    knows somebody in St. Petersburg, and he's talking about St.

   5    Petersburg.    Again, going back to the UCE, going down to St.

   6    Petersburg to buy guns.

   7                Does the Court also have 101.8-B?

   8                THE COURT:    Yes.

   9                MR. GEORGE TRAGOS:     At the top of page one, third

  10    line, CHS:    "Are you ready to go.      You're going to go forward?"

  11                THE COURT:    Mr. Peter Tragos, I need you not to speak

  12    during this discussion.      Yes, sir.    The son Tragos, I guess.

  13                MR. GEORGE TRAGOS:     Oh, I'm sorry.    Peter.

  14                The CHS is speaking.     "Are you ready to go.      You're

  15    going to go forward?"

  16                THE DEFENDANT:    "The plan is to do."

  17                CHS:    "And you're not going to change?"

  18                "No, if I have, listen, I'm going to stick to it.

  19    There is no going back.      Put the belt on, there's nobody

  20    stopping me, nothing."

  21                CHS: "Okay, inshallah, you're going to take him?"

  22                DEFENDANT:    "I have a person, don't worry about it."

  23                CHS:    "You got somebody?"

  24                "Yeah, I'm going to tell you who."

  25                "CHS:    "You don't need to tell me nothing, but you're



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                                                                             13
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 13 of 274 PageID 3887



   1    going forward?"

   2                "Yeah."

   3                "And where do you have to put this stuff?"

   4                Your Honor, if he's not telling the truth there, then

   5    what sense is there to this discussion?

   6                THE COURT:    Well, my understanding was with regard to

   7    this discussion that the defense did not object to the

   8    introduction of the confidential human source's statements

   9    along with those of the Defendant's.        And the only objection

  10    was by the Government to the one statement, I intend to or "I'm

  11    going to control him this time."        And now am I hearing that the

  12    Government -- that the defense does object to the introduction

  13    or that the defense just objects to the limiting instruction?

  14                MR. GEORGE TRAGOS:     I object to the limiting

  15    instruction.    Does the Court want some other examples?

  16                On page three of that same transcript, top of the

  17    page:

  18                CHS:   "I'll get you the car.     I'm just gonna try my

  19    best, but I don't know how much it costs.         If it costs more

  20    than $2,000, I'm not going to get it.        You want a belt, we'll

  21    get you a belt.     Now, you need two of them.      Fine, fine, and

  22    you have everything after that, you don't see me, I don't see

  23    you."

  24                THE COURT:    Ms. Sweeney.

  25                MS. SWEENEY:    Your Honor --



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                                                                             14
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 14 of 274 PageID 3888



   1                THE COURT:    Sounds like the truth of the matter

   2    asserted.

   3                MS. SWEENEY:    No, no, Your Honor, what's relevant is

   4    how the Defendant responds to it.

   5                THE COURT:    But it doesn't matter whether that's the

   6    relevance you like, the other part of the statement is what the

   7    CHS is doing, "I will get you a belt."        And --

   8                MS. SWEENEY:    No, no, he says, "You want a belt,

   9    we'll get you the belt," and he's, you know, the Government's

  10    contention would be he's referring to meeting with the UC.            But

  11    that's not for the truth of the matter asserted, whether the

  12    CHS is telling the truth there or not.        The only thing that

  13    statement is admitted for, from the Government's perspective,

  14    is for the Defendant's response.

  15                Essentially, he says, "Never, only in Jannah."         So at

  16    the end, the CHS says. "You have everything after that, you

  17    don't see me, I don't see you."       The Defendant responds,

  18    "Never, only in heaven," essentially.

  19                So, if I just played "never, only in heaven," that

  20    wouldn't mean anything.      It doesn't respond to anything.       The

  21    only thing that's relevant is what the Defendant says here.

  22    But the only way to understand what the Defendant is saying is

  23    to admit the CHS portions.

  24                As to the other things that Mr. Tragos specifically

  25    cited, including on 101.8, page one of the transcript,



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                                                                             15
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 15 of 274 PageID 3889



   1    everything that's on there are questions that the CHS is asking

   2    the Defendant.     "Are you ready to go?"     "Are you going

   3    forward?"    "You're not going to change?"       "You've got

   4    somebody?"

   5                These are all questions that the CHS is putting to

   6    the Defendant.     They're not statements of fact in any sense of

   7    the word.    And I mean, quite often, what the CHS says is not --

   8    it's not true in some instances.        You know, for instance, back

   9    on page three where we were, he says, "I don't know how much it

  10    costs.   If it costs more than $2,000, I'm not going to get it?

  11    I mean, that implies that it's true that the CHS is actually

  12    going to pay for these items.       And, of course, he's not

  13    actually going to pay for these items.        Any money that is put

  14    forth is going to come from the Defendant, but the Defendant

  15    might assume or believe that the CHS is going to pay other

  16    amounts of that money, but it's not like the CHS actually hands

  17    the FBI $2,000 to get these items built.         That's simply not

  18    true.

  19                The CHS's statements are not true in the traditional

  20    sense.   They are only set forth as part of his role in

  21    interacting with the Defendant.

  22                Same thing, I mean, just to cover what Mr. Tragos

  23    covered, on 101.4-B, on page eight of that, the CHS is talking

  24    about a job at a grocery store in St. Pete where they don't

  25    sell alcohol.    Again, whether that's true or not, whether there



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                                                                             16
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 16 of 274 PageID 3890



   1    really was a job, whether the CHS really does know someone who

   2    owns a grocery store in St. Pete that doesn't sell alcohol, it

   3    doesn't matter if that's true or not.

   4                THE COURT:    Why is that whole discussion relevant at

   5    all?

   6                MS. SWEENEY:    The Government's not intending to play

   7    that portion and it's just part of the clip, but in the -- with

   8    what we present to the jury, we're not intending to play that

   9    portion of this clip, Your Honor.

  10                THE COURT:    I'm sorry, I thought these were the clips

  11    that were being played.

  12                MS. SWEENEY:    Your Honor, we're only playing certain

  13    pieces of them.     We clipped the bigger conversation just so

  14    that there was context around it.        But the -- and then we're

  15    playing portions of them.      In some instances we're playing the

  16    whole thing and in other instances we're playing pieces that

  17    have been requested by the defense or that we would like to

  18    play.

  19                THE COURT:    So even the smaller clips of 101.4-B and

  20    101.4 or 3, whatever it is, the Court can't count on those to

  21    be the smaller content of the larger transcript, 101, that the

  22    Government intends to play?

  23                MS. SWEENEY:    No, Your Honor.

  24                THE COURT:    Well, then I can't make a decision on

  25    what is or isn't hearsay or not.        You'll play what you play,



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                                                                             17
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 17 of 274 PageID 3891



   1    the Court will admit what it said it's going to admit and then

   2    at the conclusion of it, the parties need to be clear about

   3    what assertions they're going to make about what limiting

   4    instructions should be given to the jury, if any, 'cause I

   5    can't -- if every time Mr. Tragos points to something that he

   6    says is being offered for the truth of the matter, the

   7    Government says, oh, that's not being played and that's not

   8    being played and the Court looks at it and if I don't know

   9    what's being played in advance, I can't rule in advance.

  10                MS. SWEENEY:    Well, I mean, with the statements that

  11    have been offered thus far, regardless of whether they're being

  12    played or not, they're not being offered for the truth of the

  13    matter.

  14                THE COURT:    Well, when I get the transcript of what

  15    is being offered, then I can make a decision about whether it's

  16    offered for the truth of the matter asserted, then I'll give

  17    the limiting instruction or I won't give the limiting

  18    instruction based upon what I later learn is, in fact, being

  19    played 'cause I don't know what it is.

  20                MS. SWEENEY:    Your Honor, these are the clips that

  21    will be admitted, like 101.4, the Government will move that in

  22    and then we will only play portions of it in front of the jury,

  23    but the entirety of it --

  24                THE COURT:    I'm not going to rule at 10:00 o'clock in

  25    the morning on each paragraph and sentence in these general



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                                                                             18
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 18 of 274 PageID 3892



   1    transcripts.    The only objection asserted yesterday was to one

   2    statement of the CHS which the Court has resolved.          If there

   3    are other objections or requests for a limiting instruction,

   4    the parties will need to point me to those sections to which

   5    there is an objection and the Court will address it at that

   6    time.

   7                Anything else?

   8                MS. SWEENEY:    No, Your Honor, thank you.

   9                MR. GEORGE TRAGOS:     No.

  10                THE COURT:    Anything else beyond this issue that we

  11    need to address?

  12                MR. GEORGE TRAGOS:     No, Your Honor.     I think, though,

  13    considering the Court's ruling, is the Government going to play

  14    first that December 5th clip?

  15                MS. SWEENEY:    We'll play it in the order, so we'll

  16    play 101 first, and then 102, with the preamble that we

  17    discussed.

  18                MR. GEORGE TRAGOS:     We have --

  19                THE COURT:    I assume this is not on the record, this

  20    cross discussion between counsel?

  21                MR. GEORGE TRAGOS:     Your Honor, we have done an

  22    agreement as to the preamble that the Government's going to say

  23    prior to the clip being played.

  24                THE COURT:    And what is the preamble?

  25                MR. GEORGE TRAGOS:     On the December 5th clip, it will



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                                                                             19
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 19 of 274 PageID 3893



   1    be, this is a portion of a December 5th transcript where the

   2    CHS is talking to the FBI agents.        That's that short one the

   3    Court just ruled on.

   4                THE COURT:    Just for my edification, the CHS says,

   5    "I'm going to control him this time."        What other time was

   6    there when the CHS didn't control him to which this apparently

   7    is referring?

   8                MS. SWEENEY:    Your Honor, I believe what this

   9    statement refers to is the fact that in previous meetings it

  10    had sometimes been very difficult to hear the Defendant on the

  11    recording devices.     And what this CHS is referring to is, he's

  12    saying, "I'm going to control him this time," that is, not let

  13    him move around so much, try to keep him stationary so that the

  14    recording device can accurately record what he's saying.

  15                I do not believe that this refers to this CHS's

  16    intent to control the Defendant's actions in terms of what he's

  17    going to do in terms of this plot.

  18                I understand Mr. Tragos' position that it is, but

  19    this is prior to a meeting that then does not take place.            So

  20    if the CHS's intent was to control the Defendant, he did a very

  21    poor job of it because the Defendant decided not to attend the

  22    December 5th meeting.

  23                THE COURT:    And that would be nice to have if we had

  24    the CHS present in the courtroom to explain it.          All right.

  25                Let's --



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                                                                             20
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 20 of 274 PageID 3894



   1                MS. SWEENEY:    Your Honor, we may seek to call one of

   2    the agents that was there to explain what they understood by

   3    the CHS's remark.

   4                THE COURT:    Then I will not allow that.

   5                Is there someone who's going to come in to offer the

   6    FBI transcript as a witness or not?

   7                MS. SWEENEY:    No, Your Honor, the parties have

   8    essentially agreed on the transcripts.

   9                THE COURT:    The ones that were attempted to be

  10    introduced yesterday?

  11                MS. SWEENEY:    Oh, I'm sorry, Your Honor, yes, the

  12    Government's intent at the moment is Special Agent Haag, the

  13    gentleman who testified yesterday, he has located the big disk,

  14    and he is attempting to listen to it now and to further

  15    authenticate the recordings that were at issue yesterday.

  16                So the current plan is for the Government to recall

  17    him to the stand to finish authenticating the recordings.

  18                MR. GEORGE TRAGOS:     If I might, Your Honor, so that

  19    the record is clear on the defense request on that, if he is

  20    reviewing something to authenticate the disc, we would also

  21    like to have the opportunity to review it.         We would request

  22    it.

  23                Secondly, we specifically request any other

  24    conversations between Russell Dennison and the Defendant that

  25    are in the Government's possession other than these three.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             21
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 21 of 274 PageID 3895



   1                THE COURT:    All right.

   2                MS. SWEENEY:    Your Honor, do you want me to respond

   3    to that now?

   4                THE COURT:    Yep.

   5                MS. SWEENEY:    Okay.   I cannot provide the big disk.

   6    It is protected.     As to other conversations between Russell

   7    Dennison and the Defendant, to the extent they were in any way

   8    exculpatory or Brady, or that they in any way were related to

   9    this case, those have been previously provided to defense

  10    counsel.    I believe there's dozens of them that have previously

  11    been provided between the Defendant and Russell Dennison.            I

  12    can't represent that it's every conversation between the two of

  13    them, but it's many.

  14                THE COURT:    To the extent that the Court has already

  15    ruled on certain requests by the Government to maintain the

  16    protection of conversations between the Defendant and

  17    Mr. Dennison, that ruling stands.        And that would preclude the

  18    defense from reviewing the entire disk that is being considered

  19    by Mr. Haag.    The extent to which that might preclude Mr. Haag

  20    from authenticating because it might preclude the defense from

  21    fairly cross-examining Mr. Haag, we'll address it when he

  22    attempts to testify to what he has now attempted to do.

  23                Please recall the jury.

  24                (Jury returned to the courtroom.)

  25                Welcome back, ladies and gentlemen.        And we are still



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                                                                             22
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 22 of 274 PageID 3896



   1    in the process of presenting the Government's case in chief to

   2    you in this matter and at this time, the Government will call

   3    its next witness principally through recording -- or introduce

   4    its next evidence principally through recorded testimony or

   5    statements

   6                MS. SWEENEY:    Thank you, Your Honor.

   7                The parties agreed that portions of the recordings of

   8    some of the meetings between the Defendant and the confidential

   9    human source will not be entered into evidence and presented to

  10    you.   Both the Government and the Defendant have selected

  11    certain portions of these meetings to be presented to you and

  12    these positions will be played together.

  13                So at the beginning, I will now play portions of a

  14    recording from November 30th, 2011, of a meeting between the

  15    Defendant and the confidential human source.         And for the

  16    record, I'm playing portions of the recording in Government's

  17    Exhibit 101.2-A with the transcript at 101.2-B.

  18                THE COURT:    You need to turn the volume up.

  19                MS. SWEENEY:    It's all the way up.     These are quiet

  20    recordings.

  21                (Tape played.)

  22    CHS:    Hey, how are you? [UI] Salamu

  23    ‘Alaykom [Peace be upon you].

  24    SO:    Wa’alaykum assalam wa rahmatullah wa

  25    barakatu [May peace, mercy and blessings of God be



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                                                                             23
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 23 of 274 PageID 3897



   1    upon you].

   2    CHS:    How are you? You got the key?

   3    SO:    Yeah.

   4    CHS:    Thank you. Can you help me get my leg. I just

   5    want to hang this on that        Thank you.

   6    SO:    [UI].

   7    CHS:    Can you drop me off just to pick up my car?

   8    SO:    Yeah.

   9    CHS:    Don't worry about it; just leave it here. Yes,

  10    please. Yusif, baddak shi ‘ammu? [Do you need

  11    anything buddy?] I need to go. Have a good night.          I

  12    did not close the machine. Did I pay you for Sunday?

  13    SO:    Last Sunday?

  14    CHS:    Yeah, when you finished the freezer. I, I don’t

  15    remember

  16    SO:    You didn’t

  17    CHS:    I didn’t?    So I owe you… how much I owe you?

  18    SO:    [UI].

  19    CHS:    Okay. Please put the [UI] that you came

  20    because [UI] jazakallahu khayran [May God rewards

  21    you well].

  22    CHS:     [UI].

  23    SO:    Oh I left the lights on.

  24    CHS:    I'm gonna put you like you're going in the car

  25    and then I'm [UI].



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                                                                             24
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 24 of 274 PageID 3898



   1    SO:    You got your phone on you?

   2    CHS:    I have my phone, yeah

   3    SO:    To my car?

   4    CHS:    Yeah. Look, look around. Yea, you have

   5    you have your key with you? I mean your phone?

   6    SO:    It’s there, yours and mine is there.

   7    CHS:    Okay, let me... [UI]

   8    SO:    We’ll go to Sligh masjid [mosque] and make

   9    salat [prayer].

  10    CHS:    Okay I’ll need to go and check my car if it is

  11    fixed first. [UI].

  12    SO:    [IA] they can’t see you inside here [IA].

  13    CHS:    [IA] don’t worry about it. Okay, I am going to

  14    drop you just to give the change to the guy. And I'll

  15    have to go and pick up my kids. Okay?

  16    CHS:    Hold on a second, let me, just hold on

  17    SO:    I think I see one.     I think I see one car

  18    SO:    No, no, no

  19    CHS:    I think [UI].

  20    SO:    Just go, don't worry 'bout it they're following

  21    both of us. Don’t worry about it [UI] look suspicious or

  22    nothing. Plus, any how

  23    CHS:    Yeah, I think because, because since I took

  24    the car, [UI].

  25    SO:    For three days airplane was following me



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                                                                             25
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 25 of 274 PageID 3899



   1    CHS:    two days [UI]

   2    SO:    the airplane was following me

   3    CHS:    my head gasket I think was a problem so,

   4    Alhamdulillah [Praise be to God], it came in the right

   5    time [UI] seeing ants on my feet.

   6    SO:    Yeah.

   7    CHS:    And I wake up one morning she's going nuts.

   8    It's like something is biting me. So I don't know if it

   9    you or somebody else.

  10    SO:    [UI]. No I think your place is bugged.

  11    CHS:    No, I’m I'm fine. Alhamdulillah [praise be to

  12    God] [UI].

  13    SO:    Not this car, the place.

  14    CHS:    [UI] over there.ross the

  15    street [IA].

  16    CHS:    I'm gonna' put you like you're going to do

  17    change. You get inside and then I'm gonna turn the

  18    car you come from the other side. Just in case.

  19                (Tape stopped.)

  20                MR. GEORGE TRAGOS:     Your Honor, I'm sorry.      Can we

  21    have a sidebar?

  22                THE COURT:    Yes, sir.

  23                (Thereupon, the following discussion was had at

  24    sidebar:)

  25                MR. GEORGE TRAGOS:     I understand we received from the



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                                                                             26
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 26 of 274 PageID 3900



   1    Government, I guess, their exhibit, the transcript 101.2-B.            Is

   2    the Government not playing the entire transcript they have

   3    given me?

   4                MS. SWEENEY:    No, we are not.     We took portions of

   5    these and then we also took the clips that you requested and

   6    every time we play one, we're playing the part you requested.

   7                THE COURT:    You can't do that, you've got to tell

   8    them what you are going to play so then they know what else to

   9    ask for.    If you say you're going to play the transcript, then

  10    they expect the whole thing will be played and then if they

  11    ask for certain clips to be played --

  12                MS. SWEENEY:    They asked for clips and things that

  13    had already been marked in any event, so from what I

  14    understood, it was everything they wanted played.          I mean, this

  15    was months ago.

  16                MR. GEORGE TRAGOS:     Right.   What I'm saying is that

  17    at the beginning of the trial you gave us what you were going

  18    to play.

  19                MS. SWEENEY:    Right.

  20                MR. GEORGE TRAGOS:     And you changed that because

  21    there are things that --

  22                MS. SWEENEY:    It's all included in there.

  23                MR. GEORGE TRAGOS:     Well, this wasn't played.

  24                I have 101.2-B.    Are you playing the entirety of

  25    101.2-B?



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                                                                             27
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 27 of 274 PageID 3901



   1                MS. SWEENEY:    No.

   2                MR. GEORGE TRAGOS:      See, that's the problem I'm

   3    having is that this is what I was given at the beginning of the

   4    trial, the transcript, and it's changed and I don't know how

   5    even to follow it now.

   6                MS. SWEENEY:    I can direct you to what page of what

   7    we're playing is.

   8                (Thereupon, the sidebar discussion concluded.)

   9                THE COURT:    Let's take a recess.

  10                (Jury excused.)

  11                This is part of the discussion we were just having.

  12    My understanding was that there is a 101.         And then as a subset

  13    of 101, there's 101.4-B, 101.3, this and that, and that the

  14    clips of the larger section is what the Government proposed to

  15    be played.

  16                The defense then, as you would with a deposition,

  17    counter designated parts the defense would want to have played,

  18    and the parties agreed that that is what would be played.

  19                Now am I hearing that the Government has made a sort

  20    of a unilateral decision that within the clips it had proposed

  21    to have played it no longer intends to play the entirety?

  22                MS. SWEENEY:    Yes, Your Honor.     I believe I had

  23    discussed this with Mr. Tragos, although apparently I wasn't

  24    clear enough for him to understand what I was referring to.

  25                The clips from the larger whole -- there's much of it



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                                                                             28
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 28 of 274 PageID 3902



   1    that while it's somewhat relevant to the case, we weren't

   2    intending on presenting it to the jury in open Court in order

   3    to save time.    It's still part of the exhibit.        It will go back

   4    with them.    The transcript will go back with them to give them

   5    context for the discussion that's being had.         And everything

   6    that the defense wanted played I was sure to include in what I

   7    had planned to play during this portion of the trial.

   8                THE COURT:    Mr. Tragos.

   9                MR. GEORGE TRAGOS:     Your Honor, I'm sorry.      Maybe we

  10    had a misunderstanding.      My understanding is, and in

  11    conversation with the prosecutor just now, was that 101.2-B,

  12    the entire 101.2-B would be going back to the jury.           But the

  13    Government is just not going to play the entire 101.2-B.           Is

  14    that -- am I correct?

  15                So that I guess what probably should happen is the

  16    jury should know that because they're going to get an exhibit

  17    that was not shown to them in open Court.         My problem was, and

  18    I was looking at the transcript, and she moved to the next

  19    clip, there were things from the transcript that I didn't see

  20    up on the screen.

  21                So I guess the jury needs to know that, that this is

  22    not the entirety of the evidence, but that they're actually

  23    going to get more than what is actually shown to them.

  24                THE COURT:    And can somebody tell me what is the

  25    relevance to the part we just heard that it requires this jury



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             29
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 29 of 274 PageID 3903



   1    to sit through this interminable reading, playing of this

   2    transcript that can be barely heard to tell them "How are you,

   3    you got the key, yes, can you help me get my leg, I just want

   4    to hang on this, that, thank you, can you drop me off to pick

   5    up my car, yeah, don't worry about it."         Why does the jury need

   6    to hear that?

   7                MS. SWEENEY:    I believe the portion that was at

   8    issue, Your Honor, was towards the end of that.          It was the

   9    part about, "So I owe you -- when you finish the freezer, I

  10    don't remember, you didn't -- I didn't, so I owe you -- how

  11    much I owe you."     I think that the -- I believe that this was

  12    something that the defense requested in that part.          And

  13    typically what we would do is just -- if it was around

  14    something else, we would expand it to contain what we wanted

  15    and what they wanted.

  16                THE COURT:    So the parties are playing things that

  17    are irrelevant to the jury's hearing as part of the playing of

  18    this transcript?     This is five hours of their time and that's

  19    how you're trying to spend it?

  20                MS. SWEENEY:    Your Honor, I think what I calculate

  21    the clips to be at this moment is three hours.          That's cut way

  22    back from what it was from what the parties had marked, and so

  23    that was our goal in not playing everything.

  24                THE COURT:    Does the defense have any objection to

  25    the Government playing limited portions of these transcripts as



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                                                                             30
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 30 of 274 PageID 3904



   1    long as the Government includes within the limited portions

   2    those portions the defense expressly designated?

   3                MR. GEORGE TRAGOS:     No objection, provided the jury

   4    is instructed that what they're going to be given as evidence

   5    and what is being introduced is beyond what they're seeing on

   6    the screen, and they be allowed to take that into

   7    consideration.

   8                They're going to be getting more back there than

   9    shown on the screen.      I don't want them to just say -- ask the

  10    question, well, why wasn't this introduced in evidence.           So I

  11    think they should be instructed.        But the Court's question, we

  12    have no objection to doing it the way the Government's doing it

  13    provided the jury also knows that's what we're doing.

  14                THE COURT:    And the Court has no way to follow along

  15    with this transcript other than to just jump around as the

  16    Government moves the transcript tape around?

  17                MS. SWEENEY:    Your Honor, I will -- I'm sorry, I did

  18    neglect to refer to which page of the transcript I was going

  19    to.   I will do that from here on out.       So if Your Honor is

  20    following on the Court's copy of the transcript, you can follow

  21    that way.

  22                THE COURT:    All right.

  23                Please recall the jury.

  24                (Jury returned to the courtroom.)

  25                We're going to resume the playing of the transcripts



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                                                                             31
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 31 of 274 PageID 3905



   1    for you.    This is going to take some time.       I just want you to

   2    know that so that you can be patient and expect to just read

   3    through this and follow along.       The volume apparently is as

   4    high as we can get it for these audio recordings.

   5                Additionally, the transcripts of the recordings in

   6    their entirety of the sections that are being played, plus some

   7    additional sections that are not being played, will be made

   8    available to the jury in your deliberations.

   9                So if you want to see more of what was said within

  10    the range of what you're seeing, that will be available to you.

  11    And if you can't catch what's being said on the screen, you'll

  12    have the transcript available to you as well.

  13                So if you want to jot down when the prosecutor reads

  14    what is being played, that number of that transcript, to guide

  15    your inquiry, you might do that as part of your note-taking at

  16    your discretion.

  17                Counsel.

  18                MS. SWEENEY:    Thank you.    So we will resume on

  19    Government's Exhibit 101.2.       And it's on -- it begins on the

  20    top of page four of the transcript.

  21                THE COURT:    101.2-B?

  22                MS. SWEENEY:    Yes, Your Honor.     We're playing

  23    101.2-A, the transcript at 101.2-B, the part that we're playing

  24    begins on page four.

  25                (Tape played.)



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                                                                             32
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 32 of 274 PageID 3906



   1    CHS:    No, no, no, no, no.

   2    SO:    You spoke [UI].

   3    CHS:    Let me tell you what's your problem.

   4    SO:    [UI]. What's that?

   5    CHS:    Tell you the truth, your problem was going to

   6    Saint Pete and asking for those animals.

   7    SO:    Don't worry,

   8    CHS:    I'm not; I'm not worried about it. I just want to

   9    know if anybody follow me. I'm just gonna go round

  10    and round.

  11    SO:    [UI] messes you up right?

  12    CHS:    Ah I'm going to the masjid [mosque] in ah

  13    Where is it? Bruce B. Downs?

  14    SO:    Yeah.

  15    CHS:    There is one over there. [UI]It is odd

  16    SO:    Huh?

  17    CHS:    Do you think it is odd, I never prayed over

  18    there, you never prayed over there.

  19    SO:    [IA].

  20    CHS:    Huh?

  21    SO:    I just gave you the keys [UI].

  22    CHS:    I, I just before the guy close. I just wanna

  23    check mine and then we'll go and pray. The masjid

  24    [mosque] will be a place that's not gonna be jama’a

  25    [group prayer]. Busch and…Busch and what



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                                                                             33
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 33 of 274 PageID 3907



   1    and…north Florida. Anyway.[UI].

   2    SO:    They're following me everywhere.

   3    CHS:    Until now?

   4    SO:    Yeah.

   5    CHS:    Today.

   6    SO:    Today, all day. Even when I picked up my car

   7    from…my green car from the mechanic, they were

   8    waiting there at the mechanic already.

   9    CHS:    I thought you said you were going to drop your

  10    father off or something.

  11    SO:    At the doctor later on. I was with him at the

  12    doctor. I didn't drop

  13    CHS:    and they followed there.

  14    SO:    Yeah, they followed me everywhere.

  15    CHS:    Come on. [UI].

  16    SO:    Yesterday they were following me with the

  17    plane. And…and…and     the other night before I went

  18    to the beach, cause I go to the beach alone and they

  19    think I'm meeting somebody at the beach, so a plane

  20    has been fl… flying around me, on top of me.

  21    CHS:    A plane?

  22    SO:    Yes.

  23    CHS:    Aircraft?

  24    SO:    Yes.

  25    CHS:    Oh, you’re nuts. I’m positive you’re nuts.



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                                                                             34
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 34 of 274 PageID 3908



   1    SO:    Akhi [Brother],

   2    CHS:    Are you that dangerous? Shit. No,

   3    man!

   4    SO:    I’m not but they’re just paranoid.

   5    CHS:    Any of those guys in St. Pete talk? Or I

   6    know that most of them are working with cops.

   7    That’s since that day we’ve been followed.

   8    SO:    The first day there were informants I know it,

   9    but I didn’t talk to them. I know it.

  10    CHS:    And then you went to somebody else to talk

  11    to?

  12    SO:    Somebody else.

  13    CHS:    I thought you were smarter than that. Smarter

  14    than that [IA]

  15    SO:    Don’t worry about it.

  16    CHS:    I’m not worried about nothing.

  17    SO:    [IA].

  18    CHS:    I don’t know nothing. I mean, that’s something

  19    that uh I’m worried about but it’s just         I want to know

  20    if they come and ask you about, you know,

  21    I   anybody else or

  22    SO:    There’s none to know. I know them from work.

  23    They are stingy liars. They didn’t give me enough

  24    work hours and…nothing works out. We’re just going

  25    to pray today. I don’t like you. I don’t like anybody.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             35
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 35 of 274 PageID 3909



   1    CHS:    Okay.

   2    SO:    Akhi [My brother], I dropped off the car last

   3    night just before he closed and the brother Phalid

   4    [PH] came to pick me up and the plane was flying on

   5    top of me. So we     we went somewhere else.

   6    CHS:    [UI].

   7    SO:    Listen, so we went somewhere else and the

   8    same plane following; like 30 minutes away from

   9    there, flying on top of us

  10    CHS:    [UI].

  11    SO:    And then we went somewhere else again; a

  12    small plane it just flying on top of me, all around Just

  13    making circles on top of me.

  14    CHS:    What did you do? I mean is that       How much?

  15    SO:    They're   they're paranoid.

  16    CHS:    [IA]. I mean, if you don’t have anything.

  17    SO:    I don’t have nothing. I’m not planning nothing.

  18    They’re paranoid animals man.

  19    They they even follow uh, one of the Bosnian brothers

  20    that I know because he came into my house one day

  21    CHS:    [IA] How is Salah doing?

  22    SO:    Yeah, they’re following him too. Cause I went

  23    to his house one time after I ditched them. But I think

  24    they are tracking my car and I went there, parked my

  25    car across where he lives and I went, walked across



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                                                                             36
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 36 of 274 PageID 3910



   1    the bridge, jumped the bridge and I went walked to his

   2    apartment and they were there.

   3    CHS:    So, you’re telling me      there's an aircraft now?

   4    SO:    Yeah… Akhi [My brother], I already read a long

   5    time ago that they have spying drones spying on the

   6    Muslims. U.S. Citizens in America and Obama signed

   7    for more spying drones

   8    CHS:    No, I, I…I checked out and I called my lawyer

   9    and he said this is not true.

  10    SO:    I don’t know. You’re lawyer is not ah…first of

  11    all someone

  12    CHS:    Update?

  13    SO:    Not update, he’s not somebody that they

  14    would give something like this kind of information.

  15    CHS:    No, it’s nothing for me; it has to be for the

  16    public opinion.

  17    SO:    No. No. No. No. No.

  18    CHS:    OK,

  19    SO:    They don’t care about no public opinion.

  20    CHS:    I don’t think. Well even if

  21    SO:    Okay akhi [my brother], let me tell you this;

  22    yesterday I was in that area and the brother came to

  23    pick me up close to the mechanic and the plane was

  24    circling for 30 minutes around me. While the cars

  25    were watching me, what I’m doing. When he picked



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                                                                             37
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 37 of 274 PageID 3911



   1    me up we went like 30 minutes away to the other

   2    Bosnian brother’s house, the plane was following me.

   3    We went to Dunkin Donuts, got a…ice cream, the

   4    plane was following us. We went somewhere else, the

   5    plane we we didn’t stay in one place, the same

   6    plane kept circling.

   7    CHS:    Now, you’re telling me that somebody is

   8    following me right now? Because...or they don’t

   9    know

  10    SO:    Most likely    most likely, yes because they

  11    followed me all the way to your place. So, maybe

  12    CHS:    Today?

  13    SO:    Yes. That’s what I’m telling you.

  14    CHS:    I haven’t seen ‘em for two days, that’s why

  15    SO:    They followed me all the way here.

  16    CHS:    Well, I don’t know what to tell you

  17    SO:    It was a Ford Jeep.

  18    CHS:    All I know is that I, I, I, I…I sent my car to

  19    the mechanic. I went to      Enterprise. I picked up the

  20    car and    I’ve been driving and I haven’t seen anything

  21    since then.

  22    SO:    What else now? and…not just yesterday the

  23    plane, but the day before I went to the beach. At the

  24    beach they get mad because they can’t watch me. I’m

  25    there alone. I just go      I like walking the beach at night



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             38
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 38 of 274 PageID 3912



   1    man.

   2    CHS:     And tell me they’re they’re [IA]

   3    SO:    And [UI] on top of me from one hour, because

   4    they have spying equipment in these airplanes.

   5    Because they don’t know what’s going on         they don’t

   6    know if I’m meeting somebody or if I’m talking.

   7    They’re paranoid. They don’t know if I’m talking to

   8    someone or not at the beach. You know with my

   9    phone, I park the car far away; I walk in the sand at

  10    night.

  11    CHS:     So they might come tonight to my house and

  12    tell me

  13    SO:    No they’re not

  14    CHS:     [UI] if they if they come to you…if they come

  15    to see

  16    SO:    They can’t come because there is nothing

  17    there. But they just listen, I talked to brother, he said,

  18    once they have you on their list they’re not going to

  19    ever stop watching you. He’s like I know somebody

  20    that they watched for a year straight following

  21    everywhere with cars. So they’re worried right now.

  22    They’re worried because they killed innocent…they

  23    killed millions overseas so they’re worried somebody

  24    is going to do something. They’re wrong about us,

  25    we’re peaceful people. So, I don’t know man.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             39
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 39 of 274 PageID 3913



   1    CHS:    [IA]

   2    SO:    Islam means peace.

   3                (Tape concluded.)

   4                MS. SWEENEY:    Now, we're going to play Government's

   5    101.3-A and the transcript is at 101.3-B.

   6                (Tape played.)

   7    CHS:    I got my phone. I was about to call him. Do you

   8    have your phone? No.

   9    SO:    Jordan.

  10    CHS:    [IA] I tell him [UI] bug in the car.

  11    Once I finish mine, I’m going to tell him that that there

  12    is a brother, he wants to change the oil. Once you get

  13    there call me and I’ll come and pick you up. But listen,

  14    listen, I can’t talk

  15    SO:    No. No. No.

  16    CHS:    They will.

  17    SO:    I know.

  18    CHS:    I’ll tell him you want to change the oil. Once

  19    you drop it off, tell him can I call the brother to come

  20    and pick me up. The moment that you call me, I’ll

  21    come over there. I’ll tell him what you did to my car,

  22    do it to his. 'Cause he told me this [IA] the moment he

  23    takes it out... [IA]

  24    SO:    Tracking [UI]

  25    CHS:    I don't know what it is. They are fine people



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             40
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 40 of 274 PageID 3914



   1    you tell them to do something they will do it. They

   2    have no right without telling us.

   3    SO:    [IA] that’s the whole point of surveillance. They

   4    don’t want you to know. That’s why they drive away

   5    when you go to them. They don’t want you to see

   6    their face.

   7    CHS:    They probably...you remember Amir? They guy

   8    I told you that uh he’s helping sometimes, my friends.

   9    SO:    Yeah.

  10    CHS:    He told me. The best way, if you are followed,

  11    right, go at random in the airport [IA]. Then they lose

  12    track. That’s it.

  13    SO:    That’s it?

  14    SO:    Yeah. That’s good. That’s good. I like that.

  15    CHS:    And in the front normally I put my car over

  16    there and I told Sami my car is at the dealer so I’m

  17    using your car. So I use Sami's car all day.

  18    So...that’s... [UI] $46 a day, but I need to talk. I need

  19    to see what, what annoyed you what, what, what

  20    happened to you since that point and you are

  21    completely off. I…I…I understand that sometimes,

  22    things have changed but I need to know if they come

  23    ask [UI] you. Cause I didn’t do anything wrong...

  24    SO:    Akhi [My brother], nobody did nothing. Listen.

  25    First of all, let me tell you another thing; when my



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                                                                             41
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 41 of 274 PageID 3915



   1    brother and some Lebanese friends, when they were

   2    little in Germany, they robbed some Germans with

   3    pencils. They were just seven, with pencils.

   4    CHS:    What?

   5    SO:    with pencils.

   6    CHS:    Oh.

   7    SO:    And the German kids got scared. They called

   8    the police. So when they caught my brother and the

   9    two Lebanese friends that were cousins, they

  10    questioned all of them separately and they all told

  11    them...Yeah, he, he said you did this, this and this.

  12    So, tell us the truth, we don’t believe him. Tell us the

  13    truth so we can bust him. They play games with you.

  14    So...be careful, because they’re going to come trying

  15    to play games...

  16    CHS:    [UI] they did not come and talk to you.

  17    SO:    No, I’m saying

  18    CHS:    I just want to make sure

  19    SO:    If they want to come they will play games.

  20    CHS:    If there’s nothing

  21    SO:    You be...you be careful

  22    CHS:    I want to make sure that there’s nothing

  23    SO:    There’s nothing. I don’t...I don’t have nothing,

  24    I don’t have nothing. I’m not planning nothing. Even

  25    when the people ask me, what do you need it for? I’m



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             42
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 42 of 274 PageID 3916



   1    like what? Everybody needs them. Oh okay. Well

   2    what the hell do you mean? Okay, 90 million people in

   3    America have them. I checked, 90 million Americans

   4    have them

   5    CHS:     But that was a stupid move. Somebody like

   6    you; you’re smart. You go to St. Pete, That’s…that's

   7    stupid. That is so stupid. I could not believe. you

   8    know, you were excited. I’m so thankful. [IA]

   9    Otherwise, you could have

  10    SO:    No I wouldn’t. [IA] I wasn’t planning. I’m not

  11    even planning right now because when I go [IA] that

  12    even... [IA]

  13    CHS:     You know my bro, that whatever you want to

  14    [UI] that I am your partner.

  15    SO:    I know.

  16    CHS:     [UI] Can you blame me brother. Can you

  17    check?

  18    SO:    No. No. They will come.

  19    CHS:     Oh they what?

  20    SO:    The plane. When I go back to St. Pete,

  21    insha’Allah [God willing], they’ll come. 'Cause they got

  22    to see, I go...I go to the beach almost every night

  23    alone. I just think about Allah [God] and akhira [the

  24    afterlife] at night like everything dark. Just look...

  25    CHS:     [IA] I need to do that from now on. I was



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             43
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 43 of 274 PageID 3917



   1    thinking to come to St. Pete today. I swear.

   2    SO:    I know.

   3    CHS:    But you know...

   4    SO:    Good that you didn’t.

   5    CHS:    That bad?

   6    SO:    Over there? Listen, no matter how many cars I

   7    go with. Even when I’m with my brothers with their

   8    cars, they follow us. Some of my brothers don’t even

   9    notice.

  10    CHS:    Your own brothers?

  11    SO:    Yeah.

  12    CHS:    They go after them now?

  13    SO:    Yeah, no, but when they notice I’m not there,

  14    they pull back usually.

  15    CHS:    Oh so they just watched you?

  16    SO:    Some of them drive by and they see I’m not

  17    there. Then they, they...

  18    CHS:    Uh how is ‘Abdallah doing?

  19    SO:    I haven’t talked to him in a while.

  20    CHS:    You haven’t?

  21    SO:    No.

  22    CHS:    Is he alright?

  23    SO:    Yeah. I haven’t talked to him in weeks.

  24    CHS:    I mean, he is still watched there?

  25    SO:    I don’t…maybe now yeah. I had a dream about



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             44
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 44 of 274 PageID 3918



   1    him. He was upset.

   2    CHS:     Because?

   3    SO:     About his family. He was upset about his

   4    family.

   5    CHS:     He told me that uhh…Salah-al-Din's wife is not

   6    Muslim or something.

   7                (Tape concluded.)

   8                MS. SWEENEY:    From the same meeting, I'm now going to

   9    play a portion of Government's Exhibit 101.4-A and with the

  10    transcript at 101.4-B.      And the portion that I play will begin

  11    on page two of the transcript most of the way down the page.

  12                (Tape played.)

  13    SO:     [UI] If you go inside, they have this thing now,

  14    they point it at the window, they hear everything. I…I

  15    have brothers in Australia caught whispering.

  16    CHS:     You want to go the [UI]

  17    SO:     Mall. It’s loud.

  18    CHS:     --Okay.

  19    SO:     Mall.

  20    CHS:     Okay, let’s go. Let’s go. Good idea.

  21    SO:     Not the one here, the one in International is

  22    loud.

  23    CHS:     I don’t want to go that far.

  24    SO:     This one is not that loud. It’s empty. This one is

  25    always dead.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             45
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 45 of 274 PageID 3919



   1    CHS:    [IA] 100% it’s dark now and I know what

   2    happened to you. I know. Don’t tell me, bullshit. I

   3    know, the moment that you talked to those suckers.

   4    Do you think those people in the street, the cops they

   5    don't know that they sell drugs?

   6    SO:    Akhi, akhi [Brother, brother], when I see

   7    somebody, do, do you remember in Orlando when I

   8    saw somebody, I’m like...he’s an agent? And that

   9    place before I asked, I asked somewhere else. Not

  10    the same place.

  11    CHS:    Yeah, ya akhi [my brother], okay fine.

  12    SO:    Listen but listen.

  13    CHS:    Allah, subhanuhu wa ta’ala [God, praise to him]

  14    give you the wisdom--

  15    SO:    I know, but listen what I’m trying to tell you.

  16    CHS:    Okay.

  17    SO:    And there was one guy who was working in the

  18    business next to the gas station and he came out and

  19    I saw him, I’m like...he’s an agent. He’s an informant.

  20    And another guy in a limo.

  21    CHS:    So wait, you want me to go to the highway?

  22    SO:    Yeah.

  23    CHS:    Yeah. Oh where. To two seventy-five?

  24    SO:    Yeah.

  25    CHS:    Okay. That’s fine.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             46
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 46 of 274 PageID 3920



   1    SO:     [IA].

   2    CHS:     But your car is over there if…if they are smart,

   3    they’re going to go and check with you where’s you if

   4    they are, if you are really wanted. Which I doubt?

   5    SO:     No. They’re just watching me.

   6    CHS:     Fine

   7    SO:     I’m not wanted.

   8    CHS:     Fine. Fine.

   9    SO:     If I’m wanted, akhi [my brother], If I’m wanted

  10    they would come to my door. They, they circle my

  11    house at night. I see them, akhi [my brother]; the

  12    airplane was following me yesterday and the other

  13    day.

  14    CHS:     How long it has been this way?

  15    SO:     This is since Illinois when the munafiqin

  16    [hypocrites] called the police and said that I told

  17    children to go to Yemen and I never said it. It’s filthy

  18    kuffar [unbelievers] who promote democracy in the

  19    masjid [mosque].     Why? Because I exposed their

  20    falsehood. And for one month they didn’t say nothing

  21                After that. One month. I didn’t even talk to them no

  22    more.

  23                (Taped stopped.)

  24                THE COURT:    You indicated you were going to play

  25    through the bottom of the page two and that was several pages



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             47
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 47 of 274 PageID 3921



   1    over.    Can you please be accurate for the record what's being

   2    played.

   3                MS. SWEENEY:    Yes, Your Honor, I'm sorry, I did not

   4    indicate -- I don't believe I indicated where I was going to

   5    end.    I can begin to do that.

   6                THE COURT:    What you said was to the bottom of the

   7    page.

   8                MS. SWEENEY:    I said towards the bottom of the page

   9    was where we were starting.       I apologize, Your Honor.

  10                (Tape continuing.)

  11    CHS:     [IA] okay.

  12    SO:     But when they saw me

  13    CHS:     Do you want me to go that way? I mean, to the

  14    [UI].

  15    SO:     Yeah, yeah.

  16    CHS:     Okay. That’s fine.

  17    SO:     But that’s what happened, man. One month I

  18    didn’t talk to the

  19    CHS:     Oh! Um. Did I tell you that I’m renting the

  20    place?

  21    SO:     Yeah, to the guy.

  22    CHS:     Insah’Allah [God's willing] it will work, pray for

  23    me man. I need I need the money, I need to my life is

  24    not...I’m not doing good at all.

  25    SO:     Because, insha’Allah [God willing], I’m thinking



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             48
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 48 of 274 PageID 3922



   1    about hijra [migration] too now. Because--

   2    CHS:    Akhi [Brother], whatever it comes…ya’ni

   3    [meaning]

   4    SO:    I mean Allah [God].

   5    CHS:    if I lease it... [UI] did you see the Palestinian.

   6    I don’t know [IA] you were there when the Palestinian

   7    with the beard. They umm

   8    SO:    Yes

   9    CHS:    What’s his name? 'Imad, his brother. He has

  10    five brothers here and two back home. Oh. We

  11    passed the highway? My goodness. No. No. No. I’ll

  12    go to Nebraska and I’ll take it back… Subhan Allah

  13    [Praise the Lord]! When somebody is not in the mood.

  14    I’m not there, wallahi [by God] I’m nervous. My hand

  15    is shaking.

  16    SO:    --Akhi [Brother], you want to know when I felt

  17    the best? Yesterday.

  18    SO:    Tawakkul [to trust in God].

  19    CHS:    To what?

  20    SO:    Tawakkul [to trust in God].

  21    CHS:    Tawakkul [to trust in God].

  22    SO:    Tawakkul [to trust in God].

  23    CHS:    Tawakkul [to trust in God].

  24    SO:    That’s why I have to learn the Arabic right!

  25    Cause I



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             49
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 49 of 274 PageID 3923



   1    CHS:     I told you, you’re plan in the beginning just to

   2    go to

   3    SO:     Is it a good plan?

   4    CHS:     Islamic country and go and...And have a

   5    good life and children, learn Islam--

   6    SO:     Akhi [Brother], I made my du’a’ [prayer].

   7    CHS:     Doing whatever you want.

   8    SO:     I made my du’a [prayer] and…maybe that’s the

   9    only option I have.

  10    CHS:     Insha’Allah [God's willing], it will get better.

  11    SO:     Insha’Allah [God willing]! Because

  12    CHS:     [IA] Man there is no body

  13    SO:     Akhi [Brother], that’s what the...that’s what the

  14    brother. You know the first day when they started

  15    following me. One of the Bosnian brothers, you never

  16    met him, was with me. He came to my house because

  17    he hangs out with my brothers and we went outside

  18    walking. And as soon as we walk outside, cars are

  19    following us. I’m like that car...

  20    CHS:     I have to go back to the highway, right? And

  21    SO:     I don’t know this area.

  22    CHS:     [UI] Yeah. Yeah. I think so.

  23    SO:     And I told him. I’m like, look right. I’m like,

  24    look left. He’s like what? That’s an agent. He like, no

  25    it’s not. Where? We just walked out the house like 30



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             50
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 50 of 274 PageID 3924



   1    seconds, so we’re walking and he’s like that wasn’t an

   2    agent it just looks like it. I’m like okay. Five minutes

   3    later he comes back. I’m like he’s there

   4    CHS:     So you’re telling me they're everywhere. They

   5    have nothing to do...Even the budget

   6    SO:    No, no, no

   7    CHS:     They said they gonna cut the budget about,

   8    what? 10 billion dollars.

   9    SO:    That’s garbage. In Iraq, they spend…they

  10    save. 'Cause their lying. They're, they're already 200

  11    trillion. They’re already 200 trillion in debt. They say

  12    three.

  13    CHS:     Man, don’t...trust me, I’m not stupid.

  14    SO:    Akhi [Brother], they are arrogant

  15    CHS:     Huh?

  16    SO:    We have to...we have to

  17    CHS:     [UI] I don’t blame you. I don’t blame you.

  18    Okay? But I’m telling you. You’re mistakes

  19    count...where? Left or right? And kid smart like you,

  20    you should not go to St. Pete and ask for this crap.

  21    SO:    Listen. The people that told me

  22    CHS:     It’s okay. It’s okay

  23    SO:    No. I know. It’s more than...maybe

  24    CHS:     You know what. I did not think of that moment

  25    at all.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             51
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 51 of 274 PageID 3925



   1    SO:    I told you. You don't remember

   2    CHS:    No, no, no. I could, I could’ve thought about

   3    that but I was nervous, honestly. I could’ve find

   4    somebody to play it the way I wanted.

   5    SO:    That’s what I told you when we came back but

   6    you guys said no, you have to… do it.

   7    CHS:    I, I, look, [IA] this is something that is not

   8    easy, you know.

   9    SO:    I know.

  10    CHS:    You’re talking about something bigger than me

  11    and you. And, and what, what makes me nervous that

  12    you change.

  13    SO:    Do you remember what I told you [UI]?

  14    CHS:    You weren’t thinking. We took you to the guy to

  15    take you to Gaza. Trust me, he sent me an email

  16    where where’s the things.

  17    SO:    Akhi [Brother], we’ll take passport pictures...I

  18    mean, my pictures right now.

  19    CHS:    No, you need to make a decision. But we’ll talk

  20    about it. So uh life is okay now? Oh, oh, oh, oh, I

  21    remember. I was uh talking to brother in St. Pete. He

  22    has a grocery store and a gas station. I told him he’s

  23    not going to be in a place that has alcohol. He said no

  24    I can put him with the guys just to fill up. They have

  25    full, especially since the winter is coming, they have



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             52
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 52 of 274 PageID 3926



   1    full service. Are you willing to work?

   2                (Tape concluded.)

   3                MS. SWEENEY:    Okay.   Next is Government's Exhibit

   4    101.5.    A is the recording and 101.5-B is the transcript.          I'm

   5    going to begin playing at the beginning, and play to the middle

   6    of page two initially.

   7                   (Tape played.)

   8    CHS:     I don't know I feel inside that I am fine. Uh

   9    SO:    Brother,

  10    CHS:     Normally I take care of things my way, but uh,

  11    uh

  12    SO:    My parents said that

  13    CHS:     Left, right?

  14    SO:    Left.   My parents said they would pay me [UI]

  15    CHS:     They what?

  16    SO:    [UI] bucks a night if I help them.

  17    CHS:     If you help them

  18    SO:    At the bakery... at night. So I'll be working

  19    doing that plus if I can get some money on the side

  20    [UI] it don’t matter. Right now they are not going to let

  21    loose. They're not going to let loose.

  22    CHS:     They need to see you working, doing good,

  23    normal life and you have no problem because the

  24    moment that you are, we have nothing and you not

  25    doing anything most likely…



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             53
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 53 of 274 PageID 3927



   1    SO:    They're like what is he waiting for.

   2    CHS:    Yes. What he is waiting for. Exactly, exactly.

   3    And honestly, when I got you in the store I wish I can

   4    have you full time my brother...I swear to God.

   5    SO:    I know I can

   6    CHS:    But I cannot pay

   7    SO:    I know.

   8    CHS:    my people. If I get rid of the butcher and

   9    Sami took over the butcher I will put you on the cash

  10    register but it's still, it is so far. Can I sneak in here?

  11    Praise God, praise god. Or you want me to go to

  12    between the cars?

  13    SO:    I don't care.

  14    CHS:    I, I, I trust my judgment sometimes. I got no

  15    problem here, God willing.

  16    SO:    [UI] I don't trust myself either.

  17    CHS:    No, I don't trust myself for a second.

  18    CHS:    Oh yes, yes, yes, ya, yes, yes, yes thank you.

  19    You are so smart.

  20    SO:    Oh no, God forbids!     [UI] compliments.

  21    CHS:    Thank God, Yah, you’re right, you’re right [UI]

  22                (Tape stopped.)

  23                MS. SWEENEY:    Now I'm going to page four, towards the

  24    top of the page, and I will play through the end of the

  25    meeting.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             54
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 54 of 274 PageID 3928



   1                (Tape continuing.)

   2    CHS:    Yeah.

   3    UM7:    In width?

   4    CHS:    Yeah

   5    UM7:    Medium, medium.

   6    CHS:    Medium no I don’t [UI] or what, yeah, no. [UI]

   7    Thank you.

   8    CHS:     When I go to the Iranian restaurant

   9    SO:    [UI] yeah, no that time I didn’t say anything. I

  10    think I followed [UI] the family is going to be there. I

  11    told you I have many of them that…

  12    CHS:    No, I want to go to Zeko [PH]

  13    SO:    Okay.

  14    CHS:    Zeko is halal and he is a good brother.

  15    SO:    Okay.

  16    CHS:    He is close to the shop…unless, brother, (UI), I

  17    need to know...

  18    SO:    [UI]

  19    CHS:    Out there?

  20    SO:    [UI]

  21    CHS:    His brother he …

  22    SO:    You might as well take a picture.

  23    CHS:    Heh?

  24    SO:    You might as well take a picture

  25    one day (UI) a picture that’s it. Give me gas



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             55
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 55 of 274 PageID 3929



   1    money, I have gas [IA] but we should do it now so you

   2    have em.

   3    CHS:    Okay.

   4    SO:    Have you heard from [IA] about my ID and

   5    everything, my passport.

   6    CHS:    I think what he said he wants two photos and

   7    he wants um ID and the copy of the passport.

   8    SO:    ID, [UI] a copy of the passport? Just of the

   9    page with the photo?

  10    CHS:    Shall we go left now?

  11    SO:    Left, yeah.

  12    CHS:    [UI] Two hours for nothing now we get stuck on

  13    the highway [UI].

  14    SO:    [UI]

  15    CHS:    How I'm gonna see it, or you see it? Because I

  16    need to make a decision very quick what I am

  17    supposed to do with this guy.

  18    SO:    The job thing you said, I am going to get it...

  19    God willing?

  20    CHS:    In St. Pete?

  21    SO:    Yeah.

  22    CHS:    God willing! I'll uh, his name is Omar.

  23    SO:    God willing...

  24    CHS:    He is brother, he used to be my partner in um

  25    dry-clean. So I will give him your number but you no



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             56
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 56 of 274 PageID 3930



   1    answer the phone. That's your problem.

   2    SO:    I always have it off cause, uh. I always have it

   3    off usually.

   4    CHS:    But you listen to it when it comes message.

   5    SO:    Yes.

   6    CHS:    Uh, sometimes it takes you a while. I wasn't

   7    planning even to call, but, uh, I have to…

   8    CHS:    You want a IHOP?     It's too late I guess.

   9    SO:    Let's go to Zeko’s, forget IHOP.

  10    CHS:    Huh?

  11    SO:    Go Zeko’s.

  12    CHS:    Go Zeko’s? Okay

  13                (Tape concluded.)

  14                MS. SWEENEY:    The same meeting, Government's Exhibit

  15    101.6-A, and the transcript at 101.6-B, and we're going to play

  16    the entirety of this clip.

  17            (Tape played.)

  18    SO:    What's going on with the revolution in Egypt?

  19    CHS:    I think they have election now, because this is

  20    the third day. Um, it seems to be Morocco, you know

  21    the brotherhood they took it.

  22    SO:    Yeah.

  23    CHS:    Tunisia, now Egypt, It either Salafi, or the Nur

  24    [party] or the Brotherhood--

  25    SO:    --Brotherhood takes it, it's nothing, Brotherhood



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             57
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 57 of 274 PageID 3931



   1    is garbage--

   2    CHS:    --which is most likely the brotherhood.They're

   3    gonna take it and um Gaza you know Hamas is, is

   4    Brotherhood.

   5    SO:    Yes I know.

   6    CHS:    And, uh, Kuwait now they are turning around. It

   7    seems to be the Brotherhood is gonna take the

   8    parliament. In Jordan, the King he made deal with

   9    them; they are okay now with him so probably they

  10    taking it. Syria could turn around. The only people

  11    over there are the Ba’thists or the Brotherhood, and--

  12    SO:    --Ikhwan Al-Shayyatin [Satan brothers].

  13    CHS:    Well at least they have something I don't know

  14    how bad how good, but

  15    SO:    --No.

  16    CHS:    --But, but--

  17    SO:    --No, no, if it ain't, if it ain't shari’a [islamic law],

  18    it is not tawhid [monotheism], it is kufr [infidelity]...It's

  19    shyatan [Satan] system. The system [IA].

  20    CHS:    --Ya akhi [my brother]... Yeah but, but, but he,

  21    he, he, you know, ah, ah, you want it to black or white

  22    or you want--

  23    SO:    --Yes.

  24    CHS:    --it gradually.

  25    SO:    Yes, because prophet Muhammad, salla Allahu



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             58
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 58 of 274 PageID 3932



   1    ‘Alayhi wasallam [peace and blessings be upon him],

   2    said that there is two camps. Camp of iman [faith] and

   3    camp of kufar [infidels].--

   4    CHS:    [IA] Most people you can’t…I don't know. I, I, I

   5    don’t know. I can't make, I can't make all the Muslims,

   6    all the Brotherhoods kufar [infidels] come on man--

   7    SO:    -- [UI] on the dunya [in this life], on the dunya

   8    [in this life] they are kufar [Infidels].

   9    CHS:    La hawla wala quwwata illa billah [there is no

  10    power and no strength save in God].

  11    SO:    Listen, their religion is democracy.

  12    CHS:    I don't know I haven't heard democracy.

  13    SO:    No they want democracy and that's what they

  14    want. They say Islamic Democracy, that is kufr

  15    [infidelity] but they didn't say that. There is no such a

  16    thing like Islamic democracy.       They want democracy

  17    and democracy is the religion not from Allah [God]. It

  18    is the religion from evil [UI]. That's what it is. We need

  19    to go no further. Democracy is worse than

  20    Christianity. If they were putting Christian rule it

  21    wouldn't be as bad as democracy. And they would

  22    have democracy and Hamas doing the same

  23    garbage.

  24    CHS:    --Okay then, what is the solution ya akhi [my

  25    brother] [IA] these days. Tell me, tell me--



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             59
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 59 of 274 PageID 3933



   1    SO:    --The solution--

   2    CHS:    --a scenario. Tell me a scenario that people.

   3    You are such a jerk; you are a piece of garbage.

   4    SO:     I like that [UI].

   5    CHS:    Sorry, but he is...

   6    SO:    He is garbage

   7    CHS:    He ignored me and went fast. Okay, well give

   8    me a scenario...

   9    SO:    --The scenario is simple--

  10    CHS:     --That in, in. Let's, let's get them to the Middle

  11    East in the beginning. I know that maybe your, your

  12    country is different, or Afghanistan or Pakistani is

  13    different. Pakistan is boiling man!

  14    SO:    Yeah.

  15    CHS:    --boiling.

  16    SO:    [IA].

  17    CHS:    So give me a scenario for a good system that it

  18    would work for the Muslim and other people.

  19    SO:    Shari’a [Islamic law].

  20    CHS:    I understand shari’a [islamic law], Shari’a

  21    [Islamic law].

  22    SO:    Shari’a [Islamic law] works for the Jews,

  23    Muslims, and Christians.

  24    CHS:    Yeah, I understand but give me ah, ah, with

  25    this big mess in the world, there is a national ah, ah



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             60
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 60 of 274 PageID 3934



   1    super bank and there is--

   2    SO:    --Okay.

   3    CHS:    --system and--

   4    SO:    --with this big mess, the only reason this big

   5    mess is because the fake scholars and people like

   6    you, for one instance, you're in that group of people

   7    that are ignorant of what the din [religion] is. I'm not

   8    trying to insult you or anything; you wanted the

   9    scenario so here it is: Until the people wake up in

  10    cause of the true Islam nothing is going to change, it

  11    is only going to get worse. Until we call to tawhid

  12    [monotheism], until we call to Allah [God] is the only

  13    creator, God is the only legislator. La ilaha ila Allah

  14    [There is no god but God]; we have to call to what that

  15    means. Not Allah [God] is the only god. We know

  16    Allah [God] is the only God. There is one God, but

  17    what does it means?     It means he is the only one to

  18    be followed, obeyed, submitted to, worshiped, and he

  19    is the only legislator; simple. And only if you

  20    implement that belief, that's when ah…the benefits

  21    will come. There are two or three verses where Allah

  22    [God] speaks about that. To change the rule of Allah

  23    [God], Allah [God] will bring cause drought on the

  24    earth. Nothing; right now everything is so bad,

  25    economy in the whole world because there's no



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             61
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 61 of 274 PageID 3935



   1    shari’a [islamic law]. The economic system; what

   2    about the economic system? The dollar, one dollar,

   3    sixty years ago was like twenty thousand dollars

   4    today. One dollar! Why did the value lose, lose so

   5    much? 'Cause it's paper interest is nothing. It's not

   6    gold and silver like the prophet [IA], salla Allahu

   7    ‘Alayhi wasallam [peace and blessings be upon him],

   8    [UI] nothing else. That's the only thing, that part of the

   9    shari’a [islamic law] dealing with gold and silver

  10    because it cannot change, the value of it doesn't

  11    change. The matter the Jewish banks want to inflate

  12    the Euro and, you know, and change the value of the

  13    dollar and steal money from one nation that way. No

  14    that's what it did to the Muslim countries because they

  15    don't have gold and silver coins. They don't have gold

  16    money. They don't have real money all paper and the

  17    Jews own the banks, the world banks. So what they

  18    do is, they change the value, value of money of the

  19    Palestinians to be like twenty thousand Palestinian

  20    points, or whatever is the name, dollars equals to one

  21    American dollar. So they go with one American dollar

  22    and they buy everything, which Palestinians work for

  23    two years, for…for one dollar. Shari’a [Islamic law] is

  24    the only way. [IA] Allah [God], Allah [God] is the only

  25    legislator.    If anybody, Ikhwan Al-Shayyatin [Satan



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             62
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 62 of 274 PageID 3936



   1    brothers], Brotherhoods, Hamas, whoever they are all

   2    kafir [infidels]. If they think that they can rule with

   3    manmade law they’re kafir [infidels].        If they rule with

   4    manmade law they’re kafir [infidels]; that's what they

   5    do.    And if they think that's the best for the society

   6    because the people ask for it, they’re kafir [infidels].

   7    Because Allah [God] created us and if anybody think

   8    that there's any other way good or benefit than the

   9    way Allah [God] told us and the prophet,         salla Allahu

  10    ‘Alayhi wasallam [peace and blessings be upon him],

  11    had taught us, that's kufr [infidelity] for itself and you

  12    do believe it; anybody thinks that.        'Cause that means

  13    you don't have no real iman [faith].        How can man

  14    wanna legislate and think that they can take this, take

  15    this task with their own hands and legislate it, make

  16    their own manmade laws and think it'll benefit. Where

  17    is the believe in Allah [God]? if you really believe Allah

  18    [God] is the greatest, you would never wanna change

  19    anything for the shari’a [islamic law]. If you believe

  20    Allah [God] is great, you have to call to Him. You have

  21    to call to the shari’a [islamic law].

  22    CHS:     Okay and this will apply in Islamic countries

  23    and in country like Europe and United States and

  24    Australia and, how, how, how we gonna, I don't, I

  25    don't, you know, that, this is the confusion here. For



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             63
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 63 of 274 PageID 3937



   1    me I believe that the religion is a way to get people

   2    close to their Lord and practice what He gives them.

   3    It's a practice. Okay. Now, with this big mess of the

   4    world, I mean, we talking about what, half a million

   5    people in the, in the earth when prophet Muhammad,

   6    salla Allahu ‘Alayhi wasallam [peace and blessings be

   7    upon him], came?     Now we talking about seven to ten

   8    billion people they are from different uh, uh, uh--

   9    SO:     --There was one and half a million when

  10    prophet Muhammad, salla Allahu ‘Alayhi wasallam

  11    [peace and blessings be upon him], came.

  12    CHS:     Um, wha--

  13    SO:     --Half a billion, there was more than that.

  14    Maybe there was a couple of billion. Two or three

  15    billion maybe... Allahu a’lam [only God knows].

  16    CHS:     At the time of the prophet?

  17    SO:     Yes.

  18    CHS:     Well, 'cause uh, even Europe was not, did not

  19    exist at that time.     Eh, United States were, uh, just two

  20    hundred years, the age of it. Now--

  21    SO:     --They killed like three hundred---Native

  22    Americans, three hundred millions when they came

  23    here.

  24    CHS:     No, I'm not talking about this. I'm talking about

  25    this system that you're talking about, the shari’a



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             64
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 64 of 274 PageID 3938



   1    [Islamic law] and the--

   2    SO:     --The thing is--

   3    CHS:     --it applies to the Muslim countries which is the

   4    people that, in the Arabic world, which is the prophet

   5    has put Islam at that time, from China to Morocco,

   6    okay. Now those people that you said they came

   7    here, the American or from Europe, they killed the

   8    Native American or whatever, and they took over, and

   9    they--

  10    SO:     --and they went to Africa--

  11    CHS:     --Okay--

  12    SO:     --They killed the Muslims [UI]--

  13    CHS:     --Whoa, whoa, whoa, whoa, let's, let's start

  14    here.

  15    SO:     Okay.

  16    CHS:     The base is on the material not in religion. This

  17    is how they use this country and to use people they

  18    got--

  19    SO:     --Okay, let me tell you right now there's a video

  20    and I'll give you the link, insha’ Allah [God's willing], if

  21    I had a [UI] I'd show it to you right now.         It's like nine

  22    minutes long and it's about Bush, and about the

  23    Christian ah, crusaders; there's sixty million members

  24    and more Baptist Christians and they all donated for

  25    this war in Iraq and Afghanistan, and they go over



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             65
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 65 of 274 PageID 3939



   1    there and give Arabic and Pashto bibles and they go

   2    in the humanitarian aid convoys. And they built big

   3    churches in Iraq already and they're re, they're

   4    converting people away from Islam, little children,

   5    orphans because they don't have no family.

   6    CHS:    So they come from here, they go there.

   7    SO:    They come from here, they go there--

   8    CHS:    --and then--

   9    SO:    --and their plan they said, our whole plan is to

  10    make the whole world Christian.

  11    CHS:    And at this time, what, what, what, what is the

  12    solution for those people?

  13    SO:    What is the solution for those people?        The

  14    solution for those people is if they don't accept Islam,

  15    Allah [God] knows best [Chuckles].

  16    CHS:    No, what I'm saying is…if there are coming to

  17    our country because of our rulers and--

  18    SO:    --No, they are not coming for our rulers--

  19    CHS:    --yes, yes, yes--

  20    SO:    --They are coming for Islam—

  21    CHS:    --they came, no, they came, no. They came,

  22    they got invited by the rulers and we talked in the

  23    beginning, that's how we opened the subject, is the

  24    Muslims they are coming to rule and you said they are

  25    not Muslims.    And if, believe me, if they're planning or



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             66
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 66 of 274 PageID 3940



   1    somebody else is taken over and they see somebody

   2    coming to build and to manipulate the Muslims and to

   3    uh, change the reli--

   4    SO:    -- the Ikhwani [Brotherhood] have already--

   5    CHS:    -- [UI]--

   6    SO:    --Listen, the Ikhwani [Brotherhood] and Sayyid

   7    Qutb, Rahimahu Allah [May God bless him], they're

   8    two different ideologies. When he wrote his books,

   9    when he was getting tortured in prison, they wanted

  10    shari’a [Islamic law] but now they want Islamic

  11    democracy. They're filthy kafir [infidels]. They

  12    changed ideology over the thirty years or whatever

  13    because they couldn't have the patience, they were

  14    getting persecuted, and many of them got killed, so

  15    they changed the ‘Aqidah [conviction]--

  16    CHS:    -- [UI]--

  17    SO:    --because they’re afraid--

  18    CHS:    -- [UI] they're not all the same, they're--

  19    SO:    --No!   Anybody that's with them, if we in dunya

  20    [in this life], we make the takfir [atonement] on them

  21    because--

  22    CHS:    --there's twenty-four factions, there are in

  23    Egypt, Muslims in the election, twenty-four, that’s

  24    what I heard yesterday--

  25    SO:    --Doesn't matter, we're not allowed to go to



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             67
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 67 of 274 PageID 3941



   1    these democratic elections.       It's infidelity itself to even

   2    go to the democratic elections. It's infidelity.          'Cause if

   3    the religion is evil not from Islam it's infidelity.

   4    CHS:    Even then, the way that they're doing--

   5    SO:    --Yes! Even the way that they're doing it.

   6    CHS:    But, well how they gonna elect these

   7    presidents or the Khalifa--

   8    SO:    --there is, there is, no, no, no, Khalifa [Islamic

   9    ruler] gets, first of all, Khalifa is throughout history is

  10    the first people that the people gave allegiance to

  11    when they established the first birth and the dead rule

  12    or whatever gave allegiance to, is the Khalifa. So,

  13    whatever in the country was given allegiance to and

  14    they called the Shari’a an old Islamic democracy, no

  15    infidelity no nothin', just Shari’a and monotheism.

  16    Whoever is the leader of those people he's to be

  17    giving allegiance to.      Everybody has to give allegiance

  18    to him.

  19    CHS:    So in Pakistan and Afghanistan when they do

  20    the election, when they, when they hire those people,

  21    they don't do elections?

  22    SO:    What people?

  23    CHS:    They, Afghanistan, let's see, they're, they're--

  24    SO:    --They, they don't do elections.

  25    CHS:    Well, how did they elect ah, what's his name?--



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             68
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 68 of 274 PageID 3942



   1    SO:    --They chose him, they chose him.

   2    CHS:    Okay, so they're making consultation or, how,

   3    how do you start?

   4    SO:    You otta know--

   5    CHS:    --You got ten million people--

   6    SO:    --He was a leader, listen, he was a leader--

   7    CHS:    --Okay--

   8    SO:    --You know why?     Because after the, after the

   9    cold war, after the Soviet Union got kicked out, there

  10    was a civil war. Everybody was fighting each other for

  11    power and not for Islam. Not for shari’a and for drugs.

  12    They had mafia organizations working with the

  13    government for the poppy seed; and what the Taliban

  14    did, Mullah Omar, it was one guy, he had a dream

  15    and the prophet, peace be upon him, went to him in a

  16    dream and said I want you to start the shar’ia in

  17    Afghanistan. And he told his best brother in faith, and

  18    that's the Taliban.     And then they told another guy,

  19    three, there became five, thirty people, but he was the

  20    one that started so they gave allegiance to him and

  21    thirty people started the whole thing and everybody

  22    joined them. They started it. Thirty people and now

  23    they establish shari’a from 1995 till 2001. America

  24    went there because of that, to take away the shari’a,

  25    because they know, they know it brings back the



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             69
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 69 of 274 PageID 3943



   1    people to religion and to establish Christianity and

   2    infidelity of democracy. You know what Bush said?

   3    He said, I don't… democracy is not America's gift to

   4    the world, it's God's gift to the world.

   5    CHS:    Well that's his opinion--

   6    SO:    --No, democracy is infidelity--

   7    CHS:    --We're not gonna take his--

   8    SO:    --Well, if you're not gonna take his opinion then

   9    you should not support the Satan brothers, the

  10    infidels.

  11    CHS:    Yeah, but, but I, I, I'm really looking for ah, a

  12    system--.

  13    SO:    --Okay, what, what [UI]--

  14    CHS:    --In Egypt, Egypt--

  15    SO:    --What has Hamas done right now in

  16    Palestine?

  17    CHS:    Well at least you have twenty--

  18    SO:    --What have they done?--

  19    CHS:    --thousand Memorizers [of Koran] every year.

  20    We don't have--

  21    SO:    --It doesn't matter how many--

  22    CHS:    --Well now, hold on a second, let me tell you,

  23    let me tell you. I, I'm, I'm from Gaza and I've seen it in

  24    my eyes. They're not the best and I'm not Hamas and

  25    I don't like them--



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             70
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 70 of 274 PageID 3944



   1    SO:    --Brother, I don’t like that shit there--

   2    CHS:     --but at the same time brother, when you look

   3    at, at Muslim, you find      mosques full of women who

   4    are, thank God, covered and it's easy to get married,

   5    it's easy to, it's not like before. You know, I remember

   6    the time that when we have a, a, a, a, a places that

   7    people they, they go and, and buy alcohol and all this

   8    stuff, so as Muslims, you don't want us to be an

   9    Islamic country--

  10    SO:    --Brother, I, I know, I know from a very, very

  11    well trusted brother, okay, a Bosnian brother, you

  12    don't know him, you haven't met him yet. You know,

  13    you want me to tell you about him?

  14                (Tape concluded.)

  15                MS. SWEENEY:    Still in the same meeting, next up is

  16    Government's Exhibit 101.8-A and the transcript at 101.8-B.             I

  17    will start at the beginning and play until approximately the

  18    bottom of page three.

  19                MR. GEORGE TRAGOS:     What was the number again,

  20    please?

  21                MS. SWEENEY:    101.8.

  22                THE COURT:    Does anybody need a personal break from

  23    the jury?

  24                MR. GEORGE TRAGOS:     You're not playing 101.7?      All

  25    right.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             71
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 71 of 274 PageID 3945



   1                THE COURT:    Please proceed.

   2                (Tape played.)

   3    CHS:    [UI] two or one [UI] I need to know it's easy for

   4    me

   5    SO:    Two, two, two

   6    CHS:     And you're ready go? You're going to go

   7    forward?

   8    SO:    The plan is to do

   9    CHS:    And you're not gonna' change?

  10    SO:    No, if I have...Listen... [UI] I am going to stick to

  11    it. There is no going back, I put the belt on, and there

  12    is nobody stopping me no nothin’.

  13    CHS:    Okay, now... Salah-al-Din [UI] are you gonna’

  14    take him or [UI]

  15    SO:    I have a person, don't worry about it.

  16    CHS:    You got somebody?

  17    SO:    I'm not gonna' tell you who.

  18    CHS:    You don't need to tell me nothing. But, you're

  19    going forward?.

  20    SO:    Yeah.

  21    CHS:    And where do we have to put the stuff?

  22    SO:    [UI].

  23    CHS:    Ahh, let’s go. It is not going to be my duty to do

  24    anymore. All I have to do is to meet you one more

  25    time to tell you where. That's it.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             72
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 72 of 274 PageID 3946



   1    SO:    OK, and maybe, maybe you should give me a

   2    little cash so I can come buy meat. You don't want me

   3    to come ever? That is a good excuse; we don't have a

   4    lot of meat places over there.

   5    CHS:    If they still watching you, you are a hundred

   6    percent sure because

   7    SO:    Ya akhi [my brother], akhi [my brother], I went

   8    to the gas station

   9    CHS:    you, you scare the shit out of me

  10    SO:    listen, I went to the gas station before I

  11    came here

  12    CHS:    uh...huh...

  13    SO:    before I hit two seventy-five in, in Clearwater

  14    and     they pulled next to me.

  15    CHS:    Okay, before I go to the shop I need to go

  16    around to make sure we got everything straight.

  17    SO:    Oh, okay.

  18    CHS:    Or you want to go to Sligh? I don't, I don't

  19    wanna' go to Sligh. Honestly, I wanna go home--

  20    SO:    We just go to the parking lot and we don't

  21    get out.

  22    CHS:    What parking lot?

  23    SO:    Sligh. We don't get out.

  24    CHS:    Why wait until the street is

  25    SO:    [UI] Okay



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             73
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 73 of 274 PageID 3947



   1    CHS:    why should I go that way. If they are following

   2    us…following us. They're gonna' come to Sligh too.

   3    SO:    That's true.

   4    CHS:    It is your responsibility ya akhi [my brother], is

   5    not my responsibility.

   6    SO:     Whoever; but I need [UI]

   7    CHS:    I'll get you the car. I'm just gonna' try my best,

   8    but I don't know how much it cost, if it cost more than

   9    two thousand dollars I'm not gonna' get it. You want a

  10    belt we'll get you the belt. Now you need two of them

  11    [UI] fine, fine. And you have everything after that, you

  12    don't see me I don't see you.

  13    SO:    Never. Only in jannah [heaven]; insha’ Allah

  14    [God willing].

  15    CHS:    Insha’ Allah [God willing]. And the other one,

  16    he wants another belt? The other brother?…Or just

  17    one? I don't know how much, I never ask about it.

  18    SO:    Just get two. If not [UI]

  19    CHS:    You want two?

  20    SO:    Insha’ Allah [God willing], if the other brother

  21    doesn't want to. I'll just hold one on me until they both

  22    make bigger, big [UI]. Don't worry about [UI] I'll put

  23    them together; I'll put one on my leg if I have to. I

  24    don't care. You know why, cause when Allah [God]

  25    says be as it is I'm gonna' come back to like this on



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             74
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 74 of 274 PageID 3948



   1    the Day of Judgment. Every Atom is waiting to come

   2    back together. You know who Uzayr [PH] is? Izra

   3    [PH]?

   4    CHS:     Who?

   5    SO:     Uzayr.

   6    CHS:     Zubayd? [PH].

   7    SO:     Uzayr. [PH].

   8    CHS:     Uzayr? [PH].

   9    SO:     Yeah, you know who that is?

  10    CHS:     No.

  11    SO:     He was from Bani Israel [the Children of Israel];

  12    he was a fire worshiper

  13    CHS:     oh Uzayr.

  14    SO:     No.

  15    CHS:     Uzayr, ibn Allah [the son of God], they say.

  16    SO:     Yeah, yeah.

  17    CHS:     He is the son of God.

  18    SO:     [UI] you know why they said it?

  19    CHS:     Uh...huh...

  20    SO:     Cause he went to a town, he went to a town

  21    and the whole town from Bani Israel [the Children of

  22    Israel] was dead, like Allah       [God] destroyed it. And

  23    he said how will Allah [God] will ever bring this back,

  24    like he's not gonna' bring it back. He didn't believe for

  25    a second like in resurrection--



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                                                                             75
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 75 of 274 PageID 3949



   1    CHS:    should I go to the [UI] or do you want to go

   2    somewhere else? Do you want to check the place?

   3    SO:    I don't care about the car.

   4    CHS:    No the place…Fifty-six.

   5    SO:    No, no, no.

   6    CHS:    No.

   7    SO:    I, don't worry about it

   8    CHS:    so I got enough so.

   9    SO:    Yeah.

  10    CHS:    Emm...Okay, alright. We need to make sure

  11    that no more seeing.

  12    SO:    Okay.

  13    CHS:    Alright. Now do you want him to contact you, or

  14    do you want me to call you, or you wanna' call me or

  15    you wanna' come or what, what date, give me three,

  16    four days to see if I can convince him to get

  17    everything. Yeah your car's still there.

  18    SO:    Don't worry about the car. I'm not worried

  19    about it.

  20    CHS:    Now anything happen, I need to know if they

  21    come or say something or if they

  22    SO:    you tell em', no I will not

  23    CHS:    are listing

  24    SO:    listen, you just say I don't know what you're

  25    talking about. I don't know, you have the wrong guy. I



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             76
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 76 of 274 PageID 3950



   1    don't know.

   2    CHS:     Well see most of the time those people they,

   3    they tell you oh, we have uh... x uh... brother Sami

   4    came and he said

   5    SO:     and he said this about you

   6    CHS:     that, exactly

   7    SO:     exactly, that is the games they play. You say

   8    nothing. Same here; if they say some about oh, this

   9    person said this [UI]

  10    CHS:     I never talked to them and I will never talk to

  11    them and if they come I have attorney, okay. And they

  12    know me; they know I'm very stubborn. I won't say a

  13    word, but I'm worried about if they bust you or they, if

  14    you speak or you talk to somebody and

  15    SO:     I'm not their friend

  16    CHS:     things go as wrong

  17    SO:     that's why, that's why I'm not seeing people

  18    no more. Cause some brothers I know they like,

  19    they're good brothers, but they talk a lot, not to

  20    people, they just talk to me not right now [UI] will

  21    never

  22    CHS:     what about Salah-al-Din?

  23    SO:     find [UI]

  24    CHS:     he already knows that the location, he

  25    knows what you're gonna' do



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             77
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 77 of 274 PageID 3951



   1    SO:    he knows the location

   2    CHS:    and he knows everything. So if something

   3    happen, the news comes and he mentions my name.

   4    What are we gonna do?

   5    SO:    No, because listen, don't worry about Salah-al-

   6    Din, I told you I have one guy, but don't worry about

   7    Salah-al-Din. You don't worry about Salah-al-Din.

   8    CHS:    No, I am. How, how

   9    SO:    Akhi [my brother], my brother, Salah-al-Din is

  10    a stubborn you better cut off his head than [UI]

  11    CHS:    But, but you need once you see him tell him

  12    everything had been cut off, the brother is bad or you

  13    talk     something bad about me, that we don't see

  14    each other anymore.

  15    SO:    [UI].

  16    CHS:    What?

  17    SO:    [UI] relax.

  18    CHS:    [UI] so you start lying to me.

  19    SO:    No, that because of the Mall when you did this

  20    to me, I didn't know what to think no more. That’s all.

  21    CHS:    Ya akhi [my brother], wallah [by God] I wanna'

  22    make sure that

  23    SO:    Okay

  24    CHS:    you are not set up. I, I mean, how am

  25    gonna…you know, I have a feeling like you have a



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                                                                             78
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 78 of 274 PageID 3952



   1    feeling, I told you since day one, don't trust me. did I

   2    tell you this or not?

   3    SO:    Listen.

   4    CHS:    And now Subhan Allah [Praise the lord]! its

   5    build up, its build up very well

   6    SO:    I think, I think you told me don't trust me

   7    because you didn't trust me.

   8    CHS:    Ahh, whatever, I mean things but, but if you

   9    wanna' do something, do it make me feel proud of

  10    you.That’s all.

  11    SO:    Akhi [my brother], listen, I'm gonna' make the

  12    whole Ummah [Nation] wake up. Allah [God] is going

  13    to do it, but, [UI] insha’ Allah [God's willing]. And these

  14    filthy kufar [infidels], Al-shayyatin [the devils] are all

  15    over them because they know. Al-shayyatin [the

  16    devils], they, they, they are here around us, they listen

  17    and sometimes when I, I look in the mirror and I feel

  18    so light, that means good like I'm floating, Al-

  19    shayyatin [the devils] know this so they alarm the

  20    kufar [infidels], they go

  21    CHS:    you still want to go to the masjid [mosque] ya

  22    akhi [my brother]?

  23    SO:    No, no. I told you just drive.

  24    CHS:    Okay. So the only thing we did not talk is how

  25    we gonna' meet? That’s all.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             79
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 79 of 274 PageID 3953



   1    SO:    That's the only, that's the only difficult thing

   2    which you have to be careful.

   3    CHS:    How…OK, can you, see I don't want Sami to

   4    know that you’re coming because I told him I'll fire

   5    you. Yeah I told him you know, you not happy and

   6    you need ten dollars an hour and I cannot afford it.

   7    That's when he asked me where's is he? Is he coming

   8    back? And they wanna to hire a Mexican guy or

   9    something. But anyway regardless, how can we, how

  10    are we gonna' communicate? Did, did, you never took

  11    my e-mail.

  12    SO:    No, no, no they're watching my e-mails

  13    CHS:    oh, oh, oh

  14    SO:    because [UI]

  15    CHS:    is that worst?

  16    SO:    Yeah, that's the worst, man!. That's even paper

  17    written evidence. You don't want to communicate [UI]

  18    we don't need nothing like this.

  19    CHS:    Oh. Ah... how bad they are?

  20    SO:    [UI].

  21    CHS:    Don't worry about it, don't worry about it there's

  22    no one to find us. I’ve been looking at the mirror all

  23    the time. There's nothing. And if they're smart come

  24    and ask for me. See I'm not scared!

  25    SO:      Akhi [my brother], if I knew only Ahmed was in



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             80
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 80 of 274 PageID 3954



   1    there, that [UI].

   2    CHS:    [UI].

   3    SO:    No, he is more than that, he's evil. After he saw

   4    the video with the head buttin’ he's like no assalamu

   5    ‘alaykum [peace be upon you]. Don’t tell me assalamu

   6    ‘alaykum [peace be upon you], I told you.

   7    CHS:    He talked to you?

   8    SO:    After the head buttin’.

   9    CHS:    Oh you told him.

  10    SO:    I told him don't ever say assalamu ‘alaykum

  11    [peace be upon you] to me. I told you already, I gave

  12    you the hujjah [proof], you wanna promote

  13    democracy; you say it's Islamic; you can go to

  14    jahannam [hell] with them if you want. Ah... you have

  15    to say assalamu ‘alaykum [peace be upon you]. Allah

  16    [God] says when you meet the believer

  17    CHS:    please [UI]

  18    SO:    [UI]

  19    CHS:    I don't care about Ahmed;

  20    SO:    Alhamdulillah [Praise be to God].

  21    CHS:    I know that you're about to kill him too.

  22    [UI]. But, anyway the, the thing is, please,

  23    please, if things go wrong I need to know

  24    SO:    Akhi [Brother],

  25    CHS:    you know what



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             81
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 81 of 274 PageID 3955



   1    SO:    don't say nothing. I am…a man. I'm a Muslim

   2    and if I say anything to harm anybody, I become kafir

   3    [infidel] maybe. No, don't worry about it. I'm doing this

   4    to please Allah [God], not to displease Allah [God].

   5    CHS:    What, what, okay, but you have to watch for

   6    the other brothers, and I'm trying to help here

   7    SO:    I'm not gonna…I tell all the brothers

   8    CHS:    I'm trying to do, do what's

   9    SO:    other brothers have a new connection.

  10    CHS:    okay, okay, alhamdulillah [praise be to God],

  11    yes, yes

  12    SO:    I mean that guy that showed up in his parking

  13    lot he's terrified.     He, he fired me; I already told you

  14    fired me.

  15    CHS:    Okay, alhamdulillah [praise be to God].

  16    SO:    Already told you fired me.

  17    CHS:    Okay, and Salah, he will never come to the

  18    shop too.

  19    SO:    I'll tell him don't.

  20    CHS:    No, I mean he was a customer. I don't care. I

  21    mean, I, I did not recognize him with a beard. But,

  22    uh... he welcome to come, but, but I don't wanna' talk

  23    about nothing.

  24    SO:    No, you can't because

  25    CHS:    the only thing that I need one more meeting



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             82
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 82 of 274 PageID 3956



   1    after three, four days. I need three, four days to get

   2    you what you asked for …and then I don't wanna'

   3    maybe you just tell me when, another meeting or

   4    before or whatever or once you take it, I'm gonna'

   5    leave out of town. Nobody see nobody…and exempt

   6    me and make du’a [pray] for me.

   7    SO:    [IA] insha’ Allah [God willing], what you might

   8    wanna' do is on the same day cause once I get it, it's

   9    gonna' be the same day. [IA] the same hour

  10    CHS:    well then meet me after three days; I'll let you

  11    know exactly

  12    SO:    It would be better to me on Friday. Do you

  13    know why? Because of the mosque, it's a reason for

  14    me to be in Tampa, because I used to go to the

  15    masjid [mosque] in Tampa every jum’ah [Friday].

  16    CHS:    And if the things ready you gonna' take em'

  17    and do what you have to do without even looking?

  18    SO:    Yeah.

  19    CHS:    You're not gonna' even look if there are people

  20    over there or not?

  21    SO:    Where?

  22    CHS:    You gonna' do it at random?

  23    SO:    I'm not gonna' do this till they come for me. I'm

  24    gonna' do this.

  25    CHS:    I under-- I understand, but, but are you gonna'



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             83
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 83 of 274 PageID 3957



   1    do it, you promised me not to go to a mall or [UI].

   2    CHS:    The what?

   3    SO:    [UI] recruit, recruiting

   4    CHS:    Oh, okay so, so

   5    SO:    this, this why I don't want to [UI]

   6    CHS:    but, but, but what about that day there is no

   7    body there?

   8    SO:    What do you mean I just get in the car and I

   9    drive [UI]. Don't, you, you over calculating akhi [my

  10    brother].

  11    CHS:    No, I need to know, I, I need to leave out of

  12    town, I, I can't afford to be here.

  13    SO:    Okay, go ahead.

  14    CHS:    I just want to go

  15    SO:    okay

  16    CHS:    I have a trip to Mississippi or to Chicago

  17    somewhere or go see my mother-in-law or do the

  18    surgery that day.

  19    SO:    Do it.

  20    CHS:    I'll do the surgery. That’s it, that's it

  21    SO:    Alhamdulillah [Praise be to God],

  22    Alhamdulillah [praise be to God].

  23    CHS:    So let me plan that when I'm in the hospital,

  24    you do what you have to do.

  25    SO:    You plan that when I do it I have to do it, or you



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             84
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 84 of 274 PageID 3958



   1    plan [UI]

   2    CHS:    I'm not doing anything

   3    SO:    you plan to be in the hospital

   4    CHS:    You are going

   5    SO:    [UI]

   6    CHS:    You are going forward with what you, what

   7    you want to do and that's it, that's it. I'm, I'm not..., I'm

   8    out of it.

   9    SO:    Yeah.

  10    CHS:    All I know is, you know, you don't hurt

  11    anybody

  12    SO:    [UI]

  13    CHS:    as, as we agreed civilians. That’s it.

  14    SO:    [UI].

  15    CHS:    What?

  16    SO:    [IA]

  17    CHS:    Still thinking about they are following?

  18    SO:    I do what's more beneficial. No, I said there are

  19    no civilians. I do what's more beneficial. Don't worry

  20    about it.     Akhi [my Brother], you over, over calculate.

  21    CHS:    It's not over cal... I'm a scared because this is

  22    the first time in my life that I'm doing something like

  23    that, I always done it home, but not here. You know?

  24    and I'm not even convinced that it's alright here, but

  25    anyway.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             85
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 85 of 274 PageID 3959



   1    SO:     So where we gonna' meet?

   2    CHS:     Uh... tell me, let me go another way, one more

   3    round... car over there. What, what, what do you want

   4    and in four days can we meet, let’s say at random

   5    somewhere in any location that you prefer?

   6    SO:     What Sunday?

   7    CHS:     Sunday?

   8    SO:     What's today it Wednesday? Four days. It's

   9    Sunday.

  10    CHS:     I need a couple of days to talk to the guy

  11    SO:     okay Sunday

  12    CHS:     I want to go and meet him

  13    SO:     in four days

  14    CHS:     I don't know, I might make a phone call and

  15    see if      he's in town while you are here.

  16    SO:     Sunday is four days?

  17    CHS:     Sunday yes, you wanna' meet? Oh, Sunday I

  18    work.

  19    SO:     Okay wh..., Saturday.

  20    CHS:     Let's make it Monday.

  21    SO:     Monday.

  22    CHS:     Monday where? Before I go?

  23    SO:     [UI].

  24    CHS:     Uh...

  25    SO:     Turn left [UI] dead end.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             86
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 86 of 274 PageID 3960



   1    CHS:    I'll, I'll go straight. No these neighbors I know

   2    them because I come every morning in here. I'm in

   3    the back of the building.

   4    SO:    Okay, I know where it is.

   5    CHS:    Okay, there is no one here

   6    SO:    Shhh... I not, listen, I'm not talking about the

   7    people, I'm trying to think where we can meet. It has

   8    to be a masjid [mosque] because I have to have

   9    reason why I'm here.

  10    CHS:    Okay. What about uhm... Monday, Monday,

  11    Monday in Sligh?

  12    SO:    Monday, Sligh, Yeah.

  13    CHS:    And if I have that thingy.

  14    SO:    Monday?

  15    CHS:    Would you take em?

  16    SO:    Yeah.

  17    CHS:    Are you gonna' take em' in the car.

  18    SO:    Are they ready?

  19    CHS:    If, if I'm not sure

  20    SO:    if, if, if they [UI]

  21    CHS:    I gotta' talk, you want me to call the guy and

  22    see if he's in town so I can tell you in two, three days?

  23    SO:    Yeah.

  24    CHS:    Okay.

  25    SO:    Drive, drive.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             87
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 87 of 274 PageID 3961



   1    CHS:    Let me call him and see

   2    SO:    drive fast.

   3    CHS:    Fast where?

   4    SO:    I mean just drive on the street, normally.

   5    CHS:    Nah, it's BMW, Mercedes Benz, let me turn the

   6    lights, but these are automatic anyways, okay. You

   7    know what, lets meet Monday on the, on the Sligh.

   8    SO:    At which, which salat [prayer]?

   9    CHS:    Salat al-Zuhr [The noon prayer].

  10    SO:    Zuhr [Noon prayer]?

  11    CHS:    Yes, Zuhr [noon prayer], but I'm not gonna pray

  12    inside, you gonna' see me in the parking.

  13    SO:    Zuhr [Noon] or ‘Asr [afternoon] prayer?,

  14    because I don't know if I have a good car to come on

  15    Monday.

  16    CHS:    ‘Asr [Afternoon prayer]? What, what, what, day

  17    you are able to come? Which day?

  18    SO:    [UI].

  19    CHS:    I need to go.

  20    SO:    Any day, Monday.

  21    CHS:    Monday, and, and as I said

  22    SO:    Monday, ‘Asr [Afternoon prayer]

  23    CHS:    you make sure you have a good car

  24    SO:    ‘Asr [Afternoon prayer]

  25    CHS:    oh, shit this guy is here. Oh God, he's coming



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             88
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 88 of 274 PageID 3962



   1    dump [UI] in the dumpster.

   2    SO:    So what. [UI].

   3    CHS:     Oh, shut, shut. Oh…La hawla wala quwwata

   4    illa billah [there is no power and no strength save in

   5    God]

   6    SO:    You just took me for food and you told me

   7    there's a job in Saint Pete.

   8    CHS:     Yeah, yeah, yeah, just let him go first, let him

   9    go then. Okay. Uh... Monday, uh... you know what,

  10    come Sunday by the shop and the moment that you

  11    park your car here, don't call me, don't do nothing.

  12    Park your car here, I'll see you, I'll come and tell you

  13    where to go.

  14    SO:    Emm..mmm...

  15    CHS:     Then Monday at the

  16    SO:    emm...mmm...

  17    CHS:     masjid [mosque], you want Monday in the

  18    masjid [mosque]? Because I don't know

  19    SO:    I cannot come here at all, they will follow both

  20    of us.

  21    CHS:     Hmm...

  22    SO:    If I come here they will follow both of us.

  23    CHS:     I see. Monday in the masjid [mosque].

  24    SO:    What I might even try to do is I might try to

  25    leave my phone at home and sneak out when my



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             89
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 89 of 274 PageID 3963



   1    brothers leave, because they follow each of the cars.

   2    CHS:    Right.

   3    SO:    Sneak out and get somebody else's car.

   4    CHS:    Do you want me to extend this and give it to

   5    you? Oh shit, no, no, no, I'll be in deep trouble--

   6    SO:    [UI]

   7    CHS:    it's under my name no, no, no, no.

   8    SO:    No, because they will watch me with this car,

   9    they don't care.

  10    CHS:    No, no, no, no, it's under my name anything

  11    goes wrong I'll be in… n…I am a chicken

  12    SO:    listen, Monday after salat [prayer]? after salat

  13    [prayer]?

  14    CHS:    they might slap me, I’ll tell them everything.

  15    SO:    after salat [prayer]? after salat [prayer]?

  16    CHS:    After salat [prayer] in Sligh, insha’ Allah [God

  17    willing]. And be ready get a nice car [UI]

  18    SO:    do we have some Qunut [PH]?

  19    CHS:    Qunut what?

  20    SO:    Is that called Qunut?

  21    CHS:    What is Qunut?

  22    SO:    That smell for [IA].

  23    CHS:    The what?

  24    SO:    The smell for Janazah [funeral].

  25    CHS:    Oh, uh... uh... Rawhun wa Rayhan [Joy and



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             90
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 90 of 274 PageID 3964



   1    Flowers]. Don't start okay? Let’s be serious. Get, get,

   2    get me my stuff, get me my phone and uh... Monday,

   3    insha’ Allah [God willing],       [IA] Salat Al-‘Asr [Afternoon

   4    prayer, I'll..on Sligh, I’ll be in the parking lot. I'll- I

   5    will

   6    have the Mercedes. By that time, I need you to go

   7    and check the car, so he will take the box.

   8    SO:    By, before that?

   9    CHS:     Before that, so they won't be following you if

  10    there is

  11    SO:    no, no, the thing is they follow me with so

  12    many cars, even if I remove the box they'll follow me.

  13    CHS:     Okay. What 'bout if you have the guns and that

  14    deal what are you gonna' do?

  15    SO:    If I have em' and I have this, I'm gonna' do this,

  16    nobody's stopping me

  17    CHS:     God Damn no, no, you know what? You are

  18    crazy.

  19    SO:    Akhi [my Brother], if they come for me and I

  20    have this, what you think? I might give it to them? No I

  21    give the other things. Where's the logic?

  22    CHS:     So, so we went back to, to square one.

  23    SO:    What are you talking about?

  24    CHS:     That you are ready to go and kill yourself for

  25    nothing.



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             91
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 91 of 274 PageID 3965



   1    SO:     If they come with guns and I have guns if I stop

   2    they give me thirty years what is the thinking. I got to

   3    give them this, they got to know they can't just kill

   4    Muslims, they got to know to be afraid of Muslims

   5    CHS:     so, so basically Monday just it's a pure

   6    meeting, you don't want anything because I can't

   7    afford to make mistake if you have weapon. I don't

   8    want to do anything.

   9    SO:     Okay we should do it then, we should meet

  10    tomorrow

  11    CHS:     But you can

  12    SO:     Tomorrow man, we should meet tomorrow

  13    man

  14    CHS:     jum’ah [Friday] there's no way, give me my

  15    phone

  16    CHS:     give me, give me my phone, let me uh?

  17    SO:     You can't talk on the phone.

  18    CHS:     Then, then let me do it from the business, I'll

  19    talk to     him, he's, he's the one who sell the flags and

  20    all these eh.

  21    SO:      get the belts.

  22    CHS:     I'm gonna' check with him but, I have to meet

  23    him somewhere. Maybe we go and have dinner

  24    SO:     hey, but it all needs to be ready, because I

  25    don't know how to [UI] belts.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             92
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 92 of 274 PageID 3966



   1    CHS:     Then you, then you have to meet him to set it

   2    up.

   3    CHS:     You need to meet him to set, how I don't know

   4    I'm not expert in this shit, this is the first time in my

   5    life.

   6    SO:     Is he trust worthy?

   7    CHS:     Absolutely. He, don't

   8    SO:     if not, my brother

   9    CHS:     kill him.

  10    SO:     Yeah.

  11    CHS:     My brother-in-law [UI] he can do drugs, He's

  12    the one who told me about him about twelve years

  13    ago, they were kids [UI]

  14    SO:     Okay

  15    CHS:     he was in Lebanon.

  16    SO:     What do you, when, when do you want to

  17    meet?

  18    CHS:     I don't know if you want to be trained, to see

  19    him; if he tells me yes, I can do these, but I want to

  20    see the price because I don't have that much money. I

  21    want to see if that's possible, what the hell is that?

  22    SO:     [UI].

  23    CHS:     Huh?

  24    SO:      [UI] some food [UI].

  25    CHS:     Okay.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             93
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 93 of 274 PageID 3967



   1    SO:     [UI].

   2    CHS:     No I wanna' see who's in, in the handicap. I

   3    hope that they're not listing to [UI] oh shit.

   4    SO:     [UI].

   5    CHS:     Get, get, get me my stuff, get me my stuff, get

   6    me my stuff and I'll see you insha’ Allah [God

   7    willing]

   8    SO:     Monday at [UI]

   9    CHS:     Insha’ Allah [God willing].

  10    SO:     At Sligh, Monday.

  11    CHS:     Insha’ Allah [God willing]... take care.

  12    SO:     That's your keys?

  13    CHS:     Oh you get your jacket, you get your food. Get

  14    your water, here. Here your water, water.

  15    Here's your water.

  16    SO:     Hold on, one thing at a time.

  17    CHS:     They’re still busy, what time is it? Eight twenty.

  18    SO:     There's a car behind the two trucks.

  19    CHS:     Uh... what, what did you say?

  20    SO:     You know the two vans across the street?

  21    CHS:     Yeah.

  22    SO:     Look at them. There's a car next to them, it's a

  23    Ford.

  24    CHS:     Where? In the church?

  25    SO:     Yeah, there's two white vans across the



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             94
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 94 of 274 PageID 3968



   1    street

   2    CHS:     I don't see anything

   3    SO:     next to it, is a car.

   4    CHS:     Uh... in my back or in the church.

   5    SO:     Well the chur... no man, across the other side

   6    CHS:     no, no, no, that's, that's a, that's a not, that's

   7    not ah... this is a daycare, this is daycare.

   8    SO:     Look at the car next to it. You don't see, it's

   9    dark

  10    CHS:     Okay

  11    SO:     it's a Ford.

  12    CHS:     Okay, well you go your way, I'll go my way.

  13    SO:     Hey I'm gonna go use the restroom inside

  14    insha’ Allah [God willing].

  15                (Tape concluded.)

  16                MS. SWEENEY:    Next is Government's Exhibit 102.1-A,

  17    it's the recording and 102.1-B is the transcript.          We're

  18    playing a small portion from the beginning of this on page one.

  19    This is on December 5th, 2011, and it's a discussion between

  20    the CHS and the FBI prior to the planned meeting with the

  21    Defendant.

  22                 (Tape played.)

  23    SA Collins:      Test.

  24    CHS:     Shit. Take this in the car. I'm glad I caught it.

  25    Yeah,      there's no need.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
                                                                             95
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 95 of 274 PageID 3969



   1    SA Collins:       Yeah. (UI).

   2    CHS:    I'm going to be (UI). I'm not going to go

   3    anywhere.

   4    UM:     No. But we need it to back up.

   5    CHS:    That's...

   6    UM:    It's already on. You don't have any other set of

   7    keys? If       you don't want it there then put it um in

   8    that center       consul.

   9    CHS:    There's no need for it. Trust me. I'm not

  10    going...(IA)

  11    UM:    No.    It’s for backup in case one fails.       Not

  12    because [UI]

  13    CHS:    I’m gonna control him this time [UI]

  14    UM:    Here.    Put it in your pocket.

  15    UM:    Okay. You don't like the two?

  16    CHS:    No.

  17    UM:    If you say those are the keys to an employee

  18    or something.

  19    CHS:    No. No I can't.

  20    UM:    You had it last time. That's the same one you

  21    had last time.

  22    CHS:    I know but last time is different.        Anyway, ok

  23    give me that [UI]

  24    UM:    Let me turn that on. That other thing.

  25    CHS:    No. That's that's the key..It's it's...



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             96
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 96 of 274 PageID 3970



   1    UM:    No. No.   [UI] I turned it off. Give me...let me

   2    have it back.

   3    CHS:    The the key? This has never happened. It

   4    doesn't happen        before. See here? See how much

   5    it goes. Goes (UI). Is        this on? On? There's no

   6    light. There's no light.

   7    UM:        Testing.    Yeah it’s on. Testing. On.

   8    Testing. Yeah. Got light.

   9    CHS:    (IA)

  10    UM:    I got it (UI) two holes

  11    CHS:    There you go. (IA)

  12    CHS:    [UI]

  13    UM:    Alrighty.    See you later.

  14                (Tape concluded.)

  15                MS. SWEENEY:    Next up is Government's Exhibit 104.1-A

  16    and the transcript at 104.1-B.       This is a portion of the

  17    recording from December 7th 2011, between the Defendant and the

  18    CHS.   And I'm going to play the entire clip.

  19                (Tape played.)

  20    CHS:    Brother, [UI] when I came here I see nobody.

  21    SO:    Yeah. That's what I'm saying. I'm worried,

  22    because you don't realize they are following us.

  23    CHS:    Because I'm not doing anything wrong.

  24    SO:    I know you're not. [IA]

  25    CHS:    Brother, let me...let them follow me. Let me.[IA]



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             97
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 97 of 274 PageID 3971



   1    I am not doing anything.

   2    SO:    I know you're not.

   3    CHS:    And you don't have to worry about nothing.

   4    SO:    Thank God, thank God because [UI]

   5    CHS:    What happened? What are you talking about? I

   6    don't want to talk about that.       Okay?   [UI] there is

   7    nothing we can do.

   8    SO:    I know.

   9    CHS:    So I stopped [UI] give this shit.

  10    SO:    [UI] you’re serious?

  11    CHS:    [UI] I am this serious! You can't do that. You

  12    can't do this! I… you don't know me. We have to be

  13    straight and honest with each other.

  14    SO:    Brother

  15    CHS:    You waste my day..,I was... I have a lot of

  16    pressure. In the morning I was there at eight o'clock.

  17    I'm not doing anything wrong. There's nothing wrong

  18    to meet [IA]

  19    SO:    Can I say this please [UI].

  20    CHS:    Brother, I am not. I am not going to meet

  21    with Amir or anybody else. I am not. When I make a

  22    mistake, it is important to cut out in my neck.

  23    SO:    Okay.

  24    CHS:    Okay? I have no problem. I am not doing

  25    anything wrong. If you are feeling that they are



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             98
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 98 of 274 PageID 3972



   1    following you because you are very crazy or

   2    dangerous, then you have to

   3    SO:    No, I am not crazy or

   4    CHS:    Ok then, brother, don’t come because I'm

   5    taking very high risk now. Don't let my blood pressure

   6    go. Don't do that, they cannot [UI].

   7    SO:    [UI] they come [UI] and talk to me

   8    CHS:    They know. [UI] tell them listen, I've been upset

   9    about the situation.

  10    SO:    I know.

  11    CHS:    He said: Did they bother you? Did they call

  12    you? Did they talk to you?       I said no. He said that’s it;

  13    shut up.

  14    SO:    [UI]

  15    CHS:    I don't know what to do!

  16    SO:    [UI]

  17    CHS:    [IA] what?

  18    SO:    [IA] [UI] Salah-al-Din, and I, four police

  19    Sheriffs.

  20    CHS:    Where?

  21    SO:    I’m in Dunedin where Salah-al-Din moved to

  22    his own apartment. At night, walking

  23    CHS:    Here in Tampa?

  24    SO:    Dunedin. Pinellas County.

  25    CHS:    Yesterday?



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
                                                                             99
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 99 of 274 PageID 3973



   1    SO:    Days ago.

   2    CHS:    For what?    For what?

   3    SO:    They say oh..I was dressed in all black. You

   4    look suspicious. That's what they told us.

   5    CHS:    Did they bother you?

   6    SO:    Yes, they bothered me. They took, they took

   7    our ID's, they brought four cars, they harassed us and

   8    the plane was right on top of us. It was flying...[UI]

   9    CHS:    That’s before [UI]

  10    SO:    Yes.

  11    CHS:    That's why [UI] very normal. I was taken in a

  12    position [UI] don't believe, don't believe

  13    SO:    [UI]

  14    CHS:    [UI] stealing, like we are stealing it [UI]

  15    SO:    Okay, listen. Listen

  16    CHS:    You don't have to worry about [IA]

  17    SO:    Listen. Listen.

  18    SO:    Look, I, I didn’t do nothing.

  19    CHS:    Because, because you are making [UI]

  20    CHS:    I am not

  21    SO:    Why are you trying to [UI]

  22    CHS:    Because I am not afraid. I want..[UI]

  23    SO:    [UI] I want to say that

  24    CHS:    I want to [IA] No. No. No. I am not an idiot. I

  25    know my rights. I am not stupid. I'm not a liar I know



               CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 100 of 274 PageID100
                                                                              3974



    1    exactly what I am talking about. I am not doing

    2    anything wrong.

    3    SO:    I don't know about you, but

    4    CHS:    Because, because, because when you come

    5    here and you start [UI] I tell you something, I want you

    6    to be comfortable

    7    SO:    Yeah [UI]

    8    CHS:    Friend, listen to me. I know the.. I want you to

    9    go home and come and go and visit your friends

   10    normal.

   11    SO:    I do that.

   12    CHS:    [UI] don’t be afraid to do it. When you said, I

   13    want to come and see you brother. Relax! I don't

   14    know what to tell you [IA] shake hands, peace be with

   15    you [UI] I told you. [UI]

   16    CHS:    I'm not going to talk about this

   17    SO:    Brother, brother, brother, let me tell you

   18    something [UI] Listen it's over about 5 people [UI] so

   19    don't treat me

   20    CHS:    [IA] No, I don't because I don't really know

   21    you yet. Okay? When time comes that's when it's your

   22    problem.

   23    SO:    [UI] I'm not telling you, I'm not saying nothing.

   24    CHS:    I'm helping you if you want to go home.

   25    That's it.    That's it. Sit. Think. See what [UI]



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 101 of 274 PageID101
                                                                              3975



    1    Brothers..[UI] You are responsible [UI] for what you

    2    do. Today watch you self, think, there is justice here,

    3    but they're not going take shit if they don't know [UI]

    4    because somebody met somebody or said something

    5    [UI]

    6    CHS:    It is justice. People here they look..[IA]

    7    SO:    There's no justice.

    8    CHS:    Yes, there is some people they believe in

    9    justice

   10    SO:    What we always so is injustice.

   11    CHS:    What I'm saying is the system here is not like

   12    back home, they take you, they burn you until you

   13    sign a piece of paper and you tell them yes I did it.

   14    There's nothing like this here. There's nothing. And

   15    you're not...You know.

   16    SO:    Alright. That night when police and sheriff's

   17    came, they said you guys.. we were saying like man

   18    we don't have our IDs. We were saying we don't have

   19    our IDs. They came as soon as they came.cause the

   20    plane was flying above us. They came...You guys

   21    have ID's right? Chill out. Relax. Don't be scared.

   22    Brother, don't be scared.

   23    CHS:    I'm not scared.

   24    SO:    Don't you trust me?

   25    CHS:    [IA] I don’t



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 102 of 274 PageID102
                                                                              3976



    1    SO:    I'm just trying to tell you what happened to me.

    2    CHS:    [IA] you get mad.

    3    SO:    I don't get mad.

    4    CHS:    You were there crazy. You're going to the

    5    mosque crazy. You are like [UI] Why? [UI] Brothers

    6    [UI] They have no right to tell us nothing. They [UI] go

    7    down to Bruce B Downs, the 30th Salafi's mosque [UI]

    8    they love him, they love him because they talk nothing

    9    about politics. They talk nothing but all God,

   10    Muhammad, blah, blah, blah. They love him.

   11    Somebody talk like us...we talking about work, job,

   12    marriage, woman. [IA] Why you make it like you are

   13    very important. Why you think their plane is going

   14    around you like 24?. You know how much it costs?

   15    SO:    Nothing.

   16    CHS:    Nothing?

   17    SO:    They spent, they spent 200 trillion dollars since

   18    the war started on Islam. 200 trillion. You think they

   19    care about a couple of million?

   20    CHS:    Because of you?

   21    SO:    You think they care about that?

   22    CHS:    Is it following you or is it following the [UI]?

   23    Just you?

   24    SO:    Yeah, when I go meet them, it comes.

   25    CHS:    Then I should be scared [UI].



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 103 of 274 PageID103
                                                                              3977



    1    SO:    Yeah. Listen, but you're not listening I'm not

    2    afraid for my self

    3    CHS:    I want you to be afraid for yourself.

    4    SO:    No. No, I am not

    5    CHS:    you have a life my brother, you need to be

    6    SO:    By God, I'm not afraid of them.

    7    CHS:    By God..

    8    SO:    That's the thing...yesterday, I

    9    CHS:    We're not afraid of nobody except God

   10                (Tape concluded.)

   11                MS. SWEENEY:   Next is Government's Exhibit 105.1-A is

   12    the recording and 105.1-B is the transcript.         This is a

   13    recording from December 18th, 2011, between the Defendant and

   14    the CHS, and I'm going to play the whole thing.         Your Honor,

   15    it's approximately eight minutes long.

   16                THE COURT:   All right.

   17                MR. GEORGE TRAGOS:    Where are; where are we starting

   18    this one?

   19                MS. SWEENEY:   Right at the beginning.

   20                THE COURT:   Of 105-B?

   21                MS. SWEENEY:   105.1, I'm sorry, did I -- I'm sorry --

   22                MR. GEORGE TRAGOS:    Oh, I see.

   23                (Tape played.)

   24    CHS:    Okay.   We need one of these, this is not heavy.

   25    Uh, just dump it outside and then we'll put it later.          So



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 104 of 274 PageID104
                                                                              3978



    1    what happened with ‘Abdallah?

    2    SO:    [IA] Salah-al-Din’s couple of days ago, and we

    3    were talking, and he's like, uh, you better not do

    4    nothing cause [UI] if something happens to us, I'm

    5    like, what?

    6    CHS:    He's worried about himself?

    7    SO:    Yeah!

    8    CHS:    Did you ever tell him what you

    9    have in mind?

   10    SO:    No I didn't tell him who connection is or

   11    nothing, he knows already for two years.        He knew

   12    about this. I told him.      He’s not gonna snitch, that’s

   13    not the point, he just afraid.       He's like, all [UI]

   14    CHS:    They are after him too?

   15    SO:    Yeah.

   16    CHS:    Whew, does he know anything about me?

   17    SO:    Doesn't know who the connect is. [UI]

   18    CHS:    When [UI]?

   19    SO:    Like a couple days ago.

   20    CHS:    Because?

   21    SO:    Because he's a coward.

   22    CHS:    So, uh, don't make judgment

   23    [UI] till, maybe he's right.

   24    SO:    He's not right.

   25    CHS:    I'm just asking you, why?      Why did he say that?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 105 of 274 PageID105
                                                                              3979



    1    SO:    Why? oh, he told me something similar like six,

    2    seven months ago.     And now uh, then for a while he's

    3    like well, I just have to make hijra [migration], and I'm

    4    like sit down and listen I told you in two years make

    5    hijra [migration], you had the money I told him. You

    6    had the money to leave, whatever happens is your

    7    fault.

    8    CHS:     But did he ever think that, that this is the only

    9    way to do it?    I mean, ‘Abdallah, was he have the

   10    same theology and thinking one day or, or just his

   11    SO:    No, he has a, he has the ideology, but

   12    whenever he gonna do it, he [UI] make hijra

   13    [migration] to do it, he has the same.        He started

   14    changing a little bit ago and now he's talking about,

   15    now he's talking about [UI] damage everybody around

   16    us, I’m like man you’re a coward, that’s why. He's not

   17    going, that's not the problem, listen I know him, he’s

   18    not gonna talk to people.

   19    CHS:     What if they bust him?

   20    SO:    They're not gonna do that.      He's not going to

   21    talk still they already went to his house, FBI.         He told

   22    them get the hell out of here.

   23    CHS:     When?

   24    SO:    Like seven, eight months ago.

   25    CHS:     Oh, before we



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 106 of 274 PageID106
                                                                              3980



    1    SO:    Yeah, yeah.    The point is, I [UI], I told him.

    2    CHS:     No, you don't want to break the bridges.

    3    SO:    What bridges?

    4    CHS:     Ya akhi [Brother]

    5    SO:    He said something else is my fault, I'm like,

    6    what? Are you, you, are you a munafiq [Hypocrite]?

    7    How you gonna say that I'm like, listen man, the, the

    8    sunnah [Prophet Muhammad’s sayings and doings] is

    9    clear.    The prophet, Salla Allah ‘Alayhi wasallam [God

   10    bless him and grant him salvation] [UI] if one Muslim

   11    is taken prisoner, and becomes [UI] than all the

   12    Ummah [nation] and then the scholars explain the

   13    fatwa [the formal legal opinion] even if you are alone,

   14    you have to go.    Even if it means that you [UI] be this

   15    or this.    If one prisoner [UI], He knows this. Cause he

   16    used to speak like this and now he changed.         And the

   17    thing is that's what happens.       When Allah [God] gives

   18    you the guidance but you said when you were young

   19    you want to do what Allah gives to you, you don't want

   20    it, he'll take it and give it to someone else.         I don't

   21    wanna be that person. I cannot live

   22    CHS:     [UI] say, Ima Al-Nasr [it is either victory] [UI]

   23    Ima Al-shahadah [or martyrdom] [UI] both husnayayn

   24    [good] both good, either victory or... [UI].

   25    SO:    [UI] in Koran [the Koran] too.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 107 of 274 PageID107
                                                                              3981



    1    CHS:    [UI] Ilayah [the verse] But I don't know, I

    2    mean he changed just like that or there is something

    3    SO:    Over time.   He changed over time.

    4    CHS:    I mean, he, but he meet with you guys?        Or

    5    he's just, in his way, stopped working, is it, is he

    6    married?

    7    SO:    No.

    8    CHS:    Does he go somewhere with other people now,

    9    or?

   10    SO:    No, he knows other people, they don't know

   11    haq [truth], he said he met somebody and they told

   12    him um, uh, when they see me, I look like I'm the guy

   13    ready to. 'm like okay, Alhamdu lillah [praise be to God],

   14    that's a good thing and

   15    CHS:    His friend?

   16    SO:    Yeah.

   17    CHS:    They are not in the same [UI]?

   18    SO:    No, no.   They support it, cause they, they listen

   19    to the same Shaykh [Muslim scholar] that I listen to.

   20    But I'm saying him personally, he's

   21    CHS:    Wallahi ya akhi [By God my brother] [UI] he, he

   22    SO:    he personally

   23    CHS:    you have to think about

   24    SO:    I have to think about no one whatsoever

   25    because Allah [God] says in surat [chapter of the



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 108 of 274 PageID108
                                                                              3982



    1    Koran] [UI] and [UI] that [UI] and you go to [UI] will be

    2    munafiq [a hypocrite] in the hell fire if we don't go help

    3    the Ummah [the nation].

    4    CHS:    I don't know why just ah

    5    SO:    no, no that's the thing

    6    CHS:    tell me something that I don't know, but

    7    SO:    that, but I'm saying I studied this, one year

    8    ago he was just like this, one year ago he told me if

    9    you can, 'cause we talked about it.       He said, if you

   10    can, go to [UI] recruit, [UI] kill two or three, as long as

   11    you're doing something.      No!   I, I said, no, no, you can

   12    do more that's more beneficial, exactly. But the thing

   13    is, one year ago he, uh, was that, support something

   14    that small. You know what I mean?       But now no more

   15    because he changed here, you know why?        Allahu

   16    Akbar [God is great], he changed because, I believe

   17    that he doesn't want to hear nothing from no one.          In

   18    the masjid [the mosque] he changed, I don't wanna be

   19    that guy.   And after many people

   20    CHS:    you have to give it, you have, you have to

   21    give it time

   22    SO:    I'm not giving no time. I gave him like a year,

   23    like a year man, he's been changing since a year.

   24    CHS:    Oh, is Salah [PH] the same

   25    SO:    Salah is Salah



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 109 of 274 PageID109
                                                                              3983



    1    CHS:     No, I mean he changed towards him too?       Or

    2    they don't know each other?

    3    SO:    No, they know each other.      No Salah [PH] he

    4    doesn't know the last conversation.       Before [UI], he

    5    told Salah something, and Salah-al-Din told him [UI]

    6    shut the hell up, who cares. He's like, when you came

    7    back from Egypt. He was kidnapped in Egypt, put

    8    in a secret prison and people were getting were [UI]

    9    so when he came back, he tried to change a little by

   10    little

   11    SO:    you know what Salah-al-Din told me?

   12    SO:    You know what Salah-al-Din told me?       He said

   13    [UI] to wait for three more months till I'm gone.          I told

   14    him, tell him…to shut the hell up it's a, it's a slap in the

   15    face. Tell him to go to the Muslim prisons where

   16    they’re raping the sisters and wait for three more

   17    months.    Now we have the Koran and Sunnah

   18    [Prophet Muhammad’s sayings and doings], the thing

   19    is, one thing, if you and him don’t want to do it,

   20    personally, it, it, it can put you already in the status of

   21    a munafiq [hypocrite] but if he has nothing to do with

   22    it, it puts you in the status of Shaytan [Satan],

   23    because it’s telling you to go against what Allah [God]

   24    says that’s Koran and Sunnah [Prophet Muhammad’s

   25    sayings and doings], so I told him, are you afraid? he



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 110 of 274 PageID110
                                                                              3984



    1    said no, they're watching me more than anybody.         If

    2    you go do something right now, they'll come to my

    3    house, I'll be like Alhumdulillah [praise be to God].            He

    4    is like [UI].

    5    CHS:    So he got scared basically?      It’s not like he

    6    changed

    7    SO:    no, no, he's

    8    CHS:    because

    9    SO:    [UI].

   10    CHS:    But he didn’t [UI].

   11    SO:    Akhi [Brother], it’s been for one year, back and

   12    forth, two months ago, one month ago, two weeks

   13    ago and then I told him like, I told him, he’s like wait

   14    three months, I'm like, no, no, no you better make

   15    hijra [migration].     I’m not waiting one second.      You’ve

   16    had two years to make hijra [migration]. [IA] he's like

   17    yeah I wasn't ready, [UI] money, he wasn't ready.          I’m

   18    like you had money, you weren’t ready you put your

   19    trust in Allah [God].     He's all, like why did you come

   20    back and I said, cause I went to a specific place I

   21    didn't want just move like you want to move. I went to

   22    specific place. But the point is

   23    CHS:    like why, until this time, did not call, did he

   24    call you, the guy?

   25    SO:    Who?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 111 of 274 PageID111
                                                                              3985



    1    CHS:    The one I gave you the [UI]

    2    SO:    I didn’t because [UI] three days they follow me.

    3    SO:    [UI] I bought a phone [UI] I took the battery out.

    4    I never used it.

    5    SO:    I’m just waiting now [UI] one day [UI] I ripped it,

    6    I flushed it.

    7    SO:    No, you still have it? I’ll memorize it.

    8    CHS:    Here’s the deal, nobody knows the guy [UI]

    9    CHS:    I prefer if you meet him somewhere else, I

   10    don’t want to get involved [UI].       If you want to see him,

   11    you can see how you feel about him.

   12    SO:    No, I don't care.     I already, I made dua’

   13    [prayer], if I go to jail, [UI] the judge, if they don't if

   14    they don’t handcuff me, and they put me in trial, I'll

   15    jump with my head Bismallah [in the name of God]

   16    to the judge [UI]. I don’t care, Insha’ Allah [God willing].

   17    SO:    [UI] look, for one whole month my iman [faith]

   18    has been so much better like almost like when I

   19    practiced din [religion] in the beginning and every time

   20    I debate with people like ‘Abdallah, iman [faith] goes

   21    up and down, no, no that’s why I make [UI] on him,

   22    nothing personal it's din [religion]-wise.

   23    CHS:    Akhi [Brother]

   24    SO:    I wanna build up my iman [faith].

   25    CHS:    Well, do you have the number?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 112 of 274 PageID112
                                                                              3986



    1    SO:    No [UI]

    2    CHS:    So you threw it away?

    3    SO:    There's nothing, there's nothing wrong with

    4    talking in a car.     He’s not, he’s not, the guy there’s

    5    not, anybody after him.

    6    CHS:    yeah, but I, the only reason what I said

    7    because when did you meet him, on Wednesday after

    8    the doctor appointment.

    9    SO:    No I did not, when did he give you the money

   10    CHS:    the last time I met him, the one day before

   11    we went to Sligh.     And the second day I called him,

   12    and I told him uh, somebody gonna call and the code

   13    is Abu Yusif.    The brother told me you need some

   14    flags [UI]

   15    SO:    [UI] ‘Abdallah, Ibn Abu.

   16    CHS:    [UI] Ibn Abu?

   17    SO:    [UI]

   18    CHS:    Anyway, uh, but you said, you gonna tell me,

   19    so I can get out of the way [UI]

   20    SO:    That’s my intention but if they, if they [IA]

   21    listen, listen, listen.      I read that some scholars said [IA]

   22    CHS:    Oh!   [UI]

   23    SO:    yeah, yeah.    [UI]

   24    CHS:    Insha’ Allah [God willing] [UI]

   25    SO:    [UI]



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 113 of 274 PageID113
                                                                              3987



    1    CHS:    But anyway, I mean.     We believe that, I don't

    2    know, I don't know what to tell you man.

    3    SO:    Time is running by and we're getting old

    4    SO:    we're getting old and iman [faith] is up and

    5    down and

    6    CHS:    That's why I wanted to, think seriously, you can

    7    make hijra [migration] and live comfortable and [UI]

    8    what you believe is right, somewhere else that freely

    9    and openly, let's do it be it.

   10    SO:    I thought you going tomorrow, I was gonna tell

   11    you, are you leaving tonight?

   12    CHS:    Uh, the first thing I thought emotionally my

   13    mom, you know mom.

   14    SO:    Yeah, I know.

   15    CHS:    It's, it's, it's especially when she's a good

   16    woman, she raised us right, Alhamdulillah [praise be

   17    to God], we are the only four brothers in [UI] in the

   18    family. They are…like this.

   19               (Tape concluded.)

   20               THE COURT:    That concludes the presentation of the

   21    excerpts for the morning.      We'll break for lunch now and plan

   22    to come back at about 1:35, and I believe there will be some

   23    more transcripts; is that right, Ms. Sweeney?

   24               MS. SWEENEY:    Yes, Your Honor.

   25               THE COURT:    All right.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 114 of 274 PageID114
                                                                              3988



    1                We'll see you back at 1:35.      Thank you for your

    2    attention.

    3                (Jury excused.)

    4                Anything the Court needs to address the parties to

    5    before we break for lunch?

    6                MS. SWEENEY:   Not from the Government.

    7                MR. GEORGE TRAGOS:    No.

    8                THE COURT:   All right.

    9                We'll see you back here at 1:35.

   10                (Thereupon, a luncheon recess was taken.)

   11                Are there any preliminary issues to address before we

   12    proceed?

   13                MR. GEORGE TRAGOS:    Yes, Your Honor.     I am preparing

   14    a stipulation with regard to the payments received by the

   15    confidential human source for his work in this case.          The

   16    Government has provided me with all the necessary documentation

   17    and there's no issue with the authentication of just payments.

   18                The Government is objecting saying that it is not

   19    relevant or admissible to put in the payments that the CHS

   20    received.    So I'd like to take that matter up with the Court

   21    because if the Court believes that it is admissible, then it

   22    will probably go in by stipulation maybe at the end of the

   23    transcripts.

   24                THE COURT:   Why does it need to be taken up now?

   25                MR. GEORGE TRAGOS:    Well, because when the



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 115 of 274 PageID115
                                                                              3989



    1    transcripts are over is when I'd like to put the stipulation

    2    in, or I mean, I could wait till tomorrow on this.          Would the

    3    Court rather take this up later?

    4               THE COURT:    What is the Government's objections?

    5               MS. SWEENEY:    Well, Your Honor, it's twofold.        The

    6    first is Mr. Tragos had the opportunity to depose this witness.

    7    The Government went through a lot to find this witness and to

    8    make this witness available for Mr. Tragos to depose.          And if

    9    he wanted to ask that witness to establish that that witness

   10    had been paid money, he certainly could have gone forward with

   11    that deposition.

   12               It seems unfair to allow Mr. Tragos to get in

   13    everything he wants to about the CHS and about the CHS's

   14    relationship with the Government, and then the Government has

   15    no ability to respond in any way.

   16               THE COURT:    Well, I'm understanding that the facts

   17    that he would elicit would be facts the Government doesn't

   18    dispute.   So what --

   19               MS. SWEENEY:    I don't dispute the facts, Your Honor,

   20    but I don't -- I also don't think that -- those facts could

   21    have come out through the witness being questioned and the fact

   22    --

   23               THE COURT:    Well -- I'm sorry -- the objection was

   24    it's not fair.    But if the response is we are only introducing

   25    that evidence the Government does not dispute, how is that



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 116 of 274 PageID116
                                                                              3990



    1    unfair?

    2               MS. SWEENEY:    Because, Your Honor, Mr. Tragos is

    3    seeking to impeach a witness who's not testifying and who's not

    4    testifying essentially at his choice because he did not wish to

    5    depose that witness.     To then allow him to impeach and tarnish

    6    the witness, without the Government having the ability to

    7    rehabilitate the witness, if the witness were actually here or

    8    any of the kinds of remedies that would traditionally be able

    9    to --

   10               THE COURT:    So is it unfair or irrelevant; which is

   11    it?

   12               MS. SWEENEY:    It's both.    So the second -- it a

   13    twofold objection, Your Honor.       The second is it's irrelevant,

   14    and it goes back to the 806 objection that we've been

   15    discussing.

   16               THE COURT:    What is it relevant to, Mr. Tragos, other

   17    than impeachment?

   18               MR. GEORGE TRAGOS:     Your Honor, it is relevant to

   19    impeachment and motive.      It's already come out that the

   20    confidential informant has been paid.        This is not a situation

   21    where I would even need to ask the confidential informant, have

   22    you been paid.    This is Government documentation that the

   23    confidential informant was paid X dollars by the FBI.

   24               The FBI would testify, I mean, if we get to that, but

   25    I don't think we need to because they're not questioning the



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 117 of 274 PageID117
                                                                              3991



    1    authentication of the payment records.        The FBI's payment

    2    records show that this informant for the course of this

    3    investigation received this money.

    4               THE COURT:    Do you agree that it is improper to

    5    impeach this witness because he's not testifying nor is the

    6    Government offering his statements on these tapes for the truth

    7    of the matter asserted?

    8               MR. GEORGE TRAGOS:     Well, Your Honor, first of all,

    9    as we stated, that's an open question still.

   10               THE COURT:    And so you would agree, though, if the

   11    Court determines that these statements of the confidential

   12    human source are not offered for the truth of the matter

   13    asserted, it would be improper to offer his payments as

   14    impeachment?

   15               MR. GEORGE TRAGOS:     No, I can't say I would agree to

   16    that.   I mean, I know what the Court is asking, but this

   17    person -- the Government at the beginning of this trial in its

   18    opening statement and through the course of this trial has

   19    alleged that this individual, this CHS, is an agent of the

   20    Government.    And as an agent of the Government, his motives for

   21    what he did is relevant and his motive here is money.

   22               And I would not -- and if he got paid money to do

   23    what they're -- whether it's for the truth or not, he was paid

   24    money to do what he's doing on those tapes.         And if he was paid

   25    money to do what he's doing on those tapes, then it is relevant



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 118 of 274 PageID118
                                                                              3992



    1    that he got paid money to do what he was doing on those tapes.

    2    Whether he was telling the truth or not on the tapes doesn't

    3    really matter, he was being paid to do what he was doing on

    4    those tapes.

    5               THE COURT:    Any other relevance besides impeachment?

    6               MR. GEORGE TRAGOS:     Well, this Court is alleging that

    7    motive is also impeachment, but his motive for testifying is

    8    motive for doing what he was doing which is also relevant.

    9               THE COURT:    And those cases that say that the motive

   10    of the Government is irrelevant to an entrapment defense; what

   11    do you do with those cases?

   12               MR. GEORGE TRAGOS:     Those cases go to the motive for

   13    entrapment.    I'm going to the motive for him doing the work for

   14    the Government.    He got -- just as an example, a psychiatrist,

   15    we have experts that are going to testify, and it's certainly

   16    going to be relevant what they were paid.

   17               THE COURT:    That's because it's impeachment,

   18    Mr. Tragos.

   19               MR. GEORGE TRAGOS:     I understand that, but it goes to

   20    their motive, not for their motive for entrapment, but for

   21    their motive to do what they did, just like this confidential

   22    human source had a motive to do what he did.

   23               THE COURT:    Mr. Tragos, that's impeachment.       And if a

   24    Government employee, as an expert or whatever, testifies in a

   25    case and offers statements of truth, you want to show bias in



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 119 of 274 PageID119
                                                                              3993



    1    order to impeach their testimony, you can offer their payment,

    2    the amount they've been paid in order to establish their bias.

    3               There is case law that says that the Government's

    4    motive is not relevant to entrapment, only the Defendant's

    5    predisposition, predilection or acceptance of whatever was the

    6    incentive is central to that analysis.

    7               And so I think to the extent that you're analogizing

    8    it to the introduction of payment by experts, it's impeachment

    9    and likely improper.     And if it is the fact, and you're right,

   10    it is still outstanding that this witness' or this person's

   11    out-of-Court statements are not offered for the truth of the

   12    matter asserted, then I don't believe impeachment is proper

   13    under the law.

   14               And so motive and impeachment would not be available

   15    unless the Court found that his statements were being offered

   16    for the truth of the matter asserted.        So do you have any other

   17    basis for the introduction of these statements?

   18               MR. GEORGE TRAGOS:     No, Your Honor.

   19               THE COURT:    How much money was the informant paid?

   20               MR. GEORGE TRAGOS:     $24,000 plus.

   21               THE COURT:    And this is $24,000 beyond what was paid

   22    by the confidential human source allegedly to the Defendant

   23    that the Defendant then paid to the UCE for the weapons?

   24               MR. GEORGE TRAGOS:     I'm sorry, the records are not

   25    broken down that way, but I believe that the UCE -- excuse



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 120 of 274 PageID120
                                                                              3994



    1    me -- I believe that the confidential human source paid the

    2    Defendant to pay the UCE $500.       So it would be included

    3    somewhere within the $24,000 and change, I believe.

    4               MS. SWEENEY:    I think that is correct, Your Honor.

    5    The other thing I would say is the 24,000 is comprised of

    6    expenses and payment for services.       So the full 24,000 is not a

    7    payment to the CHS.     Some of it was used for things like rental

    8    cars and cellular telephones.       The actual expenses were never

    9    actually given to the confidential informant in that way,

   10    but --

   11               THE COURT:    All right.

   12               We'll continue with the playing of the audio and the

   13    Court will address the motion to introduce the stipulation.

   14               MS. SWEENEY:    Your Honor, I'm sorry, I have one more

   15    thing to say.    I have a mea culpa.     I realized after Court was

   16    over that I had not turned these speakers on which is why the

   17    sound was so low this morning.       I am very sorry, Your Honor,

   18    and so the sound should be significantly better now.          Again,

   19    I'm sorry, it was a complete oversight.

   20               THE COURT:    All right.

   21               Anything else?

   22               MS. SWEENEY:    No, thank you, Your Honor.

   23               THE COURT:    Please recall the jury.      How much longer

   24    do we have on tapes?

   25               MS. SWEENEY:    Approximately an hour and a half.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 121 of 274 PageID121
                                                                              3995



    1               THE COURT:    All right.

    2               (Jury returned to the courtroom.)

    3               Welcome back, ladies and gentlemen.

    4               We will resume the playing of the audio and we have

    5    been able to adjust the sound.

    6               Counsel.

    7               MS. SWEENEY:    Thank you, Your Honor.

    8               The next exhibit is Government's Exhibit 105.2-A is

    9    the recording, B is the transcript.       This is a recording

   10    between the Defendant and the CHS on December 18th of 2011.

   11    And we will play this whole clip.

   12               (Tape played.)

   13    What's the problem?

   14    SO:    [UI].

   15    CHS:    Did you make them infidels too?

   16    SO:    [Laughs]

   17    CHS:    Did you tell them you are infidel?

   18    SO:    [UI] he is.

   19    CHS:    Did you, --

   20    SO:    -- [UI] --

   21    CHS:    -- we need, we need, we need to cool it down.

   22    You can't have everybody as enemy. Brother, see this

   23    little boy he's ignorant, he lives this life his father did

   24    not teach him, he, nobody talked to him, all he knows

   25    is our behavior is good. --



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 122 of 274 PageID122
                                                                              3996



    1    SO:    -- listen --

    2    CHS:    -- listen, you listen, you listen --

    3    SO:    -- I'm not gonna' listen to this --

    4    CHS:    -- let's be. You're not gonna' listen to me --

    5    SO:    -- I'm not gonna hear it because what you're

    6    saying is falsehood. If, if a guy says that how do you

    7    know the Koran is true, that makes him infidel --

    8    CHS:    -- he doesn't know, he doesn't know better. He

    9    doesn't know --

   10    SO:    -- listen --

   11    CHS:    -- he's ignorant [UI] then he become a new one

   12    it's good but don't make it like yeah --

   13    SO:    -- listen --

   14    CHS:    -- I don't know what you did tell Nadir but we

   15    don't want to make this ah, we are, we are in

   16    business.

   17    SO:    Let me tell you this, what you [UI]?

   18    CHS:    He never ask and I [UI].

   19    SO:    It doesn't matter, so you think I'm gonna listen

   20    to you or anybody, listen I do my job I have an oath

   21    with Allah, not to you, not nobody if he says sin

   22    toward God. I told you this is sin toward God do you

   23    believe that, he's like I don't know, I'm like you're an

   24    infidel. If you don't know the Koran's from Allah, you're

   25    an infidel. I don't care if you're my father, my mother,



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 123 of 274 PageID123
                                                                              3997



    1    my brother, my wife, I divorce her. If someone doesn't

    2    know the Koran's from Allah and is the truth, you're an

    3    infidel. If somebody doesn't know that Jews and

    4    Christians are infidels and go to hell you're an infidel

    5    So both of them are infidels. Simple. [UI] said

    6    whoever hesitates, By God one thing I think [UI] he

    7    said whoever hesitates to call the infidel, infidel he

    8    become the infidel. Okay, you don't have to teach me

    9    the deen [religion]. I didn't come to Islam from you,

   10    them, or nobody. I came to Islam because Allah

   11    guided me and I read books, and I read from the [UI]

   12    and I read from 'Umar Ibn al-wahhab I read from

   13    'Umar Ibn Tamiyah and all those scholars they are

   14    from Koran [UI]they are all scholars of Jihad and they

   15    teach the Koran [UI]. so I'm not gonna' listen to you or

   16    no body, my, my ideology. I have the right ideology.

   17    I'm not going to listen to you. Not because I don't

   18    respect you, but, I'm not gonna' listen to falsehood. If

   19    you have something good to say, I'll listen. If you say

   20    to me how do you know the Koran's the truth, you're

   21    an infidel. And if I had a daughter married to you I'd

   22    divorce her

   23    because that what [UI]. Simple, just admit it.

   24    CHS:    Admit what?    [UI] When you talk to people to

   25    be very humble, very --



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 124 of 274 PageID124
                                                                              3998



    1    SO:    -- I was --

    2    CHS:    -- no, you were very aggressive, brother I'm

    3    against the way that you talk to the people.

    4    SO:    Listen, I talked to [UI].

    5                 (Tape concluded.)

    6                 THE COURT:   You can turn it down a little bit more

    7    than that, it's too high, it's messing the mics up.

    8                 MS. SWEENEY:   Next is Government's Exhibit 106.2. A

    9    is the recording, B is the transcript.        This is a recording of

   10    a meeting between the Defendant on December 19th, the Defendant

   11    and the CHS on December 19th, 2011.       We will begin on page two

   12    of the transcript and go through page seven, initially.

   13                 (Tape played.)

   14    CHS:    Yasir, that's fine, that's fine okay, alright...

   15    thank you bye. [UI]

   16    SO:    Huh

   17    CHS:    He's smart, he's smart, take it off, [UI] but ah at

   18    the same time ahum, I don't want to get involved.

   19    SO:    Oh no don’t talk [UI]

   20    CHS:    That’s your’s, you done, you done? [UI]

   21    SO:    [UI]

   22    CHS:    Are you sure they can monitor here.

   23    SO:    Yeah, [UI]

   24    CHS:    Inside, inside, this it? You got the wrong boy

   25    [UI] peach. [UI] This guy’s never been in trouble. Did



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 125 of 274 PageID125
                                                                              3999



    1    you see the guy that was in my office.

    2    SO:    Yeah.

    3    CHS:    [UI], but that guy [UI] in the office he was in ah

    4    Virgin Island, they took him to

    5    UM:    Hey ah [UI]

    6    CHS:    We're coming to the storage to pick up stuff

    7    and leave, it's ah

    8    UM:    Any interest?

    9    CHS:    I doubt it. Thank you. [UI] No, no, no he was

   10    going around selling

   11    SO:    [UI]

   12    CHS:    Huh

   13    SO:    [UI]

   14    CHS:    Nah, nah, I don't think so.

   15    SO:    Sometimes they fly high so they can see. Then

   16    they come low and we ditch them. When they don’t

   17    know where you are they come in the plane. To spot

   18    you and target you.

   19    CHS:    Why would [UI]

   20    SO:    [UI] the point is he cannot contact you and

   21    make that appointment. On the phone. [UI] diplomacy

   22    cannot constitute a [UI]

   23    CHS:    How will he do it?

   24    SO:    [UI] he gotta come as a customer, he says he’s

   25    gonna come and he’s gonna let you know I told him



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 126 of 274 PageID126
                                                                              4000



    1    do it a day ahead cause he said when I have some

    2    time, we make the appointments [UI].

    3    CHS:    Look, my brother-in-law knows him very well,

    4    and I already talked to him and we gotta go to Jersey

    5    we gotta meet there and finalize we have [UI]... ahum

    6    if he call me it’s normal, he's gonna tell me hey, you

    7    know it's [UI], I'm not worried about it, but anyway

    8    what you gonna do over there, we're gonna go see

    9    him that's all. Even if.... Let's, what's the worst

   10    scenario? They bust us

   11    SO:    for walking around.

   12    CHS:    That's it.

   13    SO:    But the point is that's not the point. I don’t know

   14    if I’ll have a chance to slip out.

   15    CHS:    No, inshallah [God's willing]...no, no...I'm not

   16    gonna [UI]

   17    SO:    [UI] sisters and stuff.

   18    CHS:    So you’re thinking. You're thinking serious now.

   19    SO:    I'm nervous about, that place is too small I'm

   20    not, I'm changing my plan, [UI] even if it's in a gay

   21    night club, better a gay night club 3 or 4 hundred

   22    people go in there, I don’t care anymore. The thing is

   23    CHS:    [UI]

   24    SO:    [UI], the thing is

   25    CHS:    They always have



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 127 of 274 PageID127
                                                                              4001



    1    SO:     [UI]... backup [UI]

    2    CHS:     [UI]... anyway

    3    SO:     [UI]

    4    CHS:     We’ll see.

    5    CHS:     That's fine.    I don't wanna uh say something

    6    [UI] you have a plan? The ah, are you gonna stay in

    7    Tampa? You told him you were staying in Tampa

    8    here.

    9    SO:     No, I told him I'm be in Tampa for a while [UI]

   10    cause live in St. Pete

   11    CHS:     Okay, now, are you planning to go to ‘Ishaa

   12    [evening prayer] everyday?

   13    SO:     Yes I have to.

   14    CHS:     Then I need to give him a good description so

   15    if he goes on Thursday...

   16    SO:     Also, also maybe [UI] gas money for the [UI]

   17    CHS:     So you got it?    [UI]

   18    SO:     Gas and [UI]

   19    CHS:     When you need it? No, no my name is...       [UI]

   20    SO:     Huh

   21    CHS:     You gonna do something bad?

   22    SO:     [UI]

   23    CHS:     No that's between you and him, when you

   24    meet him see his [UI] because he might not do these

   25    things.



                 CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 128 of 274 PageID128
                                                                              4002



    1    SO:    If he ask you what it's for, I'm like [UI]

    2    CHS:    Well that's fine, that's fine you can answer that,

    3    but ah I need you to be, I need you to be friendly with

    4    him

    5    SO:    No, no I'll be [UI]

    6    CHS:    See what is his capability, if he tell you what

    7    you need [UI]

    8    [UI conversation]

    9    CHS:    No, no, no, no, it’s dry clean [UI] no, no.

   10    SO:    Anyhow, I make a du’aa [a prayer]... only du’aa

   11    can change the destiny, if Allah

   12    CHS:    No the point is inshallah God's

   13    willing...inshallah [God's willing], things will go

   14    alright... but the point is

   15    SO:    [Praying] Alhamdullilah [praise the Lord] Cause

   16    it’s gonna be, it’s gonna be, a second 9/11 [UI]

   17    [UI] Inshallah.

   18    CHS:    Ahum

   19    SO:    It’s gonna be bad Inshallah when I

   20    CHS:    Let me put it this way, you meet with him, let’s

   21    say Thursday. I’m gonna arrange it in my way or, he's

   22    gonna call, I mean he's gonna call me which is normal

   23    he calls [UI] if he calls I'll will tell him that I have a

   24    funeral on Thursday on Sligh Okay...he will understand.

   25    SO:    Isha, Isha [evening prayer.]



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 129 of 274 PageID129
                                                                              4003



    1    CHS:    I told him my mother died, Isha, [the night

    2    prayer,] is the night prayer at.... seven?

    3    SO:    The night prayer I believe is at seven til eight

    4    CHS:    He can't be look this is a businessman, he's

    5    not gonna do anything stupid, he not this stupid to go

    6    and do something stupid, he, all he has to see is talk

    7    to you so if there is any problem facing you tell him I

    8    don't trust the phone, I don’t trust,

    9    SO:    No I'll tell him exactly what I told him,

   10    I told him

   11    CHS:    You tell him whatever you want, but at the

   12    same time don’t scare

   13    SO:    I’ll just be like, listen brother, you know I'm on

   14    the watch list and they watch me every month or so,

   15    that month [UI]... be like so when I came, they were

   16    following me and I had to call it off.

   17    CHS:    That's fine, that's fine

   18    SO:    He's be like and that’s why I don’t like to use

   19    phones.

   20    CHS:    Tell him I don't want to be in trouble, I don't you

   21    to be in trouble.

   22    SO:    No, I'll be I don't want you to be in trouble

   23    CHS:    And I'm leaving, tell him I'm leaving the country

   24    I don't want you to be in trouble, so fine and you do

   25    what you [UI] and this is what I want



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 130 of 274 PageID130
                                                                              4004



    1    SO:    No that's exactly what I wanna tell him be like

    2    listen I [UI]... be like listen brother I [UI]         I didn’t want

    3    to jeopardize you guys. I be like, as for Abu Yusef, I

    4    be like, that when I left the masjid [the mosque.] they

    5    followed him, he didn’t even notice, I be like that’s

    6    why I don’t want to do it [UI].

    7    CHS:     Well I told him last time it was tragic, you

    8    cannot trust anyway, so Wednesday, Thursday,

    9    Friday, when do you want to, we can go every day

   10    and we'll see so they will

   11    SO:    We'll go every day.

   12    CHS:     And remember, if he rejected the masjid [the

   13    mosque] inside, because he knows there is a

   14    camera...    but if you wanna call, call me, masjid is

   15    more, the worst place to talk, go in the parking lot. Do

   16    anywhere else

   17    SO:    If they following me and I’m in the parking lot

   18    they gonna follow me, I don’t want this chance to

   19    blown.

   20    CHS:     I see

   21    SO:    That's why I never talk to you in the parking lot

   22    CHS:     So you are going to basically sit in the mosque

   23    after salat [the prayer] in the corner.

   24    SO:    In the corner where there's no cameras

   25    CHS:     In the corner and you have Quran and will start



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 131 of 274 PageID131
                                                                              4005



    1    talking

    2    SO:    [UI]... look at what Allah says, here we'll be

    3    paid, I'll bring my [Quran] translation, I’ ll be like let’s

    4    read tafssir [Explanation] look what Ibn Kathir that

    5    Allah said

    6    CHS:    You cannot...You cannot leave without making

    7    next arrangement

    8    SO:    Yeah I know, I know, I know that's exactly why

    9    CHS:    And if you want to be trained, just tell him

   10    frankly, look I need to use these and know what to do,

   11    you can just show me how to [UI]. I may get you my

   12    brother or [UI]

   13    SO:    I don’t have any. Salahdeen they watch.

   14    CHS:    [UI]

   15    SO:    They watching him. If he goes they follow. If I

   16    move they follow me.

   17    CHS:    [UI], if he wants to accompany [UI]

   18    SO:    No I'm not telling him nothing [UI]cause he

   19    already change his mind pretty much cause he had a

   20    dream, you know what the dream was? It didn’t go off

   21    [UI]... come with me or stay behind that's exactly what

   22    I was thinking.

   23    CHS:    Lahawla wala quwata ila bi Allah. [I can't

   24    believe this!].

   25    SO:    He said that's exactly what I was thinking.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 132 of 274 PageID132
                                                                              4006



    1    CHS:     Akhi [my brother]... Let him come and visit me,

    2    I'll see his... I don't think [UI] I don't I know that it has

    3    been six years now, I don't think... if he wants to

    4    handle that thing you can arrange it and let him

    5    meet… That’s fine.

    6                (Tape stopped.)

    7                MS. SWEENEY:   The next portion is on page eight to

    8    page nine of the transcript.

    9                THE COURT:   What portion?    This is 106.2?

   10                MS. SWEENEY:   Yes, Your Honor.

   11                THE COURT:   A or B?

   12                MS. SWEENEY:   The transcript is B and the recording

   13    is A.

   14                (Tape continued.)

   15    SO:     No not that way. I don’t trust

   16    CHS:     He might change

   17    SO:     No, I don't he doesn't know how to control his

   18    talking, he gets heated.

   19    CHS:     Akhi [my brother,] the moment, the moment

   20    that you have an agreement with this guy, you're not

   21    gonna St. Pete no more.      You'll find a place and you

   22    don't have to go nowhere.      [UI]   he can't afford to help

   23    you much right now, are you gonna [UI]

   24    SO:     I know

   25    CHS:     Lets [UI]



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 133 of 274 PageID133
                                                                              4007



    1    SO:    [UI] I have to watch my car at home. [UI]

    2    CHS:    I have a car [UI]

    3    SO:    If he teaches me how I’ll go to the dealership

    4    CHS:    Brother, this guy is

    5    SO:    Because, listen, this is one way ticket

    6    CHS:    Inshallah [UI]

    7    SO:    Inshallah no, no, no, no

    8    CHS:    You, you're gonna be alright.

    9    SO:    No I won’t.

   10    CHS:    You are going to be alright. I can't, I can't be

   11    imagine [UI], every morning when I go to the highway

   12    I pick up the phone to call, it's gonna take a while to

   13    locate.

   14    SO:    Brother

   15    CHS:    You're gonna be alright.

   16    SO:    I know [UI], but still,

   17    CHS:    Don't make me cry.

   18    SO:    No, no, no, no, no you shouldn’t cry because

   19    we all want that, that's the only reason you should cry.

   20    CHS:    Oh God!

   21    SO:    But as for me brother, [UI]... brother [UI]... he

   22    wounded our women and children, in the night clubs, I

   23    slaughter their women and be like [UI], all my sisters

   24    you raping them [UI]

   25    CHS:    Brother, let see what else we need to take



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 134 of 274 PageID134
                                                                              4008



    1    SO:    You said you knew Sheikh 'Abd-al-Rahman?

    2    CHS:    What?

    3    SO:    He wrote a letter you know that?

    4    CHS:    I honestly, I don’t

    5    SO:    You know what it said, he says: where are

    6    you? Don’t you know this obligation for you to

    7    complete this whole nation of Islam? like every time

    8    they somebody visits me and make me bend over and

    9    put their hand in my privates and make me cough

   10    they know I'm blind because I have nothing... that you

   11    will be answered, questioned by Allah, and you know

   12    what Affia Siddiqui said? You know what she said

   13    man? She said you guys are Arabs, Pakistani,

   14    American, Indians... she said but you’re not Muslims,

   15    and my brothers, my brothers are the prophet peace

   16    be upon him and the prophet followers may God be

   17    pleased with them. And she's right, if I don't do

   18    nothing, I'm not a Muslim, I'm not her brother, but

   19    that's just two people, you can go down the list, I'm a

   20    demand, I'm a demand God's willing, I'll be, if I can

   21    get a camera small one with me be like, this gonna

   22    happen every 30 minutes [UI] cause when I have this

   23    I know why they don't dare to come close.        This

   24    gonna happen every 30 minutes [UI] clack release

   25    my sisters and my brother from Guantanamo, every



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 135 of 274 PageID135
                                                                              4009



    1    US Prison, every European prison, from Belmauchin

    2    (PH), in London, it’s like the Guantanamo of here, of

    3    England and everywhere and sold to the Islamic [UI]

    4               (Tape concluded.)

    5               MS. SWEENEY:    That's the end of those portions from

    6    that meeting.

    7               Next is Government Exhibit 107.1-A and B.         A is the

    8    recording, B is the transcript.       It is from a meeting between

    9    the Defendant and the confidential source on December 19th,

   10    2011.   And we will be playing the whole piece.

   11               (Tape played.)

   12    SO:     He don't care.

   13    CHS:    Well, we can use this guy.      Then, he's a

   14    genius.

   15    SO:     Just the only thing is...     I told him, let's not

   16    talk too much.

   17    CHS:    Just don't hurry.     Please, I have [IA].

   18    CHS:    [IA] drop me here.     Drop me here, brother.      By

   19    God, [IA] you can make [IA].

   20    SO:     [IA] understand [IA].

   21    CHS:    Oh!     [IA].

   22    CHS:    [UI].    Brother, don't make me scared, okay?       I, I

   23    wanna have a nice ride with you.

   24    SO:     [UI].

   25    CHS:    'I testify that there is no god but God,' and you



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 136 of 274 PageID136
                                                                              4010



    1    gonna die?

    2    SO:    Yes.

    3    CHS:     [Laughs].   You gonna kill me with you?

    4    CHS:     No, serious.   Drive-drive carefully and let's

    5    have fun.

    6    SO:    By God, [IA].

    7    CHS:     Oh, God, we ask You for doing good deeds

    8    and avoiding what is prohibited in this journey of ours

    9    and we ask You for deeds, which please You.

   10    SO:    In Arabic?

   11    CHS:     O God, facilitate our journey and let us cover

   12    its distance quickly.     O God, You are the Companion

   13    on the journey--

   14    SO:    [UI] here. [UI].

   15    CHS:     Yeah, just watch your stick. Umm, [groaning],

   16    O God!

   17    SO:    Brother, the [UI]--

   18    CHS:     [SC].   My son, Zayd, um, remember you.

   19    SO:    Yeah?

   20    CHS:     He came one day, he said, 'I remember this

   21    guy.   He came one day with Ahmed Bedier and he

   22    told him that he was preaching Ahmed and he comes

   23    with a brother and he said,      [UI].

   24    SO:    I had no idea.

   25    CHS:     Oh...



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 137 of 274 PageID137
                                                                              4011



    1    SO:    I was with him.    The [UI]--

    2    CHS:    Yeah, he said, 'I remembered both of them,'

    3    and then they, uh, [UI] called the police for you, for

    4    both of you.     He said, 'I remember him.'     He's--

    5    SO:    Yeah--

    6    CHS:   . he's, he's with him.     I told my wife, he can

    7    knock somebody down and he won't, he won't leave

    8    him till he's out.

    9    SO:    I'm not about fighting no more.       [UI] he used to

   10    fight everybody.     Right, right now, it's not even good

   11    for him.

   12    CHS:    Where?

   13    SO:    [UI].    You know what he says, right?

   14    CHS:    Yes.

   15    SO:    Are you too hot?

   16    CHS:    No, no, I'm fine, but my ear.       That's fine.

   17    SO:    If you want, you can drive.      It's not so bad.

   18    CHS:    Huh?

   19    SO:    Do you wanna drive this car?

   20    CHS:    No, I can't drive.

   21    SO:    You know my parents bought, praise be to

   22    God, with God's blessing, at one time they wanted to

   23    buy me a Benz.

   24    CHS:    A what?

   25    SO:    When the business was going better, they said



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 138 of 274 PageID138
                                                                              4012



    1    we gonna buy you a Benz.

    2    CHS:     Oh, Benz!

    3    SO:     I don't need no Benz.    [UI] two years [UI].      I'm

    4    going to [UI]--

    5    CHS:     So, then, you prepared your family already?

    6    SO:     No.

    7    CHS:     I wonder, brother, if you [UI].

    8    SO:     [UI] this, the [UI] I want you to hear.

    9    CHS:     One of the [UI] there is no way anybody would

   10    [UI]. Imagine the... imagine the noise.        I can't even

   11    hear.    The extra caution is good, but not that much.

   12    SO:     Oh, trust me, brother, I've seen many things.

   13    [UI] months.     [UI] two, three days.

   14    CHS:     They got busy with the police and ah...in

   15    Lakeland.

   16    SO:     Oh, something happened.

   17    CHS:     Yeah?

   18    SO:     Where?

   19    CHS:     Lakeland.

   20    SO:     No, I'm talking about something happened four

   21    days ago and [UI].

   22    CHS:     Lakeland, Lakeland, Lakeland.

   23    SO:     No, [UI].

   24    CHS:     Not in California, no, no, no, in Lakeland.

   25    SO:     Oh, yeah, I know [UI].



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 139 of 274 PageID139
                                                                              4013



    1    CHS:     Somebody killed the police.     That's why they

    2    got busy.    But, hopefully they understand.       I'm a good

    3    guy.

    4    SO:     I know, you're a good guy, otherwise I won't..

    5    CHS:     I know, what I'm saying is--

    6    SO:     I just want a job--

    7    CHS:    ... there is no way that I would let somebody

    8    work for me and he has a problem.       It's not gonna

    9    happen and they know I'm being watched. Make a

   10    left.    Make a left!

   11    SO:     But, you sai--

   12    CHS:     Left.   I said left.

   13    SO:     But you said make a left.

   14    CHS:     I said...

   15    SO:     You moved your head to the right.

   16    CHS:     So, if I tell you go, go that way?

   17    SO:     It doesn't matter.    What you see, do you know,

   18    that's why I say, actions speak louder than words.

   19    CHS:     Yeah.

   20    SO:     Because we can, we can preach all day.       It

   21    means nothing until, that's why. You said make a left,

   22    I'm like--

   23    CHS:     Uh, my brain--

   24    Afghanistan [UI] I’ll be like, I'll give you three days to

   25    do all that if not this gonna happen I be like, every



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 140 of 274 PageID140
                                                                              4014



    1    hour until I hear that you agree, every 30 minutes I'll

    2    take, I’ll film it [UI] and I smile God's willing, and I

    3    smile... that's where you're at, yesterday you're at, I

    4    shouldn't talk to these people, if you wanna go to hell

    5    fire, go you’ve never read the Quran but you wanna

    6    tell me, like the guy I know Arabic, that's when...

    7    CHS:     Oh God, you wanna [UI]? Yeah

    8    Hold on, hold on, hold on, hold on... you can

    9    put em in here.

   10               (Tape concluded.)

   11               MS. SWEENEY:    The next is Government's Exhibit

   12    107.2-A and B.    This is another portion of the same meeting

   13    that we just listened to between the Defendant and the CHS on

   14    December 19th, 2011, Your Honor.       And we will play the whole

   15    thing.

   16               (Tape played.)

   17    SO:    [IA] one moment, [UI] took the radio off.          [IA],

   18    let me get that.

   19    CHS:     [IA] I don't need this.     O my God, O [IA].

   20    SO:    A car like mine...

   21    CHS:     Praise be to God.

   22    SO:    Is not going [IA].

   23    CHS:     [groaning].

   24    SO:    When you're driving this, you're like, ah, hey,

   25    you better give [UI] what I need.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 141 of 274 PageID141
                                                                              4015



    1    CHS:     Come here!

    2    SO:    [IA].     I need money to [UI].

    3    CHS:     You need what?

    4    SO:    Money.

    5    [UF voice is far and inaudible].

    6                (Tape concluded.)

    7                MS. SWEENEY:    Next is Government's Exhibit 110.4-A

    8    and B.    This is a clip from a meeting between the Defendant and

    9    the CHS on December 21st, 2011.       We're going to play the whole

   10    thing.

   11                (Tape played )

   12    CHS:     Seventy-eight, I need 78.     I went the other side...

   13    SO:    That was him, huh?

   14    CHS:     Who?

   15    SO:    From another number?

   16    CHS:     Who?

   17    SO:    Emir? [Prince?]

   18    CHS:     No!

   19    SO:    Oh, I thought it was him.

   20    CHS:     No, no, no, no!    He's not that type of person like us

   21    panicking.      He's [UI], he knows what he's doing, but, uh, this

   22    is a, a guy, a Marakish [Moroccan] guy.        He came to clean the

   23    floor. We waxed the floor every month, okay?

   24    SO:    Yeah.

   25    CHS:     This American guy, he's very good and I’m happy with



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 142 of 274 PageID142
                                                                              4016



    1    him.   For the past year, he comes Sunday morning before we

    2    open, he'll be done, two three hours with two guys.          So, this

    3    guy came and am—am a Muslim, I want to do the floor for you.

    4    Okay. Well, I told him give me price, [UI] six hundred and

    5    forty dollars to clean it.      When I been cleaning it for a

    6    hundred dollars a month.

    7    SO:    Yeah.

    8    CHS:     So, he call me and I told him okay I'll let you know

    9    later.

   10    SO:    Did you see that up there?

   11    CHS:     The who?

   12    SO:    The plane.

   13    CHS:     Ya Akhi, [Brother], please!

   14    SO:    You didn't see it.

   15    CHS:     I don't want to see nothing because there's nothing

   16    wrong.    Let them fly whenever you want and whatever they want.

   17    I doubt it.    But, anyway, so this guy after two month he's

   18    calling me telling me I want to do the floor for a hundred

   19    bucks.    Six forty he asked!    Now it's a hundred bucks, imagine?

   20    People, they’re desperate.      They can't find jobs and I bet you

   21    material might cost forty dollars so sixty dollars for two

   22    three hours, which is reasonable.       Oh, my gum is this big.      I

   23    can feel it [IA].     [IA].   Are you coming tomorrow?

   24    SO:    Yeah, Insha Allah [God willing].

   25    CHS:     So, you arrange everything with the guy I don't have to



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 143 of 274 PageID143
                                                                              4017



    1    be around.    You’re...   How you feel?     You feel comfortable?

    2    SO:     I feel, I don't feel not comfortable about him.        But,

    3    they knew we were here today.

    4    CHS:     They what?

    5    SO:     That plane was flying all day.

    6    CHS:     All--all day.    Ya Akhi, Wallahi [Brother, I swear],

    7    there is millions in the air.

    8    SO:     Uh-uh.   There's only one type that small and the same.

    9    CHS:     I, I don't know what to tell you.      I don't know what to

   10    tell you.

   11    SO:     You don't have to tell me nothing.      I just want you to

   12    know.

   13    CHS:     --But the guy did you tell him this is somebody's

   14    following you.

   15    SO:     Yes, he knows, he told me about the plane, he said you

   16    told him about the plane did you?

   17    CHS:     Well I told him something that you know, because he was

   18    upset that day and I told him--

   19    SO:     No, he wasn't mad, he just said I need to be careful.

   20    CHS:     That's it.

   21    SO:     He said he has a lot to lose.     He's like, what did you do

   22    that they're following you?      I was like, listen, I was trying

   23    to inspire everybody.     Till I found out they love Donia [this

   24    life] and they don't want to do nothing for Allah [God].           I was

   25    like that was the past, it was decreed.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 144 of 274 PageID144
                                                                              4018



    1    CHS:    He's gonna assist and do whatever you talk about I don't

    2    know exactly what you talked about, but anyway he's gonna

    3    assist he's going to help you and if he's not he's gonna call

    4    to say he's sorry. We'll see.       That's how I don't want you to

    5    get, you know...

    6    SO:    Uh, he’s [UI].    You are [IA].    [chuckles].

    7    CHS:    He was suspicious?

    8    SO:    No, he was like [UI].

    9    CHS:    He was [UI].

   10    SO:    Searching me...He was like search me on my list.          I ain't

   11    search you.    I'm like, if I go to jail. [UI]

   12    CHS:    He did?

   13    SO:    Yeah. He's like, you search me if you don’t trust me.

   14    I’m like I don’t want to search you.

   15    CHS:    Oh, man.   Let him [UI].

   16    SO:    I’m like death is written, I’m like death is written, I

   17    don’t care, death is written [UI]

   18    CHS:    La Ilaha Illa Allah ya akhi [No god but god.         Brother],

   19    [UI] cause we talked to much about it.

   20    SO:    No listen, this is not something small.

   21    CHS:    I know, I know [UI],

   22    SO:    To to-- to do this to anybody else.       It's already a big

   23    crime to them, the Koffar [infidels].        But to do it with a

   24    Muslim, this is... it changes--

   25    CHS:    Ok, but please do not make us any [UI]--



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 145 of 274 PageID145
                                                                              4019



    1    SO:    [UI] I have not talked to nobody--

    2    CHS:    About this--

    3    SO:    I have not talking to nobody and we need to get a rental

    4    car.   I don't trust [UI] and I'm not crazy.        Trust me.

    5    CHS:    Okay, I'll get your rental car, but just take it easy.

    6    SO:    Not right now.    Not right now.

    7    CHS:    No whenever you.

    8    SO:    When the, when the pickup is, that’s when.

    9    CHS:    That's fine.

   10    [brief pause].

   11    CHS:    Do you have any credit card?

   12    SO:    I have none.    They wouldn't even give me one like five

   13    years ago.    They tied it to my social security, they're like,

   14    you have bad credit.     All my hospital bills aren’t paid.

   15    CHS:    You been in the hospital?

   16    SO:    When I was little.     I never paid them.

   17    CHS:    For what?

   18    SO:    One time I helped, uh, this Albanian guy that I know.

   19               (Tape concluded.)

   20               MS. SWEENEY:    From the same meeting, Government's

   21    Exhibit 113.3-A and B.     A is the recording, B is the

   22    transcript.    And we're going to play the whole thing.

   23               (Tape played.)

   24    SO:    /// instead of praying ///

   25    CHS:    /// yesterday.



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Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 146 of 274 PageID146
                                                                              4020



    1    SO:    So I should tell the brother, go ahead and buy

    2    a car.

    3    CHS:     Let's wait until he comes, let's see what will

    4    happen, if you can find somebody.

    5    SO:    I can't, I have no credit card. I told him if I had

    6    my own credit, I'll go get ///

    7    CHS:     /// Credit card for what?

    8    SO:    To rent the car (UI). He said, pay me money I'll

    9    get you one.

   10    CHS:     Wallah? [Really?]

   11    SO:    That's what he said, it’s gonna cost more, if I

   12    get it, it's gonna cost more. So right now it's two, two

   13    point five for all the stuff but without the car, with, with

   14    the equipment in it.

   15    CHS:     Yesterday was good. You spent your salary on

   16    him.      [Laughs] you need uh... uh... loan for next

   17    week that's fine, but I need to know for how long, if

   18    uh... if today get hot and we get good cash, I'll see...

   19    let me think about it.

   20    SO:    He said next meeting I'll need some more. So I

   21    can have him to buy the material. How long you

   22    known him?

   23    CHS:     Huh?

   24    SO:    How long you know him?

   25    CHS:     Long. He knows my brother-in-law before me,



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Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 147 of 274 PageID147
                                                                              4021



    1    that's how I know him. About six, seven.

    2    SO:    Years?

    3    CHS:    What?

    4    SO:    Isn't that when they took you to trial?

    5    CHS:    Before.

    6    SO:    You met him before they took you to trial. How

    7    long before?

    8    CHS:    [Sighs] uh...

    9    SO:    I got uh..., I got a ///

   10    CHS:    /// I can’t recall, but we met in New Jersey in

   11    (UI). You see my brother-in-law, he looks like, he's

   12    chubbier, right. He's teaching in public school. You

   13    remember, when the Sudani [Sudanese] revolution

   14    started and they want all the Muslim to be there, in

   15    the beginning, in the beginning, before ///

   16    SO:    /// I don't remember ///

   17    CHS:    /// when they said, when they said uh... ///

   18    SO:    /// (UI) ///

   19    CHS:    /// (UI) ninety-two, ninety-three.

   20    SO:    I was a little kid. I was like six years old.

   21    CHS:    That was the time that he wants to make hijra

   22    [Migration] to Sudan to make the things. And all the

   23    chemical engineers guys they sit together and they

   24    were working together and they want to make it ///

   25    SO:    /// Hmm... ///



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 148 of 274 PageID148
                                                                              4022



    1    CHS:    /// they are professional, but the, the here it

    2    was loose, you can rent any space and do whatever

    3    you want, but now, shoot, uh... you have u-haul, it

    4    goes (UI). That's why they, start backing off.         It's a lot

    5    of people here though. They got something good (UI).

    6    SO:    In the video, I'm gonna say, the Jews you will

    7    not, you will not be of comfort, never. You (UI).          Kill all

    8    of you at the end.

    9    CHS:    Here and there or just? ///

   10    SO:    /// everywhere. I'll make a video.       Oh, no

   11    they're not gonna' be nowhere. Them to live is fitnah

   12    [agitation] for us. ///

   13    CHS:    /// I believe, I believe ///

   14    SO:    /// (UI) three hundred years ///

   15    CHS:    /// I believe you should not focus on certain ///

   16    SO:    /// lUI) ///

   17    CHS:    /// group.

   18    SO:    No, no, the video, I'm gonna' mention

   19    everything.

   20    CHS:    But, you need, you need to express your

   21    feeling what it make you do that, cause they not

   22    gonna' understand ///

   23    SO:    I know aki [brother], I'll do it, I want it to just be

   24    like I hate you Jews. I already thought of it. I have

   25    videos, you never seen them.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 149 of 274 PageID149
                                                                              4023



    1    CHS:     I can't, not at this moment. Maybe in the

    2    future. Maybe when I go to Gaza. I will open them.

    3    But, I wanted to write down those …///

    4    SO:    /// websites? ///

    5    CHS:    /// you know ///

    6    SO:    /// Did you do the chekdamize7?

    7    CHS:    I can't check anything in here.

    8    SO:    No, I'm saying you go to checkdamize7, that's

    9    his account, Abdullah's account. Where he has all our

   10    videos are.

   11    CHS:    He was a preaching those?

   12    SO:    All of our videos are online on his account.

   13    CHS:    And they don't touch him.

   14    SO:    They know that's his.

   15    CHS:    Yeah, but is it ///

   16    SO:    /// (UI) ///

   17    CHS:    /// this is legal?

   18    SO:    Depends on how much you say. You know

   19    what I say there? I'm like, you afraid of death (UI)

   20    Muslim (UI). You know you wanna get punished and

   21    raped, the only people that don't get punished are the

   22    Martyrs and the prophets (UI). So if they're gonna get

   23    punished and raped, we should die (UI).

   24    CHS:    So practically, this point ///

   25    SO:    /// it's all about wording ///



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 150 of 274 PageID150
                                                                              4024



    1    CHS:    /// I see ///

    2    SO:    /// they trying to make cases on people, they

    3    trying to make cases. They went to Abdullah,

    4    somebody had the blog (UI) and I told him, this is

    5    dangerous stuff. He's like that's not mine, who's is it?

    6    He's like some brother's I know and some people that

    7    moved away.

    8    CHS:    In his computer?

    9    SO:    No, (UI) on the website, online.

   10    CHS:    They come to him because of that?

   11    SO:    (UI) and somebody (UI) had another website

   12    (UI) you did all of this (UI).

   13    CHS:    How many times did they arrest him, or they

   14    haven't touch him yet?

   15    SO:    Never.

   16    CHS:    So he's smart enough to know what he's doing.

   17    SO:    Last time I went to meet him. He's like I'm not

   18    gonna' meet you. Did I do any crime, no. Do you have

   19    anything on      me, no. (UI) I don't wanna' meet you.

   20    And like people got angry. Cause ///

   21    CHS:    /// oh, you talking about he was talking to the

   22    agent? No, what I'm saying is how, how long he been

   23    doing this? I mean is it, is he new Muslim, or he was

   24    born Muslim?

   25    SO:    He's been Muslim for like eight years.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 151 of 274 PageID151
                                                                              4025



    1    CHS:    And since then he started or just ///

    2    SO:    /// (UI) doing this since like three years ///

    3    CHS:    /// I, I know he told me he came from

    4    Pennsylvania.

    5    SO:    He's been doing the videos for like three years

    6    ///

    7    CHS:    /// a lot of people ///

    8    SO:    /// since three and a half years he (UI).

    9    CHS:    And how many people did he watch? Because

   10    he can, I think it has counter.

   11    SO:    They watch everybody.

   12    CHS:    They what?

   13    SO:    Bush hired two to three hundred thousand

   14    Homeland Security after nine eleven.

   15    CHS:    His video?

   16    SO:    No, no, no, oh, how many times the video

   17    watched?

   18    CHS:    Yeah.

   19    SO:    All the videos from him and me is like two

   20    hundred     thousand plays.

   21    CHS:    So there is support.

   22    SO:    But, no that's because they, they messed his

   23    page up. Cause in his old page before it was popular

   24    he had tens of thousands only in one video. Like now

   25    one video, ten thousand, one video thirty thousand.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 152 of 274 PageID152
                                                                              4026



    1    They can't I believe       when they put them up, it never

    2    moves for like months. It stays the same place. They,

    3    YouTube is owned by the Jews (UI).

    4    CHS:    So they freeze them.

    5               MS. SWEENEY:    From the same meeting, the next exhibit

    6    is 113.4-A and B.     A is the recording, B is the transcript.

    7    And it's a recording from December 24th, 2011, between the

    8    confidential informant and the Defendant.        And we're going to

    9    play the whole thing.

   10               (Tape played.)

   11    SO:    On the video you didn't see it man.

   12    CHS:    Huh?

   13    SO:    When you see the new video, you gonna, you

   14    gonna fight me (UI).

   15    CHS:    Ya Rab! Samihny ya Rab!      [Oh God! Please

   16    forgive me.]

   17    SO:    (UI). You gonna be like (UI) it's mine.

   18    CHS:    Which one is that?

   19    SO:    It's on that one webpage that I saved, where it

   20    has (UI) interviews (UI) you should watch them, man.

   21    CHS:    No here man, I need to write it down so I can,

   22    probably in a coffee shop or something. I, I, I don't

   23    wanna' be labeled. You understand what I'm saying?

   24    SO:    I like being ///

   25    CHS:    /// which is I guess ///



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 153 of 274 PageID153
                                                                              4027



    1    SO:    /// I like being labeled.

    2    CHS:    Which is already I guess.

    3    SO:    If they see you with me at a coffee shop, you're

    4    labeled.

    5    CHS:    But there is no a red car across today.

    6    SO:    If they see you with me at a coffee shop, you're

    7    labeled.

    8    CHS:    Do you thing they uh? ///

    9    SO:    /// you got the label. [Laughs] Possible

   10    terrorism ties. Could be armed and dangerous, be

   11    very careful. [Laughs]

   12    CHS:    I need your social so I can report your eh...

   13    income. Because I think since you talked to Salah-al-

   14    Dinn and the brothers     ///

   15    CHS:    /// that you work here ///

   16    CHS:    /// no I have to write it, do you have a copy of

   17    your     license too?

   18    SO:    Yeah, in my car.

   19    CHS:    I need to get that, yeah, one day two day

   20    before, that doesn't matter. I mean, not, not now.

   21    SO:    (UI) and my passport?

   22    CHS:    What about it?

   23    SO:    We can sell it to someone who wants to come

   24    do something.

   25    CHS:    What?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 154 of 274 PageID154
                                                                              4028



    1    SO:    We can sell it to someone?

    2    CHS:    You are monster. [Laughs]

    3    SO:    [Laughs]

    4    CHS:    You don't leave anything.

    5    SO:    Aki [Brother], I want them to know, I want them

    6    done man. Listen, why I say, I, I want more people if

    7    you had four people, leave four cars every bridge, you

    8    know which bridge from Hillsborough, Tampa Road,

    9    goes on to Countryside connects one bridge. The

   10    other one is SR-60 is the Gulf to Bay Bridge to

   11    Clearwater. The other one is two seventy-five and the

   12    other one is Gandy Bridge. If you take those bridges

   13    out and they won’t have food, medicine, they be

   14    shocked nobody can go to work, two million people,

   15    three million people will be sitting ducks.

   16    CHS:    Growing.

   17    SO:    Sit, sitting ducks. And after that, I do this (UI)

   18    they be oh, my God (UI).

   19    CHS:    Who's gonna' do that.

   20    SO:    That's what I said I wanted at least three

   21    people to be who could've parked the cars at the

   22    bridge before (UI) like please don't get towed, I going

   23    to get it towed tomorrow. And then when all of us do

   24    it, it cause (UI) it cause (UI). And after that they gonna

   25    be like oh, my God. And then after that, (UI) they



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 155 of 274 PageID155
                                                                              4029



    1    gonna be like oh my God. They completely destroyed

    2    us. No work, nobody can go to work for months. Till

    3    they fix the bridges.

    4    CHS:     So when you came, you stuck last time ///

    5    SO:    /// (UI) ///

    6    CHS:     /// bridges connected with the, so one accident

    7    shut them down, all?

    8    SO:    One accident shut the whole side to come to

    9    Tampa down, on two seventy-five.

   10    CHS:     All the bridges or just one?

   11    SO:    Two seventy-five only. There's four bridges that

   12    are different Gandy bridge, Two seventy ///

   13    CHS:     /// no I'm talking bout, you talking about the one

   14    above the water?

   15    SO:    Yeah.

   16    CHS:     All connected together?

   17    SO:    The four lanes coming this way. So we’ll have

   18    to ///

   19    CHS:     /// from Saint Pete to Tampa.

   20    SO:    Tampa.

   21    CHS:     Oh, you talking about one bridge, four lanes ///

   22    SO:    /// and then ///

   23    CHS:     /// oh, I thought you talking about, I've seen

   24    when I drive, I see bridge far away, I thought they all

   25    connected together, I, I never been there ///



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 156 of 274 PageID156
                                                                              4030



    1    SO:    /// nah, that's four separate bridges. Like one

    2    that goes to Gandy, you can take Dale Mabry down to

    3    Gandy Boulevard.

    4    CHS:    So you’re thinking that ///

    5    SO:    /// all of them ///

    6    CHS:    /// put, four guys, stop the traffic ///

    7    SO:    /// well five cars, (UI) using five cars on the

    8    emergency lane and get another car, go drive off and

    9    call the number.

   10    CHS:    So somebody has an accident let’s see a car

   11    went in a fire. In the middle of that ///

   12    SO:    /// all the bridges will be blocked ///

   13    CHS:    /// and then you have to have the police, you

   14    have to have the... uh... fire, so they gonna' block it.

   15    Wow.

   16    SO:    But, no I'm not thinking that. I'm thinking like

   17    put, put some strong stuff in the trunk so the whole

   18    bridge will, so the whole thing will collapse. So that

   19    means for months, there's nobody working cause it ///

   20    CHS:    /// And all those people, they are gonna' sink.

   21    SO:    Those people are rich people, that's three, four

   22    million people, the economy gonna' go down the toilet

   23    man. And they gonna starve man, cause nothing will

   24    come in and nothing will go out. People gonna be like

   25    in a prison. Four bridges that come from that way



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 157 of 274 PageID157
                                                                              4031



    1    Pinellas County to this way.

    2    CHS:    That's big.

    3    SO:    It's gonna, it's gonna make your life a living,

    4    problem man. Cause you won't be able to go out this

    5    street without traffic, because nobody can go to work.

    6    CHS:    But, that's not fair.

    7    SO:    Oh, that's very fair.

    8    CHS:    Why? Why people, there's Muslims there's

    9    Christians, there's Jews, there's mixed ///

   10    SO:    /// in Islam, in Islam (UI) heart, if Muslim is

   11    killed, no blood money, it's his fault. He's not

   12    supposed to live there.

   13    CHS:    I do understand that, but my point is ///

   14    SO:    ///What happened in Fallujah? Everybody

   15    starve, one point five million before the war ///

   16    CHS:    /// that's ///

   17    SO:    /// so, so it's ///

   18    CHS:    /// that's in the beginning of the invasion?

   19    SO:    /// after the Gulf War before the beginning, one

   20    point five million died. One point five million (UI) ///

   21    CHS:    /// I remember when they drag I think a couple

   22    of Marines over there and they went inside and em...

   23    SO:    The thing is, that's why, because that's how

   24    they lose their morale, to go on (UI).

   25    CHS:    Man uh... this is gonna' be ///



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 158 of 274 PageID158
                                                                              4032



    1    SO:    /// this is a good idea, but who's down for it ///

    2    CHS:    /// this is gonna be, really a lot of Muslims, they

    3    gonna' pay the price all over.

    4    SO:    They gonna' pay the price already for not

    5    supporting (UI).

    6    CHS:    I already did.

    7    SO:    No, no, no, no they gonna' pay the price, Allah

    8    is gonna question each and every one of us.

    9    CHS:    But they have argument about ///

   10    SO:    /// we, we can get the stamp of munafiq [a

   11    hypocrite]…. ///

   12    CHS:    /// give me one Muslim, not one, I mean a

   13    group of Muslim in the United States that they support

   14    Bin Laden or they like him or they mention his name.

   15    SO:    If there's none that likes him, this is a munafiq

   16    [a hypocrite].

   17    CHS:    So all of the Muslims here are munafiqinne

   18    [hypocrites] and the groups ///

   19    SO:    /// people support him, not the groups. The

   20    groups are government controlled. Groups are for the

   21    government, not against the government. But, yeah,

   22    me and you if we don’t go we can get that stamp.

   23    Stamp of munafiq [a hypocrite] is below the kafir

   24    [infidel], so the kafir [infidel] gonna look at us like he's

   25    better. I don't wanna be that.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 159 of 274 PageID159
                                                                              4033



    1    CHS:     You make me... ///

    2    SO:     /// Yes, I like it, I make you wanna be afraid of

    3    Allah.

    4    CHS:     I'm not talking about all this; alhamdulilah

    5    [thank God], I have enough faith, but...

    6    SO:     (UI) that one on Gandy, one two seventy-five,

    7    one Clearwater Bridge. Where, where the airport is.

    8    And one further on Hillsborough, you go over the

    9    bridge ///

   10    CHS:     /// is that one going to Sarasota too?

   11    Bradenton, Brandon something. From Saint Pete or

   12    Clearwater ///

   13    SO:     /// oh, woo. ///

   14    CHS:     /// Clearwater ///

   15    SO:     /// yeah, that's five. (UI) But this one ///

   16    CHS:     What is the population in Tampa, Tampa Bay

   17    area?

   18    SO:     Pinellas County like two million.

   19    CHS:     So that cut them off completely.

   20    SO:     I know cause Tampa Bay and Pinellas they,

   21    they are like one, people travel from work. So it could

   22    be like three, four million. Three four million, that's

   23    Gaza four times. They won't have nothing; nobody

   24    can go to work for months till they fix the bridges,

   25    that’s five bridges.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 160 of 274 PageID160
                                                                              4034



    1    CHS:     Plus the people they gonna sink and go down

    2    (UI).

    3    SO:     Some of them will commit suicide. Because

    4    they're kafir [infidels];      At least several thousand,

    5    inshallah [God willing]. Because that's what it is (UI).

    6    I'm only speaking to you, cause, I, I’m getting excited.

    7    CHS:     Did you discuss this with anybody? I mean to

    8    get people.

    9    SO:     I only told Salah-al-Dinn, the guy (UI) take all

   10    the bridges. I used to tell you this, I'm like I know. (UI).

   11    CHS:     He's not gonna be able to do that. After that?

   12    SO:     Nah, it has to be all done on the same day. All

   13    of it. It has to be done, not only the same day, but at

   14    the same moment. Cause if like a couple hours off,

   15    they'll go to everybody on this list and arrest them.

   16    (UI) That's why if you really wanna get victory, all you

   17    need is five people. Five cars, take them to the (UI) ///

   18    CHS:     /// you talk about, last… long time about

   19    Muhammad, somebody that you know, that he was in

   20    ///

   21    SO:     /// he, he, he would do that, he's not gonna go

   22    for the martyrdom, but he would leave the car and

   23    leave (UI) he would do that.

   24    CHS:     What about (UI)?

   25    SO:     Huh?



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 161 of 274 PageID161
                                                                              4035



    1    CHS:     People in Illinois?

    2    SO:    If he comes then they know something is up.

    3    That brother's crazy and me and him were together…

    4    ///

    5    CHS:     /// you said him and his wife too.

    6    SO:    His wife she's (UI).

    7    CHS:     That's the point.

    8    SO:    But, I don't know if, she, she wants to blow up

    9    the mosque cause they call the police. [Laughs]

   10    CHS:     [Laughs]

   11    SO:    Cause they have some (UI) she's like let make

   12    (UI). (UI) relax sister you making us look like women.

   13    CHS:     (UI).

   14    SO:    I'm like relax sister you making us look like

   15    women.

   16    CHS:     She doesn't like that.

   17    SO:    No, I told her she's making us look like women,

   18    like ///

   19    CHS:     /// she's tough.

   20    SO:    Firm.

   21    CHS:     She wanna blow the masjid [the mosque]

   22    because they are informants? [Laughs] She's crazy.

   23    SO:    That's low but.

   24    CHS:     Inside?

   25    SO:    [Laughs] the bitch wants to call the police.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 162 of 274 PageID162
                                                                              4036



    1    CHS:     That’s not nice. Wait, wait, wait. Oh, ya salam!

    2    [amazing]

    3    SO:    Can we talk about it in another place?

    4    CHS:     No, no, no it's uh..., that's, that's uh... [UI] will

    5    have [UI].     There's no way they can, they can hear us,

    6    impossible.     No I, I know that maybe the office.

    7                (Tape concluded.)

    8                MS. SWEENEY:    The next exhibit is Government's

    9    Exhibit 115.1-A and B.      A is the recording, B is the

   10    transcript.     This is a meeting between the Defendant and the

   11    CHS on December 27th, 2011.      And we're going to play the whole

   12    thing.

   13                THE COURT:    I'm going to let my jury stand up and

   14    stretch for a second before we play this one.

   15                (Brief pause.)

   16                We'll take the break at 3:00.      All right?

   17                Let's resume.

   18                (Tape played.)

   19    SO:    [UI] Oh! They followed me all day yesterday

   20    and today.

   21    CHS:     Following you?

   22    SO:    Yeah, with cars, again.

   23    CHS:     You positive?

   24    SO:    Yeah.

   25    CHS:     Same red car?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 163 of 274 PageID163
                                                                              4037



    1    SO:    No, no, no, I am talking about other cars like

    2    Mercury, Buicks, Fords.      All different types like they

    3    usually followed me. Before they stop a little bit.          And

    4    CHS:    [OV] Did you go anywhere on the weekend?

    5    SO:    [OV] No- -

    6    CHS:    [OV] - -I mean - -

    7    SO:    [OV] - -I went yesterday to a fish store, bought

    8    fish and went home.     They know this store where they

    9    followed me before.     And, today they followed me

   10    when I went to the store.      One car was parked across

   11    the street in front of the store.       [Pause]    All I’m saying

   12    is, these people are known.

   13    CHS:    Are you serious?

   14    SO:    They know I’m up to something.       They don’t

   15    know what, but that’s what I thought.        So, the problem

   16    is I got to see [UI].     He can’t just... He said one more

   17    time he’ll show me how to do it. And then deliver- -

   18    another time...I can’t control these coming around

   19    anymore because there is no putting them off there.

   20    All you got to do is next meeting- - next meeting          has

   21    to be secret.    I have to have a different car and I have

   22    to, basically, I have to disappear one day before the

   23    last meeting without them knowing.

   24    CHS:    Ah, can you sleep somewhere else?

   25    SO:    Yeah...



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 164 of 274 PageID164
                                                                              4038



    1    CHS:     I mean,

    2    SO:     I got [UI] in my car.

    3    CHS:     You can leave the car in the shop.      And, then

    4    you trade car.     You leave somewhere. [Pause]

    5    [Whispering] What’s that?

    6    SO:      The thing is, it’s gotta- - Don’t worry about it!

    7    It’s gotta be done before.      We got to talk to him and- -

    8    CHS:     [OV] When   he’s coming back?

    9    SO:     I don’t know.   But he only wants to come to

   10    bring the stuff to show me how to do it.

   11    CHS:     Is he coming to show you?     Or, he’s coming to

   12    get the stuff?

   13    SO:     To show and get the money- -

   14    CHS:     [OV] So, you have to go with him in the car?

   15    SO:     Yeah.   I don’t want him [UI].    I don’t want him to

   16    know.

   17    ??:     That’s another thing, I don’t like how you guys

   18    want to be so protective of me.       You guys don’t want

   19    me to get caught with one.      I need one for the

   20    exchange- -

   21    CHS:     [OV] That’s up to him, if he wants to give you

   22    the one, that’s fine.     I - - I have no problem- -

   23    SO:     [OV] I need to have one for the exchange date

   24    and the pickup date.     If they- - if they somehow know,

   25    when they come.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 165 of 274 PageID165
                                                                              4039



    1    CHS:     Yeah, but the problem is, if you have

    2    something and they stop you by mistake, or they

    3    come to the shop, or they stop you in the car- -

    4    SO:     [OV] It gets nothing in the shop.      You are

    5    allowed to have it in the shop.       You should have

    6    something.

    7    CHS:     [OV] I never use them, I never touch them- -

    8    SO:     You should buy one for the shop- -

    9    CHS:     - -I never thought them.

   10    SO:     - -I only know how to use black nineteen.        You

   11    know what that is?

   12    CHS:     Brother, I- -I- -I’m- - I’m fine this way.        I never

   13    thought about it.     It’s just - -

   14    SO:     [OV] Now,   I did something stupid because

   15    before I was a citizen I got the certificate and- -that

   16    was before I was in Islam and once I became a

   17    citizen, I could have gotten my permit.        I could walk

   18    around with one right now,      under my shirt.

   19    CHS:     Hum

   20    SO:     [UI]

   21    CHS:     Is- -is- -is it legal to go in the street with them?

   22    SO:     If you have a permit, yeah.     But you got to hide

   23    it.    You can’t be showing it.     It’s got to be under a shirt

   24    or- -

   25    CHS:     [OV] I thought you can’t walk with them, unless



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 166 of 274 PageID166
                                                                              4040



    1    you have a special license.

    2    SO:    Well, I got the class for the permit, but I never

    3    got the permit because I wasn’t a citizen- -

    4    CHS:    Now,    let’s think seriously.    I mean, this is, this

    5    is not a joke.    If you have a knife in your car and they

    6    stop you,

    7    SO:    They can’t do nothing.

    8    CHS:    Okay tell him! He will give you something.

    9    Whatever you want, I mean, just tell him- -tell him, “I

   10    need one.”

   11    SO:    You have a knife, they can’t do nothing.        This

   12    here I would not carry until the day of the pickup.

   13    CHS:    That’s fine.

   14    SO:    Cause I don’t trust nobody, you know.

   15    CHS:    Tell him, tell him you need one but I can’t- - I

   16    can’t deal with the issue- - I can’t put it under my

   17    name- -

   18    SO:    [OV] No, no, no- -

   19    CHS:    - -I’m not gonna do nothing.

   20    SO:    - - I’m registered, I am registered.

   21    CHS:    Okay.   So, when you are going to meet the

   22    guy..if he walk in today or tomorrow- -

   23    SO:    [OV] I have to go with him.

   24    CHS:    - - and he tells me okay- -

   25    SO:    [OV] I have to go with him.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 167 of 274 PageID167
                                                                              4041



    1    CHS:    Huh?

    2    SO:    If   I walk in I have to go with him, if he walks in

    3    CHS:    What if you are not there?      We don’t even

    4    know when he’s gonna be there.

    5    SO:    That’s my whole point.

    6    CHS:    Well, do you want me to call and just tell him,

    7    “hey the flag, I need to return something.”         Or, what

    8    do you want me do?

    9    SO:    He’ll come again.     The only point is I don’t want

   10    him to - -

   11    SO:    And the thing is, the plane was following again,

   12    everywhere

   13    CHS:    Huh?

   14    SO:    The plane was following yesterday, again.

   15    CHS:    I swear, okay.

   16    SO:    I’m not crazy.

   17    CHS:    Now listen to me.     Yesterday. I drop my wife to

   18    the park and the aircraft was going

   19    SO:    All day?

   20    CHS:    No, not all day.     But I thought this is the same

   21    one and then ah, I looked [UI], people they are

   22    coming from north, from south.       They using their jet.

   23    So, I don’t wanna think.      But I doubt it. I doubt if they

   24    are following- -

   25    SO:    Let me tell you one thing.      That night, in front of



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 168 of 274 PageID168
                                                                              4042



    1    Sligh they came, and that was a plane.

    2    CHS:    With the Brother?

    3    SO:    Yeah, when we were there.

    4    CHS:    Yeah, but we should do nothing.       Why do we

    5    have to- -to- -

    6    SO:    [OV] I don’t want them to know.       Of course, we

    7    didn’t do nothing.     But I don’t want you to see who I

    8    am contacting.    Once they see that, they are going to

    9    follow you anywhere.     And on the day of exchange

   10    [claps] it’s done, they are gone bust you.         I just

   11    wanna- -

   12    CHS:    [sighs] Ouuuuuff!

   13    SO:    - -be aware of it.     I don’t want- -

   14    CHS:    Okay, now

   15    SO:    Right now, they cannot do nothing, because

   16    we don’t have nothing.

   17    CHS:    So, what good it’s gonna do the phones?        I

   18    don’t understand.

   19    SO:    So, we don’t have to continuously come in and

   20    out.

   21    CHS:    So, if he get the phone, and he give me the

   22    number?

   23    SO:    Then we have to have one phone that’s not

   24    registered to anyone.     And then that’s important so

   25    whenever I come again, you can make, be like, think



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 169 of 274 PageID169
                                                                              4043



    1    when I work next.     Be like let’s schedule for this time, I

    2    come, you tell me the new phone.       Let’s imagine he

    3    comes and gives you the new number- -

    4    CHS:    [OV] Wait a minute!     Now wait.    Is it easier to--

    5    when he comes next time I tell him, “okay his

    6    schedule is this” I give you the schedule.         And then he

    7    walked in, and he just leave with him, and do what

    8    you have to do I don’t have to- -to get involved?

    9    SO:    You’re not. You shouldn’t get involved.        But the

   10    point is, I don’t wanna- -uh- - I don’t want him to come

   11    in no more.    I don’t know how?

   12    CHS:    Well, then can you meet somewhere else?        I

   13    mean, he- - he been coming for two years, three

   14    years, almost.

   15    SO:    But they don’t know that.

   16    CHS:    Yeah, but at least now they... I doubt that if

   17    they know that he’s hooked up with you.        I mean, one

   18    time you left with him.

   19    SO:    Not the time that we left.

   20    CHS:    Did they follow you?

   21    SO:    Not the time when we left, the time when we

   22    didn’t.   At Sligh the plane was flying.

   23    CHS:    No. No.   When I put you in that car, there’s no

   24    plane, there’s no cars, there’s nothing.

   25    SO:    I came back to meet you- -



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 170 of 274 PageID170
                                                                              4044



    1    CHS:    [OV] Yeah, but that’s all.

    2    SO:    - - all suspicious in the middle of the car,

    3    instead of being with other cars, that plane came real

    4    low.   Those planes that I told you about- -

    5    CHS:    [OV] O ‘Brother!

    6    SO:    - -unless there is an     airport over there, right?

    7    CHS:    Yeah, but I mean, I mean we don’t- -

    8    SO:    Let me tell you something.      The plane, when

    9    I’m back over the bridge is still followed me.

   10    CHS:    Brother,   I - -

   11    SO:    Yesterday, they didn’t because it was raining

   12    and cloudy.

   13    CHS:    I want you to be extremely careful.         I want you

   14    to... you have the right to suspect- - I have the right

   15    to suspect anybody comes and talks about anything.

   16    I suspect now that- - I suspect Sammy; I suspect

   17    everybody in the store.      But, at least do your best to

   18    be normal.

   19    SO:    I am normal.

   20    CHS:    Okay.

   21    SO:    We’re not doing our best, we’re not doing our

   22    best to be    careful.   There was a reason- -

   23    CHS:    I’m not going to get- -

   24    SO:    I know.   There’s a reason why I want you to

   25    send the message.     Cause I know the plane is



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 171 of 274 PageID171
                                                                              4045



    1    following me.    Cause [UI] knows and everybody

    2    knows that plane is following me.       So, I finally told

    3    them and they said that they could never see the

    4    connection. I don’t want- -

    5    CHS:     Yeah, but there’s cameras and the guy he

    6    don’t want to be recorded anywhere.       These cameras,

    7    the aircraft - -

    8    SO:     [OV] Maybe cause we talk about Qur’an.

    9    CHS:     Yeah, but the aircraft would not get pictures.

   10    SO:     Who told you that?

   11    CHS:     During the night?

   12    SO:     You know the spying [UI] don’t hesitate taking

   13    green light pictures and everything if it’s a spying

   14    Hawk.

   15    CHS:     Come on, admit it.     It sounds like a movie.

   16    [laughs] Just, just, like you know…I don’t know.          I am

   17    not expert in this,

   18    SO:     No.   Listen!    Everybody... you guys have to

   19    realize that there’s a war against Islam, And they fear

   20    that somebody is going to break through security, and

   21    terrorize them with a bomb.       This is what it’s about.

   22    The biggest thing is when the [UI] the world that this

   23    could happens again in America. That’s why they

   24    spend billions; they spend forty billions just for the

   25    airport security.       And the Sheik, I remember, sent the



                 CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 172 of 274 PageID172
                                                                              4046



    1    brother ‘Umar al-Farouk and broke through an airport

    2    security.    The only thing was malfunction.       That’s all,

    3    in the bottom.    That’s all that was.      But they broke the

    4    forty billion only airport security. You know much

    5    security they paid for here, once you break         it, whole

    6    world gone be like, ooh!!      This could break for a

    7    second time, this could bring a chain just         [snapping

    8    fingers] like that.

    9    CHS:    Brother, you do your best.      I understand.     I

   10    understand.    I understand.     I understand what you

   11    talking about.    If you have second thought about it

   12    SO:    [OV] As a matter of fact, if I have to go to court,

   13    I’ll tell the judge you infidel, you filthy pig… I don’t

   14    care about that but I want this to happen, I want

   15    everybody to follow the example.       I don’t want this to

   16    get busted.

   17    CHS:    Okay what?    W—w—w- -

   18    SO:    You   have to plan, how am I going to leave

   19    next time with him without them seeing us.         So they

   20    don’t follow us. And, after that, it’s when- -we gona

   21    be, the exchange

   22                 (Tape concluded.)

   23                 MS. SWEENEY:   The next exhibit is Government's

   24    Exhibit 115.2-A and B.      A is the recording, B is the

   25    transcript.    This is a continuation of the same meeting we were



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 173 of 274 PageID173
                                                                              4047



    1    just listening to from December 27, 2011.        And we're going to

    2    play the whole thing.

    3               (Tape played.)

    4    CHS:    [UI] Every time you talk to me you make me

    5    shaken. I don't want to-- to start thinking that.

    6    SO:    He's not going to.listen, he's already nervous

    7    cause I hear it in his voice. Every time when he

    8    comes, he's nervous. [UI].

    9    CHS:    [UI] Something that's not easy.

   10    SO:    It's not a small thing. The thing is..I'm not telling

   11    you to make you nervous. Calm down. I'm telling you

   12    that we have to plan. Right now we have to plan.

   13    CHS:    You plan..You want to change your...

   14    SO:    Listen. The plan [UI] How can I..disappear the

   15    day before the pickup.

   16    CHS:    Wanna take hotel?

   17    SO:    Huh?

   18    CHS:    You take a hotel?

   19    SO:    I can take a motel. I don't care. Maybe even

   20    get a slave woman the night before [Chuckles]

   21    CHS:    (FL) You going to go to uh to meet uhhh the

   22    whore. Don't start. Listen. Listen.       [UI] put it under my

   23    name..that's if..something happen then..

   24    SO:    You don't put it under your name.

   25    CHS:    Then I'm screwed.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 174 of 274 PageID174
                                                                              4048



    1    SO:     Don't put it under your name.

    2    CHS:     Under my name?

    3    SO:     Don't put it under your name.

    4    CHS:     I'll make a phone call they prepare the paper

    5    but I'm I'm not going to...no. no. For that thing? No.

    6    No. I'm talking about to take it for a day or something.

    7    SO:     [IA] No I don't need no...The trunk thing is a

    8    very good idea but...I don't know [UI]

    9    CHS:     Let's let's--let's uh let him let him make the

   10    plan.

   11    SO:     No. No. We're not going to let him make the

   12    plan.

   13    CHS:     Then you make it.

   14    SO:     [UI]

   15    CHS:     I I don't know exactly what...

   16    SP:     Him. Him and you. You guys are not very

   17    aware of who they are cause they were following me

   18    for months so I know who they are. I see them. Every

   19    time I see...Sometimes I see the same guy with

   20    different car. They have always these baseball hats.

   21    Trying to hide their faces like low so you don't

   22    recognize them. And they always come in different

   23    cars. Glasses sometimes. They throw on glasses.

   24    Clear glasses. But the point is...I have to find out..

   25    CHS:     Did you see them following me anymore? I



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 175 of 274 PageID175
                                                                              4049



    1    mean...why you didn't?

    2    SO:    That plane last time [UI] and I told you it was

    3    low to the tree and disappeared.

    4    CHS:    Yeah but did you think...I've seen it. I've seen

    5    it. That's why I believe you. But you said that is took

    6    off after that. I mean, for the...

    7    SO:    [IA]

    8    CHS:    Since you start to working full-time.

    9    SO:    [IA] That day when we met him, it came.

   10    CHS:    And you say, that plane did see everything?

   11    SO:    If it's a spy drone, they see everything and they

   12    can hear everything. If it's a spy drone.

   13    CHS:    That's...that's ridiculous man.

   14    SO:    It has live recording.

   15    SO:    Like in the movies. For real.

   16    CHS:    Okay so...

   17    SO:    That's how they [UI] That's how they...

   18    CHS:      During the night and during the day. It doesn't

   19    matter?

   20    SO:    No. During the night they just put night vision.

   21    It's all green. They still see you. But look what they

   22    did. Because they are usually...When I first spotted

   23    them it was at night cause during the day I wasn't

   24    paying attention in the beginning. But how they

   25    caught shaykh al-Awlaki, Allah knows best, they use



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 176 of 274 PageID176
                                                                              4050



    1    to go and they use to zoom in. That’s him on camera,

    2    they use to go to his face man!       Take pictures and

    3    everything.    That’s him, go get him.      And they use to

    4    go and fire [UI]

    5    CHS:    But they can't shoot you.

    6    SO:    I don’t- -I don’t- -

    7    CHS:    Not here.

    8    SO:    If they do...No they can. But I don't care about

    9    that. That's not the problem [UI].

   10    CHS:    They can't do that man.

   11    SO:    [IA]

   12    CHS:    You..you just make me...

   13    SO:    [IA]

   14    CHS:    Here? In- -in the land of [UI]

   15    SO:    Okay. In the land of what? In the land of the...

   16    CHS:    Of the United States.

   17    SO:    you have sister Aafia Sidiqqi raping her in

   18    prison cause she didn't do nothing cause she said

   19    the 9/11.

   20    CHS:    What I'm saying...have you ever seen

   21    somebody shooting somebody in....

   22    SO:    Obama after they hit al-Awlaki, [UI]. You know

   23    what he said?

   24    CHS:    No.

   25    SO:    He said, the FBI has given me a list with 100's



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 177 of 274 PageID177
                                                                              4051



    1    of U.S. citizens who are radical and all they have to

    2    do is give me the list when I say this guys a danger

    3    I...all I have to do is sign and we'll send a Drone [PH]

    4    for them too.

    5    CHS:    Here?

    6    SO:    Yeah.

    7    CHS:    In the United States?

    8    SO:    Yeah but I don't care about that...

    9    CHS:    I don't think they will..they will

   10    SO:    They will do that...

   11    CHS:    Reach that point...

   12    SO:    But I don't care about that. That's not the point.

   13    Listen, if that happens, that's going to be the fastest,

   14    easiest death by the mercy [IA] by the mercy of Allah.

   15    It's going to be so fast and easy. I'm not worried about

   16    that. What I'm worried about I don’t want them to

   17    catch us, I just want to do it man. How many people

   18    got caught?

   19    CHS:    I have no idea man.

   20    SO:    I can tell you...

   21    CHS:    You are following up. I don't...

   22    SO:    I can give you the list man. They all get caught

   23    [IA] because they don't tie the camel and they don't

   24    plan anything right. Some of them didn't even know

   25    they were being followed. The difference is...I know



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 178 of 274 PageID178
                                                                              4052



    1    I'm being followed.

    2    CHS:    So...what do you want me to...what can I do?

    3    What do you want me to do?

    4    SO:    I'm just trying to see...I can have an idea

    5    maybe get a hotel...how can I get a car and leave

    6    mine somewhere. Like...

    7    CHS:    Sunday I'll send Nadir with your car, honestly.

    8    I'll tell him hey you want to sell it and try..to take a ride

    9    and then by that time...

   10    SO:    [IA]

   11    CHS:    Doesn't matter. We'll fix the brakes.

   12    SO:    [IA]

   13    CHS:    By that time when he comes, I'll let him take

   14    off. Nobody knows. I'm going to tell him to shut up and

   15    just go and make shopping. And then he take the car

   16    and then...they going to follow him and you go the

   17    other way. I mean, he's going east. You go west. Go

   18    to the beach. See where he's going.

   19    SO:    I know [IA] You got to [IA]

   20    CHS:    And and and    Yeah, I understand but...

   21    SO:    [IA] go to the beach.

   22    CHS:    All we have to do is...He will come close to

   23    the..to the store. If there is no aircraft, they're not

   24    going to see nothing. The car is going to be followed.

   25    Five minutes later you jump in the car like last time.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 179 of 274 PageID179
                                                                              4053



    1    Last time did you feel anything?

    2    SO:    The thing is...now, the thing is when they..if

    3    they come in front of the store and let's say they're

    4    tracking my car. If I turn it on and they follow it, they're

    5    going to drive by Nadir. When they drive by Nadir This

    6    is what's going to happen. They're going to see it’s

    7    him [UI].

    8    CHS:    I'll give him a cap...

    9    SO:    [UI] come back.

   10    CHS:    No. no. no. In the morning...

   11    SO:    Watch. They know I have a beard but

   12    they..listen, they going to come back and they going

   13    to wait and see if I'm there. Or if I'm coming with

   14    another car.

   15    CHS:    No it's a few seconds you're going to be gone.

   16    SO:    Yeah, but when am I going to come back?

   17    CHS:    Then I will drive my car and put it next to the

   18    gas station and they thinking that you're taking my

   19    car. So they will think you are in the gas station. Just

   20    think. Think wisely. Don't don't be...scared.

   21    SO:    No. No. You have to...I'm not scared.

   22    CHS:    Yeah...think wisely...

   23    SO:    I'm trying to calculate everything.

   24    CHS:    You want to go from the back of the building?

   25    Is that easier?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 180 of 274 PageID180
                                                                              4054



    1    SO:    There's a back?

    2    CHS:    Yeah.

    3    SO:    Yeah that's easy. I come in through the back.

    4    CHS:    Where are you going to put your car?

    5    SO:    Oh you mean here? What are you...

    6    CHS:    Where are you going to put your car? If you're

    7    going to come in the back? Okay, let me tell you how

    8    the- -the store. The plaza is..okay, if you go all the

    9    way where we pray in uh in--in the restaurant all the

   10    way...there is a door. You can go out. There is patio.

   11    You can jump from the fence to the dry cleaner.

   12    SO:    And come behind.

   13    CHS:    Yeah. And [UI] dry cleaner. Pick you up and

   14    leave. Nobody will see you. There's no million

   15    ways...if this is what's scaring you.

   16    SO:    [UI] I'm not...I just don't want to...

   17    CHS:    It's not scare...if

   18    SO:    I know...

   19    CHS:    [UI]

   20    SO:    Okay. Maybe I'll even go to the front with him

   21    but come back through the back. [IA]

   22    CHS:    [UI] see the car and if he goes around. They

   23    gonna...That's not going to work.

   24    SO:    No. No. Come back through the back.

   25    CHS:    Okay. Yeah. Makes sense.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 181 of 274 PageID181
                                                                              4055



    1    SO:    Leave and then I come back to the back...

    2    CHS:     Yeah. Let him drop you off and...

    3    SO:    [IA]

    4    CHS:     Exactly. Let him drop you off in the dry clean

    5    before he get to [UI] just get the...

    6    SO:    Not the dry clean. I have to climb over the

    7    fence.

    8    CHS:     That's fine. That's fine. If he...drop you the dry

    9    cleaning...

   10    SO:    [IA] going to be...

   11    CHS:     Brother, brother, let me put it this way. If you

   12    feel that this is not the right time and they are not..you

   13    know, comfortable. I don't think you should do it. Just

   14    think about [UI]...

   15    SO:    No [UI] they're not going to let go of me.

   16    They're going to follow me everywhere. They will

   17    follow me everywhere.

   18    CHS:     And?

   19    SO:    And I hope that they don't know who he is. I

   20    hope that they...

   21    CHS:     Can you put sash and cap when you come so

   22    they won't see your face? Or tie this with...

   23                (Tape concluded.)

   24                MS. SWEENEY:   The next one is Government's Exhibit

   25    115.3-A and B.    And this again is from the December 27th, 2011



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 182 of 274 PageID182
                                                                              4056



    1    meeting.    And we will play the whole thing.

    2                (Tape played.)

    3    CHS:     Let's see the first...the next meeting, how it's

    4    going to go.

    5    SO:    The thing is...I I I never wanted to meet with

    6    them that many times because every time...

    7    CHS:     One more time. He said he he wants to train

    8    you...

    9    SO:    Yeah. But that's going to be difficult

   10    because..it's not [IA]

   11    CHS:     What about if they...

   12    SO:    [IA] It's not going

   13    CHS:     /// The worse scenario. What about the worst

   14    scenario if they caught you? If they come in and got in

   15    while you are train. What is the problem? He's

   16    licensed and you're having fun. What is the problem?

   17    SO:    If they come and you just have this...I want this

   18    for my home. If they try..If they try and say Oh we

   19    have this and this speech from you from this spy and

   20    from this informant at the masjid [mosque] and from

   21    this computer email and from this statement on

   22    FaceBook and this..and that you..

   23    CHS:     You have all these?

   24    SO:    I use to in the back. In the back in the days and

   25    [IA] 9/11 (Chuckles) We couldn't do nothing but now



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 183 of 274 PageID183
                                                                              4057



    1    that you have this we can give you a trial. I mean, I

    2    don't care [UI] but that's nothing but he’s supposed to

    3    bring one of the...

    4    CHS:    Bring what?

    5    SO:    (Whispers) Homemade hand grenade. That's

    6    the thing..

    7    CHS:    That's at the same time?

    8    SO:    Yes. Cause he's going to show me how

    9    to..cause it's homemade.

   10    CHS:    [UI] is that legal to be trained like...tell them I

   11    want to join the army. I want to know if it's..I'm going

   12    to be able to or not...What army? It's none of your

   13    business. [IA]

   14    SO:    (Chuckles) Islamic.

   15    CHS:    I mean, I don't think this is...

   16    SO:    Listen. If they...if they...all I'm saying.

   17    CHS:    Are you going to take a chance take em

   18    without training? Are you going to be able to use

   19    them? If he deliver...

   20    SO:    /// Yeah that's what I thought...

   21    CHS:    /// You figured it out.

   22    SO:    No. I I use to shoot AK...

   23    CHS:    What about those?

   24    SO:    He just has to put on a label how, It's not that

   25    hard to remove this and throw. He said he [UI] have



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 184 of 274 PageID184
                                                                              4058



    1    the same amount of time as a [UI]. [IA]

    2    CHS:    Let's go. So if we walk in afternoon Sunday.

    3    We're going to do it different. You wait...(Sighs)

    4    SO:    If they [UI].

    5    CHS:    I don't think so...

    6    SO:    I need to [UI]...

    7    CHS:    /// He goes all over the country...

    8    SO:    I need to [IA] smaller [IA]

    9    CHS:    Naw. For what? Just to put it. If it's just to put it

   10    I'll give you the key.

   11    SO:    Uhm--uhm.

   12    CHS:    But if it's..for something else. You want to sleep

   13    and you want to [UI]

   14    SO:    No. No.

   15    CHS:    Just get a room.

   16    SO:    I know. But [IA] cause it's in your name. We

   17    don't know if they're following him.

   18    CHS:    But if you put the stuff and take it out. You stole

   19    the key. That's what I'm going to tell them. You stole

   20    the...how do I know. I took him once to the warehouse

   21    to help me out. And there's no million ways. For

   22    me...I'm not worried about shit. As long as I don't

   23    commit crime. I got lawyers. They can take me out

   24    and if they want to take me..Hey, you know what? I

   25    need the food. I'll stay there. But I'm not sho- -I'm not



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 185 of 274 PageID185
                                                                              4059



    1    shooting nobody, I'm not saying anything to the judge.

    2    SO:    If that happens then I'll tell them, yeah I stole

    3    the key.

    4    CHS:    You what? Yeah..I I mean, if this...if this is the

    5    thing that you're going to put him in here..take him

    6    come pick him up. I have no problem.

    7    SO:    Okay.

    8    CHS:    But...

    9    SO:    But I still need to, have to have different car.

   10    CHS:    Spray it. Same day. Here's the guy.

   11    SO:    [IA]

   12    CHS:    /// No. Next door. I'll make deal.

   13    SO:    [IA]

   14    CHS:    I'll make a deal.

   15    SO:    What if my car is being tracked. If it's being

   16    tracked [UI] track. They'd be like...Oh he painted it. If I

   17    go to my house it's yellow. Oh he painted it.

   18    CHS:    Let me think....uh

   19    SO:    If I do that they going to be like Oh, he's up to

   20    something...

   21    CHS:    You want to take my car? Tell them you stole

   22    my car. I'll report you after. Tell them I had dispute

   23    with him..We'll make a case and I'll tell them hey this

   24    guy he came. He took two hundred dollars. He took

   25    the key. He took my car. No no. Key. The car..the key



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 186 of 274 PageID186
                                                                              4060



    1    in the car, always. Have no idea what he's up to. After

    2    I hear everything.

    3    SO:    But they're going to be like. Why did you wait

    4    so long?

    5    CHS:    I'll tell them I work until 8. I look there is no car.

    6    SO:    The thing is it's not going to happen by 8. It's

    7    going to happen later. Like 2am or something.

    8    CHS:    2am you're not going to see nobody in the

    9    street.

   10    SO:    2, 3AM? The delivery has to be on a Tuesday

   11    or a Thursday. 2am. That's the thing.

   12    CHS:    [Sighs] Should I leave town and leave the car

   13    next to the building and...I was out of town? [UI] think

   14    about...

   15    SO:    No you don't want to [UI] Cannot be [IA]

   16    CHS:    You wanna...

   17    SO:    [IA] Report it. I don't know [UI] He said he can

   18    get more. I don't know how much is [UI].

   19    CHS:    Check with him.

   20    SO:    He said he can get [IA].

   21    CHS:    Check with him. Let's see..let's see [UI]. I don't

   22    want to get involved in this. This is not my part.

   23    SO:    I know.

   24    CHS:    You check with him and see how much

   25    and....we'll take care of that.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 187 of 274 PageID187
                                                                              4061



    1    SO:    So how much is the limit if it goes?

    2    CHS:     Uh just let me check but uh...

    3    SO:    Two

    4    CHS:     We'll see. I will [UI].

    5    SO:    I gave him 500. So he said..he said...first he

    6    said it's 20.    Two thousand.

    7    CHS:     Uhm.

    8    SO:    But then I said what if you fill up the whole

    9    trunk.    He said to fill up the whole trunk 500 extra.

   10    Cause it's cheap material.

   11    CHS:     You working this week and next week. You can

   12    pay him.

   13    SO:    But listen. No but that's without the car I told

   14    him to put it in.

   15    CHS:     Check with him. Check with him and see what

   16    would happen.

   17    SO:    [IA] So right now. I gave him five hundred two

   18    thousand more, what if he said three thousand extra?

   19    For a car.

   20    CHS:     Okay. Um.

   21    SO:    If it's like that tell him...

   22    CHS:     When? How long you going to work? I mean is

   23    it another 4/5...2 weeks? 3 weeks?.

   24    SO:    None. If you can get a car this thing should be

   25    done within a week. If you if you can get a car [UI]



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 188 of 274 PageID188
                                                                              4062



    1    extra another week to fill up the trunk. Cause he can't

    2    get all at once. They're watching.

    3    CHS:    So...let's say you're working $500 a week. So

    4    another two weeks, that's $1000. You pay it. Let you

    5    pay $1500 and we'll see what we can do with the rest.

    6    That's legit.

    7    SO:    And..okay...So..

    8    CHS:    Where's my key? [UI]

    9    SO:    It’s better like that because if he can get the car

   10    and...he-- he just leaves all the stuff he

   11    delivers..leaves the car in the garage and all I have to

   12    do is get the car to the garage at the mall. There's a

   13    garage under the mall at International Plaza. It has a

   14    garage. If he can leave it there...But I don't know if

   15    they have cameras. If he can leave it and have

   16    him...have somebody pick him up. Cover there [UI]

   17    Leave there car there. I come with my car...I come

   18    with my car to the other side of the mall and leave it.

   19    Walk..I'll watch them, they come follow me inside

   20    because they think I'm up to something and I'll drink a

   21    coffee. There's a Starbucks. Go downstairs to the

   22    garage. Get to the car...get in the car and [UI] know

   23    where I'm at. Unless I have to take a cab to the mall.

   24    CHS:    But you said you want to leave at 2 o'clock in

   25    the morning.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 189 of 274 PageID189
                                                                              4063



    1    SO:    It doesn't matter as long as I pick it up that

    2    day...that night.

    3    CHS:     Okay. So...what we know now is..When he

    4    show up Sunday..we have to arrange it. You come

    5    early a little but so we can arrange how he's gonna

    6    pick you up. And then we'll see what will happen from

    7    there.

    8                (Tape concluded.)

    9                MS. SWEENEY:   The next one is Government's Exhibit --

   10                THE COURT:   We're going to take the 3:00 o'clock

   11    break now for 15 minutes.

   12                (Jury excused from the Courtroom.)

   13                How many more tapes do we have?

   14                MS. SWEENEY:   Six, and it's about half an hour more,

   15    Your Honor.

   16                THE COURT:   And then what are we going to do?

   17                MS. SWEENEY:   After that, Your Honor, I will read --

   18    the parties have entered into a stipulation about certain

   19    elements that I will read.      That's Government's Exhibit 22.

   20                Then we have Special Agent Willie Ortiz who will

   21    testify to the Defendant's postarrest interview.          We have Agent

   22    Steve Miller who will testify to the search of the Defendant's

   23    car.   We have FBI Agent Lynn Billings who will testify to the

   24    search of the hotel room.      And we have Special Agent Keith

   25    Arndt who will testify to the exam of the Defendant -- not of



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 190 of 274 PageID190
                                                                              4064



    1    the Defendant, but of the cell phones that were recovered in

    2    this case.

    3               THE COURT:    All right.

    4               I think you're going to have to work out some sort of

    5    a stipulation concerning the amount that the confidential

    6    informant was paid.

    7               I've reviewed the transcripts that have been

    8    submitted -- that have been presented.        I haven't reviewed all

    9    of the full transcripts that have been admitted, but of the

   10    ones that have been presented, there are clearly factual

   11    statements being asserted by the confidential human source

   12    including the whole episode about the Defendant having gone

   13    down to St. Pete, describing the Defendant as aggressive,

   14    describing the Defendant as a monster, discussing that the

   15    Defendant was going to pay for these weapons with work he was

   16    going to be doing over a specific period of time, about how

   17    much he was going to make, all of which have no other purpose

   18    than the truth of the matter asserted because in certain

   19    instances, the Defendant didn't even respond, so it can't be

   20    offered to prove its effect on the listener or to provide

   21    context to what the Defendant was saying because he wasn't

   22    saying anything about it.

   23               So to that extent, the Government has proffered some

   24    of these transcripts for the truth of the matter asserted, and

   25    I don't have any doubt they're going to present those truths to



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 191 of 274 PageID191
                                                                              4065



    1    the jury and even if the Government doesn't say you recall the

    2    confidential source said such and such, the jury will have

    3    these transcripts back and they can confirm the Government's

    4    assertions through statements of this witness whose statements

    5    are being offered by the Government.        And so I will allow the

    6    defense to state how much the CHS was paid as part of his work

    7    as impeachment.

    8               Is there anything else that we can address?         We still

    9    have this issue about this 404(b) witness.         Are you still

   10    intending to call this person?

   11               MS. SWEENEY:    He will be arriving this evening and

   12    he'll be available tomorrow.      And then I guess we also still

   13    have the issue as to Mr. Kohlmann and whatever further

   14    questions the defense has for him before he testifies.

   15               Both the 404(b) witness and Mr. Kohlmann will be

   16    arriving this evening, so we could take those up first thing

   17    tomorrow morning if you wanted.

   18               THE COURT:    Are we clear that this witness that is

   19    the 404(b) witness will only be testifying to the statements

   20    that are in the 302s, nothing beyond that?

   21               MS. SWEENEY:    Well, as to the 302s, Your Honor, he

   22    very clearly -- in the 302s, he very clearly states some things

   23    that other people have told him happened.        The Government

   24    doesn't even seek to elicit those statements.         We only seek to

   25    elicit this Defendant -- this witness' interactions with the



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 192 of 274 PageID192
                                                                              4066



    1    Defendant.    There may be slight variations.       He made those

    2    statements, you know, over two years ago.        So there might be

    3    very small variations in what he says, although I believe the

    4    substance of his testimony will be what is in those 302s.

    5               THE COURT:    And this is, in essence, the Defendant's

    6    espoused beliefs about Islam being the supreme religion and

    7    that deaths of the kuffar are justified under Islamic Law, and

    8    that he doesn't mind -- he wouldn't mind going into houses and

    9    shooting people and taking their things because that will be

   10    consistent with Islamic Law in his mind?

   11               MS. SWEENEY:    That's correct, Your Honor.       And

   12    additionally, the statements that the Defendant made to the

   13    witness about Osama Bin Laden which mirror what he says later

   14    in his martyrdom video and in other statements, that he

   15    supports Osama Bin Laden and what Osama Bin Laden did.

   16               And that, again, to show the Defendant's state of

   17    mind before the Government had any interaction with him at all,

   18    any Government agent had any direct interaction with him.

   19               THE COURT:    And so that's why in your mind it

   20    wouldn't be cumulative because it's intended to show that he

   21    was predisposed even before he encountered the current people

   22    who are part of this investigation?

   23               MS. SWEENEY:    Yes, Your Honor.

   24               THE COURT:    And we know from some evidence that he

   25    did not have any interaction with the CHS before this meeting



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 193 of 274 PageID193
                                                                              4067



    1    about which this witness would testify?

    2               MS. SWEENEY:    Well, Your Honor, we certainly could

    3    present evidence to that effect.       Essentially, it would be a

    4    recorded phone call between the two of them, between the CHS

    5    and the Defendant.     And it was in -- either in September or

    6    early October.

    7               Basically, the CHS calling the Defendant -- or I'm

    8    sorry, the Defendant calling the CHS and seeing if he could get

    9    a job.   So that kind of establishes the date of when their

   10    first meeting was.     It's not evidence, but Mr. Tragos also said

   11    in his opening that they met in September of 2011.

   12               THE COURT:    In this encounter in Chicago, was it?

   13               MS. SWEENEY:    It was -- yes, it was in Naperville,

   14    Illinois, outside of Chicago.       And it's in May and May and June

   15    or July of 2011.

   16               THE COURT:    All right.

   17               Yes, sir.

   18               MR. GEORGE TRAGOS:     Your Honor, again, if the Court

   19    allows this in, then we would have some requests because I

   20    think the only way this Court could let it in, and I don't

   21    think it does qualify, would be as some type of a

   22    predisposition that the evidence come in of the meetings with

   23    the CHS, at least the dates come in of his first contact with

   24    the CHS, otherwise that's not in evidence.

   25               So that's why I'm -- the prosecutor is saying some



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 194 of 274 PageID194
                                                                              4068



    1    things that are not in evidence to justify putting these things

    2    in.

    3               MS. SWEENEY:    I wouldn't object.      We certainly have a

    4    phone call that I believe establishes when their relationship

    5    began.   If we're going to do a stipulation on the payments, I

    6    wouldn't object to a part of that being the Defendant and the

    7    CHS first met on this date.

    8               THE COURT:    The predisposition is predisposition to

    9    commit the precise offenses charged in this Indictment or the

   10    predisposition to not like people who are not Islamic?

   11               MS. SWEENEY:    Well, Your Honor, I mean,

   12    predisposition has to be broader than simply the base act in

   13    the Indictment.    If you think about it in the context of a drug

   14    prosecution which is where this perhaps more often comes up, if

   15    someone claims entrapment, the Government will often introduce

   16    prior occasions on which that person has dealt drugs or that

   17    kind of thing.

   18               So it can't be just predisposition to commit the

   19    exact acts that are charged in the Indictment on the dates

   20    alleged.

   21               THE COURT:    But by your example in the cases that are

   22    either child porn cases or child enticement cases which is the

   23    other place the issue comes up, it is proof that the Defendant

   24    maybe molested someone at an earlier state, and when the person

   25    became an adult, they moved on to a different victim, often the



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 195 of 274 PageID195
                                                                              4069



    1    victim in the case then present or in the case of a drug case

    2    where a person has previously committed a drug crime or

    3    conspired to commit a drug crime, and there's a witness to that

    4    effect.

    5               Here, there is a difference in that the Government's

    6    contention as to the motive for the crime is his Islamic

    7    beliefs, however extreme they are suggested to be, but not the

    8    crime itself.

    9               And so, for example, if a person murders someone

   10    because they were of a certain race, and the person wasn't

   11    being charged with a hate crime, but was being charged with

   12    murder, and the Government's contention was their motive was

   13    race, do you contend the Government could go back and find some

   14    racist statements they had made a long time ago about people of

   15    that race and offer it as predisposition to commit murder?

   16               MS. SWEENEY:    I believe they could offer it as

   17    predisposition of the Defendant's intent because intent is one

   18    of the elements of this crime as it would be of murder.           And so

   19    the predisposition element is as to that.

   20               But, I mean, a secondary basis, Your Honor, is

   21    404(b), in the Government's eyes.       And this evidence is 404(b)

   22    evidence of his intent.      Essentially, he had this intent and

   23    this motivation prior -- well, that part is relevant only to

   24    predisposition, but he had this intent and this motive and he

   25    continues to have it through the commission of the instant



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 196 of 274 PageID196
                                                                              4070



    1    offense.

    2                THE COURT:   Yes, sir.

    3                MR. GEORGE TRAGOS:    Your Honor, but he did not commit

    4    an offense or even say he was going to commit an offense when

    5    he was in Chicago.     All he said was that -- that it's okay to

    6    do something that's wrong.      And that doesn't show that he did

    7    something that's wrong or he was going to do something that was

    8    wrong or he had a predisposition to do something that was

    9    wrong.

   10                THE COURT:   Well, you're each making different

   11    arguments, and when you like the argument as it relates to one

   12    of your positions, you focus on that, and when you like the

   13    argument as it relates to the other position, you focus on

   14    that.    There are two ways to get this in, one is predisposition

   15    and one is motive or intent under 404(b).

   16                MR. GEORGE TRAGOS:    Right.

   17                THE COURT:   The predisposition piece is a little bit

   18    more difficult for the Government in that there was no prior

   19    evidence of a crime of this type, but just now she's saying

   20    predisposition of motive, which I never heard of, and then your

   21    more difficult thing to overcome is the fact that this might be

   22    404(b) evidence of motive or intent.

   23                MR. GEORGE TRAGOS:    But it has -- I'm sorry.

   24                THE COURT:   So you don't believe that his statements

   25    frequently or in the past, that Islam permits blood letting and



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 197 of 274 PageID197
                                                                              4071



    1    shooting of the kuffar, is relevant to motive or intent here

    2    which is what the Government is contending his motive was here?

    3               MR. GEORGE TRAGOS:     That's correct.     It is -- because

    4    he has a certain religious belief that something is okay

    5    doesn't mean it's predisposition that he's going to commit a

    6    crime under the laws of the United States.

    7               The example, and I haven't thought it through, but I

    8    think this is a good example.       I can believe that it is legal

    9    to -- I can be a Hoppe Indian, that it's legal to smoke a

   10    certain illegal substance, or to use a certain illegal

   11    substance.    It doesn't mean that that makes me predisposed to

   12    use that illegal substance just because my beliefs as a Hoppe

   13    Indian is it's okay.

   14               And they shouldn't be able to introduce my Hoppe

   15    Indian beliefs to convict me if I later on commit a crime

   16    'cause that just was my belief and I was expounding my belief

   17    as I should.    And I think this even happened in a mosque, if

   18    I'm not incorrect.

   19               So he was expounding his religious beliefs and having

   20    a religious debate in a mosque of his religion.         And I don't

   21    think that that shows he's going to commit a crime and use

   22    weapons of mass destruction and possess an AK47.

   23               THE COURT:    All right.

   24               Well, I'll keep that under consideration.         We'll

   25    break till 3:30.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 198 of 274 PageID198
                                                                              4072



    1                (Brief recess.)

    2                Please recall the jury.

    3                (Jury returned to the courtroom.)

    4                Counsel, you may proceed.

    5                MS. SWEENEY:    Thank you, Your Honor.

    6                The next exhibit is Government's Exhibit 116.1.         A is

    7    the recording, B is the transcript.       This is a recording from a

    8    meeting between the Defendant and the CHS on December 29th,

    9    2011.    And we will be playing the whole thing.

   10                (Tape played )

   11    CHS:     So you gonna stop by after or in the morning?

   12    SO:     Probably in the morning.     You should go in the

   13    morning too

   14    CHS:     No, I can’t. No, I can’t, because it’s gonna be

   15    weird with Sami, no, let’s make it after noon prayers.

   16    [Background Noise] [UI]

   17    SO:     [UI] after prayers.

   18    CHS:     He knows when he comes and I’m not there he

   19    should call. There is no way that he would leave

   20    SO:     Yeah, God willing

   21    CHS:     Huh?

   22    SO:     There is no god but God, no Islam on my [UI].

   23    [UI] because people think [UI] read the Quran, read

   24    the Quran, ah?

   25    CHS:     [UI]



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 199 of 274 PageID199
                                                                              4073



    1    SO:    Its gonna be too late.     That’s how I feel.      When

    2    they are gonna learn?     Acqi [brother], man, no one

    3    sees the picture [UI]

    4    CHS:    I can’t, I can’t

    5    SO:    Don’t, I’m telling you, don’t ///

    6    CHS:    I already told you ///

    7    SO:    I’m telling you not to, I am just telling you don’t

    8    [UI] because you won’t be able to look yourself in the

    9    mirror.

   10    CHS:    I already have too much guilt ///

   11    SO:    You should not look yourself in the mirror.         I’m

   12    trying not to look myself in the mirror at all lately; I’m

   13    gonna fix my beard [UI]

   14    CHS:    It happened Iraq or Afghanistan?       ///

   15    SO:    Iraq.   Afghanistan, too, everywhere.       in

   16    Afghanistan they got prisons like in Iraq, rape

   17    prisoners. Three guys were doing something to one

   18    sister [UI], another guy was taking pictures, they were

   19    laughing [UI].

   20    CHS:    [UI] next to the car or far from the car, or ///

   21    SO:    [UI] van

   22    CHS:    Ok, over there?

   23    SO:    Yeah, [UI]

   24    CHS:    Ok, be careful and God willing we’ll see you

   25    soon; do you need any money, are you ok?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 200 of 274 PageID200
                                                                              4074



    1    SO:    Yeah, I’m ok

    2    CHS:    Do you have gas?

    3    CHS:    I don’t want to stuck in the highway

    4    SO:    I won’t [UI]

    5    CHS:    Huh?

    6    SO:    I [UI]

    7    CHS:    Are sure?

    8    SO:    Yes

    9    CHS:    Do you have gas, or do you want, I forgot to

   10    ask you

   11    SO:    If I need something I’ll tell you

   12    CHS:    Ok, God willing

   13    CHS:    You fix your breaks you said?

   14    SO:    Yeah, but something [UI] wheel bearing, like

   15    that, one guy said 180, the Serbian guy said 140, I

   16    don’t want to go to the Serbian guy anymore.         [UI] on

   17    the same day, you know what I mean?

   18    CHS:    Ok, God willing I’ll see you

   19    SO:    Peace be upon you

   20    CHS:    And peace be upon you, pray my brother

   21    SO:    God willing

   22    CHS:    May God reward you well

   23    CHS:    [UI] you got your keys, right?

   24    SO:    Yep

   25    CHS:    Take care, my dear



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 201 of 274 PageID201
                                                                              4075



    1    SO:    Pray because I [UI],     I have to, I have to be

    2    patient.    I have to.

    3    CHS:     You are good.   You’re learning.     Peace be

    4    upon you.

    5                (Tape concluded.)

    6                MS. SWEENEY:   Next is Government's Exhibit 117.2-A

    7    and B.    A is the recording, B is the transcript.        This is a

    8    recording of a meeting between the Defendant and the

    9    confidential source on December 30th, 2011.         Only going to play

   10    portions of this one beginning on page one and going through

   11    page three to start with.

   12                (Tape played )

   13    SO:    (UI)

   14    CHS:     Is he Arab?   Libya?

   15    SO:    He was there first time (UI) I don’t know

   16    CHS:     So tomorrow is, tonight is the uh, New Year

   17    Eve.

   18    SO:    Tomorrow.

   19    CHS:     Tomorrow's the first.

   20    SO:    Tomorrow's the thirty-first.

   21    CHS:     Oh.

   22    SO:    Tomorrow, I believe. right?

   23    CHS:     Tomorrow (UI) yeah, yeah, yeah.      Sunday,

   24    Sunday is the first day of the new year

   25    SO:    Sunday's the first.



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Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 202 of 274 PageID202
                                                                              4076



    1    CHS:    We'll be working.     They do fireworks here?

    2    SO:    I wanted to have [Whispering] my fireworks

    3    (UI) for the New Year’s Eve.

    4    CHS:    Depends on what part?     Where?

    5    SO:    Oh!   I know so many places, where they gather

    6    (UI) downtown St. Pete (UI) fireworks.

    7    CHS:    you can't just keep [UI] your mind moving from

    8    place to place

    9    SO:    I'm not moving [UI] don't worry about me.

   10    CHS:    I'm not worrying about it.

   11    SO:    I have two hundred million plans to Inshallah

   12    [God willing], in here.      I will go for the better plan. It’s

   13    not difficult.    You go,    people gather, you park your

   14    car next to them,     you know, get in a cab, call your

   15    buddy, and let it…

   16    CHS:    You're crazy.

   17    SO:    Alright

   18    CHS:    That's not easy though.

   19    SO:    No, it’s easy

   20    CHS:    It's not like what you think.

   21    SO:    It’s easy--

   22    CHS:    If you get nervous, you get stressed, you get

   23    something- -

   24    SO:    That’s from Shytan [satan].      You're not

   25    supposed to let those thoughts, you know, especially



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 203 of 274 PageID203
                                                                              4077



    1    if somebody's planning to do something like this,

    2    you're not allowed to tell him these bad things.          You're

    3    not allowed to cause [UI].      You know what [UI] is?

    4    CHS:    What, what, what I'm, last statement, what did

    5    you say about bad things?

    6    SO:    Not allowed to, when somebody's, before

    7    something like this, not allowed to give them awe,

    8    what if you get nervous

    9    CHS:    Oh, no, no, no, no.     I'm sorry, no, I don't mean

   10    that. But uh ///

   11    SO:    /// you're not supposed to say it.

   12    CHS:    No.    Well- - [Coughs]

   13    SO:    You're supposed to only say encouraging

   14    things (UI) you are suppose to say, Bissm Allah, la

   15    Ilah illa Allah, Allahu Akbar [In the name of Allah.

   16    There is no deity by Allah!       Allah is great!]

   17    CHS:    That’s 737,    you can hear it from the (UI) seven

   18    thirty seven.

   19    SO:    (UI)

   20    SO:    How do you say Christian butcher?

   21    CHS:    Huh?

   22    SO:    Christian butcher?

   23    CHS:    Masihi

   24    SO:    Not Messiah; Nasara

   25    CHS:    Nasara, Nasrani.Maisihi or Nasrani



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 204 of 274 PageID204
                                                                              4078



    1    SO:    Messiah, not thabiha? [sacrifice].

    2    CHS:    Thabiha? [sacrifice?] Is that what he's saying?

    3                 MS. SWEENEY:    Next, we'll go -- the next portion is

    4    from page four to page eight of 117.2-B.

    5    SO:     Christian butcher?

    6    CHS:    Butcher?   Christian butcher.

    7    SO:    How do you say it?

    8    CHS:    Like a man working?

    9    SO:    No a man that butchers Christians.

   10    CHS:    Butch, oh.    Uh    Bilarabi [in Arabic]?    Thabh Al-

   11    Salibyin [The slaughter of the Crusaders].         Al-Salibyin,

   12    min hom Al-Salibyin? Masihiin.[ Crusaders are the

   13    Christians. Christians] - -the Crusaders.

   14    SO:    Ah.   I wouldn’t say Christian, I don’t care about

   15    that.[UI]

   16    CHS:    Al-Nasara? [Christians?]

   17    SO:    Thabi Al-Nasara? [Sic] [Slaughter of

   18    Christains]?

   19    CHS:    Thabh Al-Nasara [Slaughter of Christians]

   20    SO:    Thabh [Slaughter]

   21    CHS:    Tathbah [To Slaughter]      Ya Allah [Oh my God].

   22    When you slaughter the animals what do you say?

   23    Bissm Allh [In the name of God]       The animal stops

   24    breathing.    Sobhan Allah [Praise God]      You put the

   25    knife and you just [Noise].



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 205 of 274 PageID205
                                                                              4079



    1    SO:    But that's what I asked [UI]- -

    2    CHS:     [OV]   Like you said, “Allahu Akbar [God      is

    3    great]    You don’t say “Bissm Allah Al-Rahman Al-

    4    Rahim”, [“In the name of God the Merciful, the

    5    Compassionate”]      Why?

    6    SO:    Because, that’s it [UI]

    7    CHS:     There is no mercy at that point to say Al-

    8    Rahman Al-Rahim [The Merciful, the Compassionate]

    9    So you can't go- -

   10    SO:    So for the Koffar [infidels], Koffar [infidels],

   11    there is no Allahu Akbar [God is Great]        no nothing.

   12    You can say Allahu Akbar [God is great] to scare

   13    them but there is no Bissm Allah [in the name of God

   14    the Mercifu]l- -

   15    CHS:     [OV] You see a lot of videos.      I [laughing]

   16    haven't seen one, I don't know.

   17    SO:    No, I am talking about Sourat Al-Tawbah

   18    [Repentance Chapter] --

   19    CHS:     [OV] Ya Akhi [By God brother]- -In Syria, there

   20    is a lot of massacres, and the Arabs are not doing

   21    their job that they are supposed to.

   22    SO:    That’s exactly, you said it right. Arabs.

   23    Because there is a difference between Arabs and

   24    Muslims.    Those people are nationalistic Arab legal

   25    nations, may Allah [God] destroy them, those people



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 206 of 274 PageID206
                                                                              4080



    1    are Kofar [infidels], controlled.        [cough] Why you think

    2    they’re not doing nothing? 'cause America loves

    3    what’s going on.     They put that dog in office, the West

    4    has put that dog in office so you can’t.

    5    CHS:    What time is it?     About- -

    6    SO:    Almost [UI]

    7    CHS:    - - almost three?     (UI) Ya Allah, Ya Allah [O

    8    God, O God]     What is that missing (UI)?

    9    SO:    Huh?

   10    CHS:    Light

   11    SO:    Down there?

   12    CHS:    Yeah.

   13    SO:    It’s been like that for 7 years.

   14    CHS:    Is it fixing ah [UI] bearing?

   15    SO:    Wheel bearing, wheel bearing.

   16    CHS:    Wh ///

   17    SO:    /// The thing that holds your wheels.        That's

   18    what's making noise ///

   19    CHS:    /// tick, tick, tick, tick when you go all the way

   20    from left to right?

   21    SO:    No, no, no, no.    (UI)

   22    CHS:    Is it dangerous?

   23    SO:    They said if gets worse, it can make a lot of,

   24    cause damage, I don't know, if, if it falls off maybe you

   25    can wheel, I don't know.



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 207 of 274 PageID207
                                                                              4081



    1    CHS:    Listen, you gonna get rid of it?

    2    SO:    Uh, I don't care what happens when I leave,

    3    Inshallah. [God willing] (UI) It’s only me and you

    4    Inshallah [God willing]      Sunday he gonna teach me

    5    how to do it in the back.

    6    CHS:    Here?

    7    SO:    Yeah.

    8    CHS:    I'll have to take the camera system, otherwise I

    9    will be in deep shit, they will stick me for you.

   10    SO:    No but can't you…

   11    CHS:    Ah ///

   12    SO:    /// Just unplug the camera system right?

   13    CHS:    What about if he doesn’t feel well; feel ill?         I

   14    mean this guy's a professional.       We cannot just tell

   15    him what to do.    Maybe yes me and you we can (UI)

   16    things the way that we wanted and then we come up

   17    with solution.    But that guy is not, he's not gonna take

   18    a risk, period.

   19    SO:    He doesn’t trust you?.

   20    CHS:    He doesn't trust me?     He's not stupid, come

   21    inside a building like this when       I don't know where he

   22    decide to go, but he must ///

   23    SO:    /// (UI) decide to go to a warehouse ///

   24    CHS:    /// he must have, huh?

   25    SO:    I told him I know a warehouse.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 208 of 274 PageID208
                                                                              4082



    1    CHS:    He must have something.      I mean ///

    2    SO:    /// (UI) decide to go to a warehouse ///

    3    CHS:    /// he, he should arrange it and add it to the bill,

    4    even if he's going to go to a hotel or he's traveling a

    5    lot he can manage.     But I think that this is very, very,

    6    very wrong ‘cause if he jump in here, I’ll be monitored

    7    and he said to make sure that he look at… come on

    8    man, don't be nuts.     Think wisely and be uh, realistic.

    9    SO:    He comes in the car tomorrow.      And as a

   10    saleperson selling the flags (UI) some flags.

   11    CHS:    What about if we have, as you said, you are

   12    being checked since you moved here, they put a (UI).

   13    what about, uh, just, just      in case, what about if I have

   14    [UI] what about if he refuse you have to have

   15    something reasonable; I am not       unreasonable, I

   16    wouldn't even take it…

   17    SO:    Ok then   ///

   18    CHS:    /// the guy's over there, what about if they walk

   19    and they (UI) I mean, come on.

   20    SO:    (UI) They might hear as, you never know

   21    where they are, but them he thought it is a good idea.

   22    CHS:    Yeah, he's, he's going back and forth and ///

   23    SO:    /// but he said it is a good idea.

   24    CHS:    He can, he can arrange any (UI) on shore in

   25    St. Pete or Clearwater where ever you want it.         You



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 209 of 274 PageID209
                                                                              4083



    1    have to tell him where's the location, how big is it, so

    2    he will arrange the things properly you cannot just go

    3    and if you want to tell him, five thousand square foot

    4    then you tell him I need a couple of (UI) come on, you

    5    have to tell him what do you have in mind.         At least he

    6    will prepare the things like- -

    7    SO:    I already told him what I want.

    8    CHS:    Yeah but he, things moving last time (UI)

    9    SO:    Who said that?    I said if we had more people,

   10    you're not listening, I still got my original plan.          I’m

   11    not…you’re memory is bad.      I…

   12    CHS:    I am, honestly, I'm tired, I'm tired and I wanna

   13    just go I might leave and go-- how' you doing?

   14    CHS:    Bodko ride ya shabab [Hey guys! do you need

   15    a ride?]

   16    CHS:    Wallahy? By God? You need a ride?

   17    CHS:     Oh, okay!

   18    SO:    (UI) car ///

   19    CHS:    /// Oh, I'm sorry.

   20    SO:    Stop accusing me man.

   21    CHS:    I'm not accusing habibi [boddy] Wallah [By

   22    God] Iam sorry

   23    SO:    /// My original plan is my original plan.        I said if I

   24    had three more people, we would all bridges

   25    and that.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 210 of 274 PageID210
                                                                              4084



    1    CHS:     Akhi, [Brother], listen.     [whispering] (UI) There’s

    2    a lot of hotels on University Avenue, and Fowler.          (UI)

    3    SO:     (UI) get a car.

    4    CHS:     from the rental car?

    5    SO:     No I need to get a car and fill up the trunk.

    6    CHS:     You don’t want to do that.

    7    SO:     I can't go with   this, I don’t want to be tracked.

    8    CHS:     I think your father would be in trouble. I don’t

    9    know

   10    SO:     I don’t care

   11    CHS:     But if you, if you don't care (UI)

   12    [Both men speaking quietly]

   13    SO:     (UI)   The thing is it’s being tracked.

   14    CHS:     (UI) Since you came from Chicago?

   15    SO:     I don't trust (UI) I don't trust      the car (UI) get a

   16    car but (UI) get’s it, I’ll do my thing (UI).

   17    SO:     It has to be in the morning time.

   18    CHS:     Uh, afternoon is better.

   19    SO:     (UI) load something so, push it (UI) wind.        Put it

   20    downwind (UI) travel slower, and takedown…

   21    CHS:     Oh, you talking about the car?

   22    SO:     No the…The one (UI)

   23    CHS:     How many things you gonna do at the same

   24    time?

   25    SO:     Car I’m gonna do first,     get out of the car, park



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 211 of 274 PageID211
                                                                              4085



    1    it, I’m gonna walk away (UI) call the number (UI) give

    2    a shock

    3    CHS:    Oh, so like the movies.

    4    SO:    they don't expect this, they gonna all pay

    5    attention to one thing.

    6    CHS:    So they come to investigate and you start- -

    7    SO:    (UI) movement (UI)

    8               (Tape concluded.)

    9               MS. SWEENEY:    The next exhibit is Government's

   10    Exhibit 119.1-A and B.     A is the recording, B is the

   11    transcript.    And we're going to play the whole part.        And I'm

   12    sorry, this is from a meeting between the Defendant and the

   13    confidential source on January 4th, 2012.

   14               (Tape played )

   15    SO:    [UI] Does Zekos have to go to?

   16    CHS:    I'm sorry?

   17    SO:    Zekos has to go?

   18    CHS:    Yeah, why?

   19    SO:    You want something? I'll go pick something up.

   20    CHS:    We can eat here if you want to.

   21    SO:    If you want we...

   22    CHS:    What, what'd you want to eat.

   23    SO:    Whatever you think is good. (UI).

   24    CHS:    Uhm.   Do you want to pick me sandwich

   25    Falafel?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 212 of 274 PageID212
                                                                              4086



    1    SO:    Write it down please, I'm not good with [UI].

    2    CHS:    You know what you want to eat?

    3    SO:    I'll see.

    4    CHS:    You see what?

    5    SO:    The menu.    Use some printer paper.

    6    CHS:    Huh. If they tell you what to put on it, tell them

    7    everything.

    8    SO:    Everything.

    9    CHS:    Yeah, let me give you some money.       [Noise]

   10    No, no, no wait, wait, wait, wait!

   11    SO:    (UI)

   12    CHS:    No, look.

   13    SO:    (UI) Parking lot. [Loud sound of prayers and

   14    reciting of the Qur’an. ]

   15               (Tape concluded.)

   16               MS. SWEENEY:    Next one is Government's Exhibit

   17    119.2-A and B.     And again, it's from the meeting on

   18    January 4th, 2012.     And we'll play the whole piece.

   19               (Tape played )

   20    SO:    And he has cheap used tires?

   21    CHS:    Yeah, yeah.

   22    SO:    Okay.

   23    CHS:    (UI).

   24    SO:    How much money you owe me?

   25    CHS:    How much I, how much you want?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 213 of 274 PageID213
                                                                              4087



    1    SO:    Well how much is the tire, I don't need all of it?

    2    I need one tire.

    3    UM:    You want used tires.

    4    SO:    Yeah, I don't want to buy new ones I have to

    5    change the alignment cause it's eating everything up.

    6    UM:    What kind of car is it?

    7    SO:    Ninety-four Honda Accord.

    8    CHS:     Honda Accord, is it drivable?

    9    UM:    The front tires, huh.

   10    SO:    (UI) the one at least is already peeling off.

   11    CHS:     Oh!

   12    SO:    A couple of days.

   13    UM:    We got new tires, twenty-five, thirty dollars.

   14    CHS:     Yeah. twenty thirty dollars.

   15    SO:    Just give me seventy, I might change both.

   16               (Tape concluded.)

   17               MS. SWEENEY:    Next is Government's Exhibit 120.2-A

   18    and B.   A is the recording, B is the transcript.         This is a

   19    recording of the meeting between the Defendant and the CHS on

   20    January 7th of 2012.     And we'll begin by playing the portion

   21    that appears on page two of the transcript.

   22               (Tape played.)

   23    CHS:     Anywhere.   Anywhere.

   24    CHS:     Anywhere.   Anywhere.    Just.

   25    SO:    Park here and...    Park here!



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 214 of 274 PageID214
                                                                              4088



    1    CHS:    hum?

    2    SO:    Stop!

    3    SO:    [UI].

    4    CHS:    Hum?

    5    SO:    [UI].

    6    CHS:    Yeah.   Gi-give me a second.     It’s okay.

    7    SO:    [IA].

    8    CHS:    Huh?    Shut it off.

    9    SO:    [IA].

   10    CHS:    Umm

   11    SO:    It’s not good.

   12    CHS:    Hum?    I don’t wanna talk.

   13    SO:    [IA].

   14    CHS:    [IA] [SC]

   15    SO:    [IA].

   16    CHS:    [IA].

   17    SO:    Yeah.

   18    CHS:    You know I’ve been sick...      [SC].    I have been

   19    sick yesterday

   20    SO:    You know how sick I've been?      [SC].   Me too.

   21    I've been sick two days.

   22    CHS:    Uhh!

   23    SO:    I felt so good last night and today, since I have

   24    gotten no sleep, I feel bad but

   25    CHS:    Just take a little sleep [IA]



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 215 of 274 PageID215
                                                                              4089



    1    SO:    [SC].     [UI] Allah [God]

    2    CHS:     [IA]

    3    SO:    [UI] Allah [God].

    4    CHS:     [UI] going to the bathroom about 20 times.        I

    5    have diarrhea and [UI].      Uh, man, I don’t know.

    6    SO:    Maybe Allah [God] is cleaning you out for the

    7    final.

    8    CHS:     La Ilaha Ila Allah, Muhammad Rasul Allah

    9    [There is no God but God and Muhammad is the

   10    messenger of God].     [UI] once it goes

   11    SO:    [IA].

   12    CHS:     No, I cannot [IA].

   13    CHS:     Wallahi [By God], it’s not [IA].      I can’t.

   14    SO:    [IA].

   15    CHS:     Huh?

   16    SO:    [IA].

   17    CHS:     Away?

   18    SO:    Right!

   19    CHS:     Like what?

   20    SO:    If you give me your car.      I’ll give you the car

   21    and [UI] bring your car [IA]

   22    CHS:     Akhi [brother], no.    I can’t.    I’m sorry, I’m not

   23    ready. I’m chicken.

   24    SO:    [UI] camera [UI].

   25    CHS:     Huh?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 216 of 274 PageID216
                                                                              4090



    1    SO:    [IA].

    2    CHS:     Ye

    3                  (Tape stopped.)

    4                  MS. SWEENEY:   The next portion is on pages seven to

    5    eight of the transcript in 120.2.

    6                  (Tape played.)

    7                  Ah, it's okay.    It's okay.   [IA] think about it.

    8    There is nobody following you.       Just take your car and

    9    relax.

   10    SO:    I'm not going to take my car because it's being

   11    tracked, you don't understand.       And the longer you

   12    stay here they will come here.       Last time when I left

   13    the store, I stopped at the gas station to pray.          I saw a

   14    homeless person, came down, I want to pray with

   15    you.   Man, you can’t pray with me, I only pray with

   16    Muslims.      He's like, no, I believe in God.     I'm like, no,

   17    you believe in your own version of God.        So, I told him

   18    about Islam, he took the shahadah [testimony] and we

   19    pray together and then I left.       I [UI] because he was

   20    smelling like alcohol.       I didn't want him to be [IA].     So,

   21    I left somewhere further and I pulled over to pray and

   22    I took my time.      All of a sudden a plane, helicopter,

   23    and a car came, on the middle of the road he parked.

   24    Watching!      He wasn't-- he didn't come in the parking

   25    lot.   He parked on the road.      So, they're tracking my



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 217 of 274 PageID217
                                                                              4091



    1    car.

    2    CHS:    When was the last time?

    3    SO:    Today, because they were coming. [UI].

    4    CHS:    La Ilaha Ila Allah [There is no God but God].

    5    What do you want to do?       What is the plan?

    6    SO:    He said he could get a second car, another

    7    car.   [UI]

    8    CHS:    Who?

    9    SO:    The guy.

   10    CHS:    He said that?

   11    SO:    Yes.

   12    CHS:    [IA] another car coming [IA] 2000.

   13    SO:     [IA] the car.

   14    CHS:    I thought you told me, this is the one you

   15    needed.

   16    SO:    Have another car, drive away.

   17    CHS:    Maybe he...    I didn’t talk to him, period.       He

   18    just came, Samir [PH] was there, Nadir was there, he

   19    give me a piece of paper

   20    SO:    I thought you said, [IA] I thought you worked.

   21    CHS:    No.    He refused.    Tomorrow, he has wedding.

   22    He refused completely.       I just can’t

   23    SO:    [IA].

   24    CHS:    --I just...    Huh?    Well, that would be obvious.

   25    SO:    I didn’t know [IA].



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 218 of 274 PageID218
                                                                              4092



    1    CHS:    Oh, yes, tomorrow I'm gonna be in [IA].

    2    SO:    Insha’ Allah [God willing], [IA].

    3    CHS:    The whole [SC], the whole town is gonna go

    4    SO:    [IA].

    5    CHS:    La Ilaha Ila Allah [There is no God but God].

    6    I’m

    7    SO:    [IA].

    8    CHS:    Why don’t you take a cab?      Why do I have to

    9    take you there     instead of

   10    SO:    [IA].   [IA] go back and wait.     Ever since we

   11    made the phone call, [IA], they’ve been following me

   12    cause, [IA].

   13    CHS:    What, which phone?

   14    SO:    Remember the one phone I had

   15    CHS:    You said you destroyed it.

   16    SO:    Yes.    [SC].   But, every since I made that phone

   17    call to him

   18    SO:    they start following me for a while.        [UI] do you

   19    trust these guys?

   20    CHS:    He'll phone you again.

   21    SO:    Today, after I drove my mother while I was

   22    driving back and delivered some bread to the store

   23    that buys the bread.

   24    CHS:    Uh-huh!

   25    SO:    Somebody text me asking to meet me at [IA].



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 219 of 274 PageID219
                                                                              4093



    1    Abdallah’s address.

    2    CHS:     No way!

    3    SO:    Yeah, where he lives, exactly where he lives.

    4    CHS:     Maybe ‘Abdallah?

    5    SO:    No.

    6    CHS:     Did you call him?

    7    SO:    No, I deleted his number, I don't talk to him

    8    anymore.      But, he, he would have known that he

    9    doesn't talk to [UI].      He said I don't really

   10    CHS:     Did you see Salah al-Din?      Yesterday or

   11    today?   And

   12    SO:    He said they followed him like crazy [UI].         So,

   13    I’m [UI].      I-I didn’t...    I only saw him inside the masjid

   14    [mosque].      Outside, no contact.

   15    CHS:     Uhum.    Did you tell him when you do it?

   16    SO:    [UI]

   17    SO:    [UI] I told him.       He knows [UI].

   18    CHS:     [UI].    Let me tell you something, I did not even

   19    look at it.      I did not!    So, if somebody ask me, I’ll tell

   20    him, I swear I don’t know.         I do not look at it.

   21    [background far conversation].

   22    SO:    Umm.     I didn't say nothing, I had the car, man.

   23    SO:    Go driving, go driving slow, and I walk the rest.

   24    CHS:     Do you know where we're going?

   25    SO:    I don't know where it's at, I know.       But, I wanna



                CLAUDIA SPANGLER-FRY       OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 220 of 274 PageID220
                                                                              4094



    1    see it.

    2    CHS:     Go and meet just see where it is.      I don’t know

    3    [UI].

    4    SO:     Seven p.m. today, Days Inn Tampa bay,

    5    Melbourne Boulevard, [UI].

    6    CHS:     Where's that?   Huh?

    7    SO:     I don’t know.

    8    CHS:     La hawla wala quwwatah illa billah [there is no

    9    power and no strength save in God].

   10    SO:     That’s [UI].

   11    SO:     I don’t like [UI], he was supposed to give me

   12    one of these.    [UI] No, they’ll you have you arrested.

   13    CHS:     [UI] don't have anything, suppose [UI].

   14    SO:     No, with this, I wanted a long time ago. [UI]

   15    CHS:     As long as you don’t have anything suppose,

   16    suppose they following you and they pick you up.

   17    You get nothing.

   18    SO:     Okay, but the thing is, why didn’t he get me

   19    one?    I don't trust him because of that.      If I had one, I

   20    don't care who he is and who’s there, clack, clack,

   21    clack...    You met him seven years [UI].

   22    CHS:     [UI] you gotta learn to walk out [UI].

   23    SO:     It doesn’t matter [UI] because you met him

   24    seven years ago, right?

   25    CHS:     Yes.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 221 of 274 PageID221
                                                                              4095



    1    SO:    You met him seven years ago when you came

    2    to [UI]?

    3    CHS:    [UI].

    4    SO:    It could’ve been the government.       Listen, and

    5    [UI] one time you wanna [UI] go there to [UI].         I don’t

    6    care even if he had [UI].      That’s why I wanted one of

    7    these [UI].     I don’t trust nobody [UI].     [UI] came in the

    8    morning, I thought he was [UI], I thought no body [UI]

    9    and when you come, I'll go tell him to bring one of

   10    these [UI].

   11    CHS:    [UI] understand because [UI].       He’s gonna

   12    come and he’s gonna [UI].      I wasn't planning to come.

   13    I mean every time I come, I tell him, man, I've been

   14    gone for [UI] close and close and close and close.           I

   15    went to four, five walk-in clinic today.

   16    SO:    Akhi [brother] we gotta make salat [prayer], we

   17    gotta get going.     Let’s go!

   18    CHS:    Where do you want me to go?

   19    SO:    Go into my car, [UI].

   20               (Tape stopped.)

   21               MS. SWEENEY:    And the final portion we'll play from

   22    this exhibit is on pages nine and 10 of the transcript.

   23               (Tape played.)

   24    CHS:    Did you lock it this time?

   25    SO:    Yeah.    I don't care what you do with it.      The



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 222 of 274 PageID222
                                                                              4096



    1    flags are there, what can I do.

    2    CHS:    [UI].

    3    SO:    I don’t know.

    4    SO:    I got...   if I get a room and I do the hijra

    5    [migration] tonight.     I don’t know where I’m gonna

    6    leave the camera.     I was hoping to give it to you.       I

    7    want to do yesterday with Salahdeen, the masjid

    8    [mosque] is usually empty. [UI].

    9    CHS:    [UI].

   10    SO:    No, I'm glad these people know [UI].

   11    CHS:    That's not, no, that's not right.

   12    SO:    I can still do it, listen, I can leave this

   13    somewhere, I don't care.      But, I have to talk to him

   14    right now.    We have to make salat [prayer]. [UI].

   15    What kind of plan is this?      We said somewhere on

   16    Bush Boulevard.    What kind of plan is this?

   17    CHS:    I have no idea, akhi [brother].       You talked to

   18    him, you said

   19    SO:    I told him, Busch Boulevard,

   20    CHS:    I didn't even talk to him he just gave me this

   21    and left

   22    SO:    We plan on meeting at seven, like I'm driving

   23    with my car, I just meet him at seven.        If I even take

   24    my car, I’ll meet him at eleven so he [UI] they’ll follow

   25    me.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 223 of 274 PageID223
                                                                              4097



    1    CHS:     That's... I thought you said, you

    2    SO:     He   he said   he said he’s gonna rent a car and

    3    but I can't.      So, if I can [IA] put this down, that's what I

    4    think I will [UI]... I need more [UI].

    5    CHS:     Yeah, I think, I think we should go and pray.

    6    We go pick your car and then we go and get you

    7    printed direction

    8    SO:     No, no, no, no, no.    Talking little crazy.      No

    9    driving to go get my car.      I already told you.     he has

   10    other car, why?

   11    CHS:     I have no idea [UI]

   12    SO:     I [UI], you know him?

   13    CHS:     No!

   14    SO:     Okay.    Let’s not leave, so I know where my car

   15    is.

   16    CHS:     What?

   17    SO:     Let’s not leave, so I know where is my car.

   18    CHS:     Oh, this address?

   19    SO:     Yeah.

   20    CHS:     Yeah, it's in the mall.     This is University Mall.

   21    SO:     On Fowler?

   22    CHS:     Yeah.

   23                 (Tape concluded.)

   24                 MS. SWEENEY:   Next is Government's Exhibit 120.A and

   25    B.    A is the recording, B is the transcript.       This is the



                 CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 224 of 274 PageID224
                                                                              4098



    1    continuation of the meeting between the Defendant and the CHS

    2    on January 7th of 2012.

    3                MR. GEORGE TRAGOS:    What did you say?

    4                MS. SWEENEY:    120.3.   And we'll be playing from the

    5    beginning through page three of the transcript.

    6                (Tape played.)

    7    SO:     I don’t think they [UI], I don't know.       But, I-I don’t

    8    think it's open five time a day.       Just go somewhere where we

    9    can pray.    Cause we're waiting.

   10    CHS:     Ya Allah [O lord].    We need to know the address, that's

   11    all.    So, I can drop you close to it.      How are we gonna know

   12    that?

   13    SO:     Let’s go make salat [prayer].     Without making salat

   14    [prayer], I can't think.

   15    CHS:     Okay.

   16    SO:     I have to get water, I'm dying of thirst, I'm hungry--

   17    CHS:     Uhh--

   18    SO:    ... I'm sick.   I'm tired.    Insha’ Allah [God willing]--

   19    CHS:     I’m looking [UI] masjid [mosque]… masjid [mosque]--

   20    SO:     Insha’ Allah [God willing]--

   21    CHS:    ... ‘Umar’s masjid [mosque] and...

   22    SO:     [UI].

   23    CHS:     [coughing loud].

   24    SO:     [UI].

   25    CHS:     [coughing].   Uh, Astghafar Allah Al-‘Azim [I ask the



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 225 of 274 PageID225
                                                                              4099



    1    almighty God’s forgiveness].      I don't know where to go, tell

    2    me.

    3    SO:     Go to the gas station so I make wudu’ [ablution]. We can

    4    pray in the car if we have to.

    5    CHS:     It’s just...     Yeah, I understand, but my stomach is

    6    cramping    [UI].

    7    SO:     Go to K-Mart or Wal-Mart, get a bottle of water, go to

    8    the rest room.

    9    CHS:     [UI].

   10    [car door closes].

   11    SO:     [UI].

   12    CHS:    ... and pray?

   13    SO:     [UI] take them [UI]--

   14    CHS:     No, no, no, no, no.    Don't make mistakes like that.       Why

   15    should we go now [UI]?

   16    SO:     Well, you gotta go pray and then just drop me off.         Buy

   17    me a water and drop me off.      ‘Cause, I’m not gonna wait

   18    forever.

   19    [driving noise].

   20    CHS:     [UI].

   21    SO:     [UI].

   22    CHS:     But, this is emergency now.     Now, I’m, I’m glad we lost

   23    them.    I’m local now.    But I need to drop you off somewhere

   24    [UI].    [UI] nervous and I am not focusing, where do you want me

   25    to take you?



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 226 of 274 PageID226
                                                                              4100



    1    SO:    [UI].

    2    [radio turned on in the background].

    3    CHS:    Now, did he reserve the room?

    4    [UI conversation].

    5    [loud traffic noises].

    6    CHS:    I’m gonna get you a sandwich.

    7    SO:    I just need some water.

    8    CHS:    I need to give you a sandwich, so you can eat or take it

    9    with you.   Get you a drink and you pray by the car.         I'll get

   10    you the sandwich and I might find somewhere to drop you off.

   11    Is that okay?

   12    SO:    That is okay.

   13    CHS:    I don't there is a sign of anybody following us.          So,

   14    just don’t let me make an accident.       Things would be okay.      Um,

   15    um, akhi [brother], wallahi [by God], I’m [UI].

   16    SO:    [UI].

   17    CHS:    [UI] some time I’m not gonna go far.        I’m just gonna get

   18    you this halal [permissible] sandwich [UI].

   19    [Loud radio in background].

   20    CHS:    [UI].

   21    SO:    [UI].    They should.

   22    CHS:    Hum?    What'd you mean they shouldn't?

   23    SO:    I said they should.

   24    CHS:    It’s a restaurant.     They have to.

   25    SO:    Bottle water, they don’t have nothing [UI].



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 227 of 274 PageID227
                                                                              4101



    1    CHS:    You don’t wanna—you don’t wanna eat?

    2    SO:     Get to the drive through.

    3    CHS:    Yes, yes.     But, the...    I’m sorry, what do you want--you

    4    want me to make you, um, uh, [UI] chicken, uh...          What'd you

    5    want?   Falafel sandwich?

    6    SO:     No!    Can't do nothing, just a salad.     Chicken salad.

    7    Chicken salad.      Chicken salad.    Listen, man, I'm sick, I can't

    8    eat.    Plus, I haven't slept like [UI].      [UI] Alhamdu lillah

    9    [Praise be to God], [UI] cause I’m, I keep [UI] hope [UI].

   10    [UI] call me, I didn’t [UI].

   11    [car door closes].

   12    SO:     [UI] back at the store.      One more [UI].   [UI] one there

   13    in the morning [UI].

   14    CHS:    I cannot convince him [UI]--

   15    SO:     [UI] I can't sleep now.      I look terrible, I feel [UI].

   16    Let me go make [UI].

   17    CHS:    Okay.     I'll--I'll met you in the, in the street.       After

   18    the [UI].

   19    SO:     [UI]    [SC] bottle of water [UI], a bottle of water.

   20    [car door closes].

   21    [short pause].

   22    UF:     [UI], can I help you?

   23    CHS:    May I have a chicken salad, please.

   24    UF:     Number six?    You said number six, right?

   25    CHS:    No, chicken salad.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 228 of 274 PageID228
                                                                              4102



    1    UF:    [UI].

    2    CHS:    Uh... where are they, which number are they?

    3    UF:    --[UI].

    4    CHS:    Which number are they, the chicken salad?--

    5    UF:    [UI], I don't understand what you're saying.

    6    CHS:    I need a grilled chicken salad b--small.

    7    UF:    Okay, okay, anything else?

    8    CHS:    Uh, bottle of water.

    9    UF:    Okay, thank you.

   10    [power window].

   11    [long pause].

   12    CHS:    Come on!   [UI].   Ouf!   [exclamation of dismay].

   13    [pause].

   14    CHS:    [UI]?

   15    [car door closes].

   16    SO:    I’m the one who prayed.

   17    CHS:    Hum?

   18    SO:    I’m the one who prayed.

   19    CHS:    The guy thinks he’s the [UI].       He’s chatting with her...

   20    Stupid!

   21    SO:    [UI].    Do they have water?    [UI].

   22    CHS:    Astghafar Allah Al-‘Azim [I ask the almighty God’s

   23    forgiveness].    I ordered the water--

   24    SO:    [UI]?

   25    CHS:    Umm.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 229 of 274 PageID229
                                                                              4103



    1    [rustling sound].

    2    CHS:    I [UI] that much money.      [sighs].   Ya Allah [O Lord]!

    3    SO:    Roll the window up!

    4    [sound of power window].

    5    CHS:    What?

    6    SO:    [UI].

    7    CHS:    [UI sentence].    Do you want them to do [UI] ?

    8    [sound of power window].

    9    UF:    Seven seventy-nine, please.      You ordered a salad and a

   10    bottle of water, right?

   11    CHS:    Right.

   12    UF:    Thank you.    Here you are.

   13    CHS:    Thank you.

   14    UF:    You're welcome.

   15    [far and muffled voices].

   16    CHS:    [UI].

   17    SO:    [UI].

   18    CHS:    Hum?

   19    [sound of power window].

   20    SO:    [UI] when you go to [UI], [UI].

   21    [sound of power window].

   22    UF:    Have a nice night.

   23    CHS:    Thank you.

   24    UF:    Thank you.

   25    [sound of power window].



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 230 of 274 PageID230
                                                                              4104



    1                (Tape concluded.)

    2                MS. SWEENEY:   The next Exhibit is Government's

    3    Exhibit 120.5-A and B.     The transcript is A and the recording

    4    is B.    The transcript again from the January 7th, 2012 meeting

    5    between the Defendant and the confidential source and we're

    6    going to play the whole thing.

    7                (Tape played.)

    8    SO:     Let me tell you something...

    9    CHS:     Uhh.

   10    SO:     [UI] look to the right back there.      Look to the right

   11    [UI] look to the right [UI].

   12    CHS:     Okay, you know what...

   13    SO:     I’m just--

   14    CHS:     Okay, that's fine, that's fine.      Don't worry about it.

   15    [loud traffic noises].

   16    CHS:     Okay!   Come on, come on, come on!

   17    [loud radio in the background].

   18    CHS:     [UI] if I miss [UI]. After I go to 40th--

   19    SO:     [UI]--

   20    CHS:     How…how…how…how far?...     No, to fortieth Street.

   21    SO:     [UI].

   22    CHS:     No, but I need to see the distance how, how many miles.

   23    Alright, good.

   24    SO:     [UI] stay right [UI].

   25    CHS:     [UI], okay?



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 231 of 274 PageID231
                                                                              4105



    1    SO:    [UI].

    2    CHS:    Is that what you're talking about

    3    SO:    No!   [UI].

    4    CHS:    That’s fine.    Everybody is passing me.      Now, [UI],

    5    there's nobody in the street now.

    6    SO:    Nobody.

    7    CHS:    Huh?

    8    CHS:    Huh?

    9    SO:    [UI].

   10    CHS:    [UI].

   11    [driving noise].

   12    CHS:    [sighs].     [UI].   I don’t wanna [UI].    Okay, how--how

   13    many miles you said?

   14    SO:    One, point five.

   15    CHS:    One, point five and then Melbourne?

   16    SO:    [UI].

   17    CHS:    Okay, and then make what?

   18    SO:    [UI].    [UI] 49.

   19    CHS:    Forty-nine, what--

   20    SO:    [UI].

   21    CHS:    Huh?

   22    SO:    That’s the [UI].

   23    CHS:    Left at Melbourne?

   24    SO:    Melbourne.

   25    CHS:    Melbourne.    Left?    Here's 41.



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 232 of 274 PageID232
                                                                              4106



    1    SO:    [UI].

    2    CHS:    Hum?

    3    SO:    Where the money is?

    4    CHS:    I gave you the money.

    5    SO:    For... that’s for hotel?

    6    CHS:    Uhm... I, uh... I am not sure.

    7    SO:    Hotel is about fifty bucks.

    8    CHS:    I know.    I [UI] from [UI].    I don’t see it from my

    9    wallet. [UI]

   10    SO:    [UI].

   11    CHS:    [UI] all the way.

   12    SO:    [UI].

   13    CHS:    Nothing?    I’ll, I’ll, I’ll give you something [UI].

   14    SO:    [UI].

   15    CHS:    No, [UI].    [UI] you have to take from [UI].       I don’t see

   16    it from [UI].     You said one point one--

   17    [loud radio in the background].

   18    SO:    No.   The [UI].

   19    CHS:    Yeah, but you...

   20    SO:    [UI].

   21    CHS:    Yeah but you said after [UI] inform me.

   22    SO:    One point five.

   23    CHS:    Ya akhi [O brother], [UI].

   24    Go

   25



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 233 of 274 PageID233
                                                                              4107



    1               (Tape concluded.)

    2               MS. SWEENEY:    Your Honor, may I have just a moment?

    3               THE COURT:    Yes, ma'am.

    4               MS. SWEENEY:    Your Honor, at this time, that

    5    concluded the portions of the CHS recordings that the parties

    6    wanted played.

    7               THE COURT:    All right.

    8               Please call your next witness.

    9               MS. SWEENEY:    Your Honor, next the Government would

   10    offer Government's Exhibit 22 which is the stipulation of the

   11    parties.

   12               THE COURT:    Yes, ma'am.    You may publish it.

   13               MS. SWEENEY:    Thank you, Your Honor.

   14               THE COURT:    This is a stipulation that will be read

   15    to the jury of certain things the parties have agreed to.

   16               Counsel.

   17               MS. SWEENEY:    Thank you, Your Honor.

   18               The United States of America, by the undersigned

   19    Assistant United States Attorney and the Defendant and his

   20    undersigned counsel, hereby enter into the following

   21    stipulations of fact:

   22               The below facts are agreed to by the parties and the

   23    parties agree that the following facts are proven beyond a

   24    reasonable doubt:

   25               Number one, as to the offense alleged in Count One of



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 234 of 274 PageID234
                                                                              4108



    1    the Indictment, specifically the attempt to use weapons of mass

    2    destruction against persons and property within the United

    3    States, the results of that offense, if it had succeeded, would

    4    have affected interstate and foreign commerce.

    5               Two, the inert vehicle-borne improvised explosive

    6    device labeled as Government Exhibit 1, the inert explosive

    7    belt labeled as Government Exhibit 7-A and the six inert

    8    grenades labeled as Government's Exhibit 7-B, if they had been

    9    real, would have been weapons of mass destruction.

   10               Three, the firearm described as an AK47, serial

   11    number 1978IL3611, labeled as Government's Exhibit 2, is a

   12    fully automatic firearm also known as a machinegun.

   13    Accordingly, the AK47 was required to be registered to the

   14    Defendant, Sami Osmakac, in the National Firearms Registration

   15    and Transfer Record before he possessed it.

   16               Four, the firearm described as an AK47, serial number

   17    1978IL3611, labeled as Government's Exhibit 2, is not and was

   18    not ever registered to the Defendant, Sami Osmakac, in the

   19    National Firearms Registration and Transfer Record.

   20               So stipulated this 12th day of May, 2014.         And then

   21    the stipulation is signed by me, Mr. Tragos and the Defendant.

   22               THE COURT:    Please call your next witness.

   23               MS. SWEENEY:    At this time, the Government calls

   24    Special Agent William Ortiz to the stand.

   25    Thereupon,



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 235 of 274 PageID235
                                                                              4109



    1                                 WILLIAM ORTIZ,

    2    after having been duly sworn to tell the truth, the whole truth

    3    and nothing but the truth, under penalty of perjury, was

    4    examined and testified as follows:

    5               THE WITNESS:    I do.

    6               THE CLERK:    Please state your name and spell the last

    7    for the record.

    8               THE WITNESS:    William Ortiz, O-R-T-I-Z.

    9               THE COURT:    Sir, you're under oath.      You must give

   10    truthful answers to any questions asked.        If you give false

   11    answers, you face penalties of perjury, false statement and

   12    obstruction.

   13               Do you understand that?

   14               THE WITNESS:    Yes, Your Honor.

   15               THE COURT:    Wait till counsel completes her question

   16    before you start your answer so you're not talking over her.

   17    If you see opposing counsel stand to object, wait until I rule

   18    on the objection before you begin your answer.

   19               Do you understand that?

   20               THE WITNESS:    Yes, Your Honor.

   21               THE COURT:    Counsel.

   22               MS. SWEENEY:    Thank you, Your Honor.

   23                           DIRECT EXAMINATION

   24    BY MS. SWEENEY:

   25    Q.   Special Agent Ortiz, who do you work for?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 236 of 274 PageID236
                                                                              4110



    1    A.   Federal Bureau of Investigation.

    2    Q.   And what is your current position there?

    3    A.   Polygraph examiner.

    4    Q.   How long have you worked at the FBI?

    5    A.   Seventeen years.

    6    Q.   How long have you been the polygraph examiner?

    7    A.   Four years.

    8    Q.   And prior to that, what was your position at the FBI?

    9    A.   I was investigating international terrorism.          I was

   10    assigned to the Joint Terrorism Task Force for approximately

   11    five, six years.    And before that, I was assigned to work

   12    violent crimes.

   13    Q.   What was your role in the investigation of the Defendant

   14    on the night of January 7, 2012?

   15    A.   I helped interview the Defendant postarrest.

   16    Q.   And who else was present for that interview?

   17    A.   Special Agent Jacob Collins.

   18    Q.   And did you give the Defendant Miranda Warnings?

   19    A.   Yes, I did.

   20    Q.   And how did you do that?

   21    A.   I presented the form and I verbally explained to him what

   22    his rights were.

   23    Q.   And was your interview with the Defendant recorded?

   24    A.   It was not.

   25    Q.   Why not?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 237 of 274 PageID237
                                                                              4111



    1    A.     It's not the practice of the FBI to record interviews.

    2    Q.     What did you ask the Defendant?

    3    A.     I asked him what he had in mind when he was about to take

    4    a vehicle with explosives to Hyde Park.

    5    Q.     And how did he respond?

    6    A.     He replied by saying "Islam."

    7    Q.     And did you ask the Defendant anything else?

    8    A.     I'm sorry?

    9    Q.     Did you ask the Defendant anything else?

   10    A.     Yes, why did he choose --

   11                MR. GEORGE TRAGOS:     Your Honor, I'm sorry, excuse me.

   12    Your Honor, could we have a sidebar?

   13                THE COURT:   Yes.

   14                (Thereupon, the following discussion was had at

   15    sidebar:)

   16                MR. GEORGE TRAGOS:     I just want to make sure that you

   17    are going to ask him -- are you going to ask him anything

   18    elicited when he asked for a lawyer?

   19                MS. SWEENEY:   No.    The next question is basically the

   20    end.

   21                MR. GEORGE TRAGOS:     You're not going to ask who he's

   22    employed by?

   23                MS. SWEENEY:   No.

   24                (Thereupon, the sidebar discussion was concluded and

   25    the proceedings resumed as follows:)



                 CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 238 of 274 PageID238
                                                                              4112



    1    BY MS. SWEENEY:

    2    Q.    Okay, Agent.    So, what else did you ask the Defendant?

    3    A.    Why did he target Hyde Park over Ybor City and his answer

    4    was that the police presence in Ybor City was higher.

    5                 MS. SWEENEY:    Your Honor, I have no further questions

    6    of this witness.

    7                                CROSS-EXAMINATION

    8    BY MR. GEORGE TRAGOS:

    9    Q.    Agent, how was the Defendant feeling?

   10    A.    I don't know.

   11    Q.    Did he express to you that he was sick, felt like throwing

   12    up?

   13    A.    I don't recall.    He may have, but I just don't recall if

   14    he did.

   15    Q.    Did the agents who were monitoring him before his arrest

   16    tell you that he had expressed that he was sick and not feeling

   17    well?

   18    A.    I don't remember that.

   19    Q.    Did he speak to you about the fact that he hadn't slept?

   20    A.    I don't recall him telling me that.

   21    Q.    Now, you say it's not the practice of the FBI to record

   22    interviews?

   23    A.    Correct.

   24    Q.    Why?

   25    A.    I'm sorry?



                 CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 239 of 274 PageID239
                                                                              4113



    1    Q.   Why?    Why don't you record an interview?

    2    A.   Why don't we?

    3    Q.   Yes.

    4    A.   Because that would be a DOJ policy.

    5    Q.   You don't know if --

    6    A.   I don't know.     Being in the FBI for 17 years, I've never

    7    recorded an interview.

    8    Q.   Now, were you a polygraph examiner when you did this

    9    interview?

   10    A.   Yes, sir.

   11    Q.   And was there any polygraphing done at this interview?

   12    A.   No, sir.

   13    Q.   And you say Jacob Collins was with you?

   14    A.   Yes.

   15    Q.   Is that Agent Collins that's sitting here to my left?

   16    A.   Yes.

   17    Q.   And you say that you gave him his rights under Miranda,

   18    correct?

   19    A.   Yes.

   20    Q.   Is it the policy of the FBI to have someone sign a form in

   21    writing so that they would waive their rights in writing?

   22    A.   We offer the opportunity for the interviewee to sign the

   23    form, yes.

   24    Q.   And is it the policy to have that form signed?

   25    A.   The policy is to present the interviewee with the form.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 240 of 274 PageID240
                                                                              4114



    1    The interviewee does not have to sign the form, but we have to

    2    present the form.

    3    Q.   And did the Defendant sign the form?

    4    A.   No, he did not.

    5    Q.   So we don't have a signed form in this case?

    6    A.   He refused to sign, yes.       I mean, we have the form and I

    7    wrote a note that he refused to sign.

    8    Q.   Do you have that form with you?

    9    A.   I don't have it with me.

   10    Q.   Did the Defendant, when answering those questions, tell

   11    you about his brother frequenting any night clubs?

   12    A.   I'm sorry.

   13    Q.   Did he tell you about his brother frequenting night clubs?

   14    A.   No.

   15    Q.   You remember that?

   16    A.   No, I don't.

   17    Q.   You don't remember either way?

   18    A.   Right, no, I don't remember that being part of the

   19    conversation.

   20    Q.   Okay.    Other than what you wrote -- by the way, you did a

   21    report on this, correct?

   22    A.   I did not write a report.       Agent Collins wrote that

   23    report.

   24    Q.   Did you review the report prior to your testimony?

   25    A.   Yes, I did.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 241 of 274 PageID241
                                                                              4115



    1    Q.   What else did you review prior to your testimony?

    2    A.   Notes and the advice of rights form.

    3    Q.   Notes.    Did you write your own notes on this?

    4    A.   No, I did not.

    5    Q.   Whose notes did you review?

    6    A.   Agent Collins'.

    7    Q.   So in addition to the 302, you reviewed some notes?

    8    A.   Yes, sir.

    9                MR. GEORGE TRAGOS:    Your Honor, at this time, I'd

   10    request those notes as well as any other Jencks material.

   11                THE COURT:   Counsel.

   12                MS. SWEENEY:   I have a copy of the notes, Your Honor.

   13    Mr. Tragos can have them.

   14    BY MR. GEORGE TRAGOS:

   15    Q.   Whose notes are these?

   16    A.   Agent Collins'.

   17    Q.   Were you present when Agent Collins got the information

   18    from the Defendant that he was 6'2 and 135 pounds?

   19    A.   Yes.

   20    Q.   And that he was born in Kosovo?

   21    A.   If that's what the notes say, yeah.

   22    Q.   You reviewed these notes, correct?

   23    A.   Yes.

   24    Q.   When did you review the notes?

   25    A.   Last week.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 242 of 274 PageID242
                                                                              4116



    1    Q.   Soccer and basketball is on here.        Did you ask him what

    2    sports he likes?

    3    A.   I probably asked him about hobbies.

    4    Q.   That's something you're trained to do in order to get his

    5    confidence?

    6    A.   I'm trying to build rapport, yes.

    7    Q.   Trying to build what?

    8    A.   Rapport, yes.

    9               MR. GEORGE TRAGOS:     That's all the questions I have,

   10    Your Honor.

   11               THE COURT:    Any redirect?

   12                            REDIRECT EXAMINATION

   13    BY MS. SWEENEY:

   14    Q.   Agent, when you reviewed the notes and the report, was

   15    there anything that was inconsistent between the two of them?

   16               MR. GEORGE TRAGOS:     Objection.

   17               THE COURT:    Sustained.

   18               MS. SWEENEY:    I don't have anything else, Your Honor.

   19               THE COURT:    Thank you.    You may step down, sir.

   20               (Witness excused.)

   21               Please call your next witness.

   22               MS. SWEENEY:    Your Honor, the next witness is

   23    present.   He will go past --

   24               THE COURT:    Call your next witness.

   25               MS. SWEENEY:    Yes, Your Honor.     The Government calls



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 243 of 274 PageID243
                                                                              4117



    1    Special Agent Steve Miller.

    2                THE COURT:   Please come forward to be sworn, sir.

    3    Thereupon,

    4                                STEVEN MILLER,

    5    after having been duly sworn to tell the truth, the whole truth

    6    and nothing but the truth, under penalty of perjury, was

    7    examined and testified as follows:

    8                THE WITNESS:   I do.

    9                THE CLERK:   Please state your name and spell the last

   10    for the record.

   11                THE WITNESS:   My name is Steven Miller, M-I-L-L-E-R.

   12                THE COURT:   Sir, you're under oath.      You must give

   13    truthful answers to any questions that are asked.          If you give

   14    false answers, you face penalties of perjury, false statement

   15    and obstruction.

   16                Do you understand that?

   17                THE WITNESS:   Yes, Your Honor.

   18                THE COURT:   Also, wait until counsel completes her

   19    question before you start your answer so you're not talking

   20    over her.    And if you see counsel object, stand to object, wait

   21    until I rule on the objection before you give your answer.

   22                Do you understand that?

   23                THE WITNESS:   Yes, thank you, Your Honor.

   24                THE COURT:   Counsel.

   25                MS. SWEENEY:   Thank you, Your Honor.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 244 of 274 PageID244
                                                                              4118



    1                             DIRECT EXAMINATION

    2    BY MS. SWEENEY:

    3    Q.   Agent Miller, who do you work for?

    4    A.   I work for the Federal Bureau of Investigation.

    5    Q.   And what's your position there?

    6    A.   I'm a Special Agent.

    7    Q.   And how long have you been with the FBI?

    8    A.   For a little over 17 years.

    9    Q.   And how long have you been a Special Agent?

   10    A.   For a little over 17 years.

   11    Q.   And currently, what is your focus?

   12    A.   My focus is I investigate domestic terrorism and bombing

   13    matters.

   14    Q.   Were you involved in the investigation of the Defendant,

   15    specifically, on January 9th of 2012?

   16    A.   Yes, I was.

   17    Q.   Were you also involved in the investigation of the

   18    Defendant on January 7th of 2012?

   19    A.   Yes, I was.

   20    Q.   Starting on January --

   21               THE COURT:    Would you pull that microphone towards

   22    you and speak into it?     The witness, Mr. Miller.

   23               MS. SWEENEY:    I'm sorry.    It's Agent Miller.

   24               THE COURT:    Yes, sir, thank you.

   25



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 245 of 274 PageID245
                                                                              4119



    1    BY MS. SWEENEY:

    2    Q.   What was your role on January 9th of 2012 with respect to

    3    the investigation of the Defendant?

    4    A.   I assisted in the search of the Defendant's vehicle.

    5    Q.   Okay.    Agent, I've placed in front of you Government's

    6    Exhibit -- let's start with the one labeled Government's

    7    Exhibit 54-A.    What is that?

    8    A.   This is a picture depicting the Defendant's vehicle in our

    9    evidence bay at the FBI Office in Tampa.

   10    Q.   Is that where the vehicle was when you participated in the

   11    search of it?

   12    A.   Yes, it was.

   13    Q.   And is that an accurate picture of what that scene looked

   14    like?

   15    A.   Yes, it is.

   16                MS. SWEENEY:   Ms. Vizza, can we use the computer?

   17                Your Honor, the Government moves in evidence Exhibit

   18    54-A.

   19                MR. GEORGE TRAGOS:    No objection.

   20                THE COURT:   It will be received.

   21                (Thereupon, Government's Exhibit Number 54-A was

   22    received and filed in evidence.)

   23    BY MS. SWEENEY:

   24    Q.   Okay.    So is that the car that you searched?

   25    A.   Yes.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 246 of 274 PageID246
                                                                              4120



    1    Q.   And where is it located?

    2    A.   It is in our evidence bay at the FBI Office in Tampa,

    3    Florida.

    4    Q.   During the search of the vehicle, was anything found in

    5    the glove compartment?

    6    A.   Yes, a Colt .45 pistol.

    7    Q.   And was that firearm loaded when it was found?

    8    A.   Yes, it was.

    9    Q.   I'd like to ask you to take a look at Government's Exhibit

   10    54-C.   And do you recognize that?

   11    A.   Yes.    This is a picture of the pistol that was in the

   12    glove box.

   13    Q.   And does it -- is that how it appeared on the evening of

   14    January 9th?

   15    A.   Yes.

   16                MS. SWEENEY:   Your Honor, at this time, the

   17    Government moves into evidence 54-C.

   18                MR. GEORGE TRAGOS:    No objection.

   19                THE COURT:   It will be received.

   20                (Thereupon, Government's Exhibit 54-C was received

   21    and filed in evidence.)

   22    BY MS. SWEENEY:

   23    Q.   Okay, Agent.     So what are we -- describe to us what we're

   24    looking at there.

   25    A.   This is the pistol that was in the glove box of the



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 247 of 274 PageID247
                                                                              4121



    1    Defendant's car.

    2    Q.   And where is it in this picture?

    3    A.   Inside the glove compartment.

    4    Q.   So that's a picture of the glove compartment looking into

    5    the glove compartment?

    6    A.   Yes.

    7    Q.   During the search of the Defendant's car, was something

    8    also found in the trunk of the vehicle?

    9    A.   Yes, an inert large vehicle bomb.

   10    Q.   So, I'd like to ask you to take a look at Government's

   11    Exhibits 54-D and E and tell me, do you recognize those?

   12    A.   Yes, I do.

   13    Q.   And what are those; what are they?

   14    A.   Well, Exhibit 54-D is a picture of the inert large vehicle

   15    bomb in the trunk of the Defendant's vehicle.         Sort of an

   16    overview from behind.      And then Exhibit 54-E is a closer-in

   17    image of the vehicle showing the orange box and some of the

   18    blasting cap and detonating cord and things like that.

   19    Q.   And do those -- are those images accurate, that is, do

   20    they show what you saw that evening?

   21    A.   Yes, they do.

   22                MS. SWEENEY:    Your Honor, the Government moves into

   23    evidence 54-D and E.

   24                MR. GEORGE TRAGOS:    No objection.

   25                THE COURT:   They'll be received.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 248 of 274 PageID248
                                                                              4122



    1                (Thereupon, Government's Exhibits 54-D and E were

    2    received and filed in evidence.)

    3                MS. SWEENEY:   Can we please put up 54-D?

    4    BY MS. SWEENEY:

    5    Q.   Okay.    Agent, so is this the image that you described kind

    6    of as an overview sort of shot?

    7    A.   Yes.    That's an overview of the trunk as it is opened with

    8    the inert bomb sitting inside the trunk.

    9    Q.   And can we please put up 54-E?

   10         Agent, is that the closeup that you referenced?

   11    A.   Yes, that's the closeup, like from above the trunk and to

   12    the orange case that's sitting in the inside of the trunk.

   13    Q.   And what did you do with this device on January 9th, 2012?

   14    A.   I needed to remove it from the trunk, so I took several

   15    different steps to remove it.       First, obviously, we took

   16    pictures of the device in place.       And then I had to disconnect

   17    the blasting cap there that you see in the image.          Is there a

   18    way I can point?

   19                THE COURT:   Yes, just touch it.

   20                THE WITNESS:   This here, this blasting cap, I had to

   21    cut that away.

   22    BY MS. SWEENEY:

   23    Q.   Agent, are you actually touching the screen?

   24    A.   Yeah.

   25    Q.   Touch it and move your finger and see if -- there.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 249 of 274 PageID249
                                                                              4123



    1    A.   Yeah, that's the blasting cap there.        That's pink now.     I

    2    had to cut that and remove that away.        And then I had to

    3    separate the two homer buckets, the Home Depot type buckets.

    4    They were connected by that -- this cord here.         This cord is

    5    connecting them both, it's the detonating cord, so I had to cut

    6    them apart so we could remove the buckets from the trunk.

    7                MR. GEORGE TRAGOS:    Your Honor, I have no further

    8    questions for the witness.

    9                              CROSS-EXAMINATION

   10    BY MR. GEORGE TRAGOS:

   11    Q.   In preparation for your testimony, Agent, what did you

   12    review?

   13    A.   I reviewed the photos from the crime scene, the

   14    photos that we took during the day of January 9th, and I

   15    reviewed the evidence log and my 302 that I wrote.

   16    Q.   I'm talking about the photos that have been introduced

   17    into evidence.

   18    A.   These photos here?

   19    Q.   Yes.

   20    A.   Yes.

   21    Q.   Those are the photos you're talking about?

   22    A.   Those photos and there were more photos as well.

   23    Q.   Of the same location?

   24    A.   Pardon?

   25    Q.   Of the same location?



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 250 of 274 PageID250
                                                                              4124



    1    A.   These photos from the same location, from the evidence bay

    2    at the FBI Office.

    3    Q.   All right.

    4         I'll try to rephrase it then.       The photos that we have in

    5    evidence that you have before you there; you see them, correct?

    6    A.   Yes.

    7    Q.   Okay.    Are the other photos you reviewed photos of the

    8    same vehicle done at the same time?

    9    A.   Yes.

   10    Q.   At the same location?

   11    A.   Yes.

   12    Q.   And you say you did a 302?

   13    A.   Yes, sir.

   14    Q.   Just one?

   15    A.   One that day, yes.

   16    Q.   Okay.    You did more than one on this case?

   17    A.   I don't think so, but I couldn't be sure.

   18    Q.   Besides this, what you did right here, what else did you

   19    do in this case?

   20    A.   This is pretty much -- pretty much it.         I mean, we had

   21    some interactions just talking about some of the other

   22    explosive devices that were introduced and did some

   23    surveillance on the case.

   24    Q.   You participated in the surveillance?

   25    A.   Yes, sir.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 251 of 274 PageID251
                                                                              4125



    1    Q.   You know when you did that?

    2    A.   I couldn't say.

    3    Q.   And did you surveil, like follow in a car?         Were you in an

    4    airplane?

    5    A.   In a car.

    6    Q.   Car.    And did you follow the confidential human source or

    7    the undercover FBI agent?

    8    A.   I don't recall who exactly I followed.         There's several

    9    people that were followed.      I think sometimes the Defendant,

   10    sometimes other folks that were affiliated with the case, but

   11    there were multiple people surveyed.

   12    Q.   Okay.    So you don't know who it was you were following?

   13    A.   Not at any given time.      I couldn't say who I followed

   14    when.   I'm sure I followed the Defendant.

   15    Q.   Is there a record kept when people do that?

   16    A.   Usually yes, a surveillance log of some sort.

   17    Q.   Okay.    So a surveillance log is kept?

   18    A.   Sometimes, it just depends.

   19    Q.   Now, on these particular items, when you saw them in the

   20    van on January 9th, was that the first time you ever saw them?

   21    A.   No, sir.

   22    Q.   When had you seen them before?

   23    A.   I've seen them before at the FBI Office prior to the items

   24    being given to the undercover FBI agent, and then I saw them

   25    the night of January 7th.



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 252 of 274 PageID252
                                                                              4126



    1    Q.   Okay.    How did you see them that night?

    2    A.   The trunk of the car was opened after the arrest.

    3    Q.   Okay.    So you were there at the arrest?

    4    A.   Yes, sir.

    5    Q.   All right.

    6         Did you have a hand in assembling the fake explosive

    7    devices?

    8    A.   To a small degree.      The only thing I had a hand in is the

    9    fake or inert device.     That was not made by myself, but the

   10    only hand I had in it was I put in the diesel fuel.

   11    Q.   Okay.    That orange box -- excuse me a second.

   12         Exhibit 1-D.

   13    A.   Yes, sir.

   14    Q.   You familiar with that box, you've seen it before?

   15    A.   Yes, sir.

   16    Q.   And you seized it from the vehicle pursuant to the search,

   17    correct?

   18    A.   Yes, sir.

   19    Q.   Prior to that day, had you seen that orange box before?

   20    A.   Yes, at the same time I seen the rest of the components as

   21    I explained at the FBI Office before we gave it to the

   22    undercover and then in the vehicle the night of the arrest.

   23    Q.   Would you open that orange box, 1-D, please?

   24         And you see the instructions typed on the top, "Turn on

   25    the cell phone?"



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 253 of 274 PageID253
                                                                              4127



    1    A.   Yes, sir.

    2    Q.   Okay.    Did you have any involvement in those instructions?

    3    A.   No, sir.

    4    Q.   Did you have any involvement in assembling that orange box

    5    and what's in it?

    6    A.   No, sir.

    7    Q.   Where was that done?

    8    A.   I believe at Quantico at our FBI Laboratory.

    9    Q.   When you saw it at the FBI Office, did you -- was it just

   10    the situation where you happened to be in the room or did you

   11    actually have any reason for reviewing it in the FBI Office?

   12    A.   It was part of preparing the device to be given to the

   13    undercover FBI employee.

   14    Q.   Okay.    Did you have to educate him at all?

   15    A.   I don't recall.     I think the directions here on the box

   16    are pretty self evident, but I don't recall if we had to

   17    educate him on the box or not.

   18    Q.   Did you have to educate him on any of these explosives and

   19    what to say about them or how to use them or how to explain

   20    them?

   21    A.   We talked about some of the explosive devices.          I don't

   22    know if I had to educate him or not.        We talked about the

   23    devices, what they were.

   24    Q.   About where to plug things in, where to put the batteries

   25    in, things like that?



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 254 of 274 PageID254
                                                                              4128



    1    A.   Perhaps.    I think so.

    2    Q.   You think you did have to talk to him about that?

    3    A.   We talked about it.      I mean, obviously, these are

    4    nine-volt battery holders.      We looked over it just so that, you

    5    know, he would seem comfortable with the device at the time, I

    6    think, but I don't recall exactly what we talked about.

    7    Q.   Then there is an evidence log you say, correct?

    8    A.   Regarding?

    9    Q.   Regarding the seizures you made on January 9th?

   10    A.   Yes, there's an evidence log.

   11    Q.   And you prepared that?

   12    A.   I did not.

   13    Q.   Who prepared that?

   14    A.   It's prepared by multiple different people.          Like there's

   15    a photo log that a person would keep the photo log, somebody

   16    will give a sketch, there's an administrative log, so multiple

   17    people participate in preparing this evidence log.

   18    Q.   For your testimony here, in preparation for your testimony

   19    here today, you said you reviewed an evidence log?

   20    A.   Yes, sir.

   21    Q.   Do you have that with you?

   22    A.   No, sir.

   23    Q.   Do you know what evidence log you reviewed?

   24    A.   Yes, sir.

   25    Q.   Which one did you review?       You said you had multiple logs,



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 255 of 274 PageID255
                                                                              4129



    1    I'm just trying to --

    2    A.   No, I mean it's the whole log, it's all put together in

    3    one packet from the search where we removed the device from the

    4    vehicle.

    5               MR. GEORGE TRAGOS:     Your Honor, might I inquire?       Is

    6    that the evidence log that I've received?

    7               MS. SWEENEY:    Yes.

    8               THE COURT:    How much longer are you going to go with

    9    this witness?

   10               MR. GEORGE TRAGOS:     About one minute, Your Honor.

   11               THE COURT:    All right.

   12    BY MR. GEORGE TRAGOS:

   13    Q.   The pistol that you found in the vehicle, do you have it

   14    still there in front of you?

   15    A.   The pistol, no.

   16    Q.   You don't have it?

   17               MR. GEORGE TRAGOS:     I don't have the exhibit number.

   18    BY MR. GEORGE TRAGOS:

   19    Q.   I show you Exhibit 6-A.

   20    A.   Yes, sir.

   21    Q.   The Government showed you a picture of that pistol,

   22    correct?

   23    A.   Excuse me?

   24    Q.   The Government showed you a picture of that pistol?

   25    A.   Yes, sir.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 256 of 274 PageID256
                                                                              4130



    1    Q.    When you found it, you seized it, correct?

    2    A.    No, sir.

    3    Q.    Who seized it?

    4    A.    Alex Ferrara who found it in the car.

    5    Q.    Was it loaded?

    6    A.    Yes, sir.

    7    Q.    And do you know how many bullets it had in it?

    8    A.    Ten.

    9    Q.    How do you know that?

   10    A.    It was in the log.     And it was in the log and there was a

   11    picture of the gun with the magazine removed, and then one

   12    bullet that was in the chamber.

   13    Q.    And you, yourself, though, did not see it or seize it or

   14    see any of that?

   15    A.    I did see it.    I didn't physically seize it from the

   16    vehicle.

   17    Q.    Okay.   So you don't know if it was actually loaded in the

   18    vehicle, you just know that from the log?

   19    A.    Pardon, no.   They pulled it from the vehicle, we unloaded

   20    it.

   21    Q.    You saw that happen?

   22    A.    Yes.

   23                 MR. GEORGE TRAGOS:   Okay.   That's all the questions I

   24    have.

   25                 MS. SWEENEY:   I just have very brief redirect, Your



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 257 of 274 PageID257
                                                                              4131



    1    Honor.

    2                THE COURT:    Very.

    3                             REDIRECT EXAMINATION

    4    BY MS. SWEENEY:

    5    Q.   Agent, why did you put diesel fuel on the buckets?

    6    A.   With a bomb of this type, it's a fertilizer, it's meant to

    7    simulate a fertilizer-based explosive like ammonium nitrate and

    8    fuel oil.   In this case, the bomb was -- had urea inside of it

    9    which is another fertilizer that is not ammonium nitrate, it's

   10    not explosive, but the diesel fuel has a distinct odor.

   11         I don't know if, you know, when we showed the bomb

   12    previously, if anyone noticed, but it has a distinct odor.           To

   13    make the bomb look and smell more realistic, we added the

   14    diesel fuel.

   15    Q.   During the course of your FBI career, have you constructed

   16    a number of explosive devices and inert explosive devices?

   17    A.   Yes, ma'am.

   18    Q.   What is your practice with respect to putting instructions

   19    on those devices?

   20                MR. GEORGE TRAGOS:      Objection, outside the scope of

   21    direct and not relevant to this case.

   22                MS. SWEENEY:    It's within --

   23                THE COURT:    Overruled as to the instructions.

   24    BY MS. SWEENEY:

   25    Q.   So Agent, when you build an explosive device or an inert



                CLAUDIA SPANGLER-FRY       OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 258 of 274 PageID258
                                                                              4132



    1    explosive device, what is your practice with respect to putting

    2    instructions somewhere on those devices?

    3    A.   I typically put instructions on the devices that I build

    4    because the one thing you want the least when you make a bomb

    5    is you want to make it -- especially, even if it's --

    6               THE COURT:    The question was, what was your practice,

    7    and the practice is to put the instructions there.

    8               Next question.

    9    BY MS. SWEENEY:

   10    Q.   Why do you do that, Agent?

   11               MR. GEORGE TRAGOS:     Objection.

   12               THE COURT:    Sustained.

   13               MS. SWEENEY:    Your Honor, I have nothing further for

   14    this witness.

   15               THE COURT:    Thank you, sir, you may step down.

   16               THE WITNESS:    Thank you, Your Honor.

   17               (Witness excused.)

   18               THE COURT:    All right.

   19               Ladies and gentlemen, that concludes the presentation

   20    of the case to you today.      We'll start tomorrow at the regular

   21    time of 9:00 o'clock.     And I'll try to get you out of here by

   22    4:30.   We will see you back tomorrow.

   23               The Court will remind you of your obligation to

   24    refrain from considering anything about this case outside of

   25    this case or discussing it among yourselves or discussing it



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 259 of 274 PageID259
                                                                              4133



    1    with anyone else.

    2                I think that I can report, although, I always do with

    3    hesitation that we're ahead of schedule.        I don't want to tell

    4    you how far ahead of schedule because as soon as I say that,

    5    something will happen and we'll get delayed.         But I do want to

    6    let you know that we are.      We feel like we're a little bit

    7    ahead of schedule, so we will continue to be efficient with

    8    your time and we will allow you to be excused for the evening.

    9                Yes, sir.

   10                MR. GEORGE TRAGOS:     Before the jury is excused, can

   11    we have a sidebar?

   12                THE COURT:   Yes, sir.

   13                (Thereupon, the following discussion was had at

   14    sidebar:)

   15                MR. GEORGE TRAGOS:     Tomorrow morning, we have two

   16    Daubert issues I think we're going to be covering.          One is

   17    because the witness is going to be here.

   18                MS. SWEENEY:   Mr. Kohlmann.

   19                MR. GEORGE TRAGOS:     Mr. Kohlmann is going to be here

   20    and we have the guy from Chicago is going to be here.

   21                THE COURT:   So I'll see you at 8:00 o'clock.

   22                MR. GEORGE TRAGOS:     Couldn't we -- like I come from

   23    Clearwater.

   24                THE COURT:   8:30.    Thank you.

   25                (Thereupon, the sidebar discussion was concluded and



                CLAUDIA SPANGLER-FRY      OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 260 of 274 PageID260
                                                                              4134



    1    the proceedings resumed as follows:)

    2               Thank you, ladies and gentlemen.        You're excused.

    3               (Jury excused from the courtroom.)

    4               All right.

    5               I knew we had a Daubert issue with respect to

    6    Mr. Kohlmann.    There's some other issue with respect to another

    7    witness?

    8               MS. SWEENEY:    I believe Mr. Tragos was just referring

    9    to the witness from Chicago, Your Honor, who I think we've

   10    already discussed.

   11               THE COURT:    My review of the case law suggests that

   12    that witness is permitted to testify.        His testimony would be

   13    relevant to establish the Defendant's predisposition to commit

   14    offenses of the type present on the allegations asserted here,

   15    though my review -- what's that noise -- somebody's cell phone

   16    is on?

   17               UNIDENTIFIED PERSON IN AUDIENCE:        That was mine, Your

   18    Honor.   I'll turn it off.

   19               THE COURT:    All right.

   20               My review of the 302s suggest that his statements are

   21    relatively limited.     When I first read it in quick passing when

   22    it was presented to me, there was a plethora of things this

   23    Defendant supposedly said at the mosque.        But it appears --

   24    Mr. Elessaway, is he the one that's supposed to be coming?

   25               MS. SWEENEY:    Yes, Your Honor.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 261 of 274 PageID261
                                                                              4135



    1                THE COURT:   It appears there were only two statements

    2    made to him.

    3                May I see the transcript, Mr. Barthle?

    4                (Brief pause.)

    5                One statement that Mr. Elessaway is prepared to say

    6    that Mr. Osmakac told him directly was that since there is no

    7    land in this world that follows Sharia Law, all can be killed

    8    in the name of jihad, and that real jihad was the one that

    9    sheds blood.

   10                And then additionally, Mr. Elessaway is prepared to

   11    testify that Mr. Osmakac referred to him as kuffar, and then

   12    stated, we are allowed to kill the kuffar, which Mr. Elessaway

   13    perceived as a threat to him personally.

   14                Now the rest of the statements about going into

   15    someone's home and shooting them and all that appears to be

   16    double if not triple hearsay related to Mr. Elessaway by others

   17    through others and then to him.       Now I don't know what he's

   18    going to say if he comes to testify, but based upon the 302s,

   19    those are the only things that he says were said to him in his

   20    presence.

   21                MS. SWEENEY:   Your Honor, I believe that he did hear

   22    these other statements that you just referenced personally.           I

   23    believe he personally heard the statement --

   24                THE COURT:   The 302 doesn't say that.      The 302 says

   25    the youth were complaining to Elessaway stating that they were



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 262 of 274 PageID262
                                                                              4136



    1    making strange statements and trying to misguide the youth.

    2    And he advised the youth to stay away from them.

    3               So, it will be interesting if he now recalls the same

    4    as having been made in his presence because then the 302s

    5    wouldn't seem to be accurate.

    6               MS. SWEENEY:    Well, Your Honor, I mean, just to be

    7    clear, the witness does not review the 302s, even after they're

    8    written --

    9               THE COURT:    I understand what 302s are, Ms. Sweeney.

   10               MS. SWEENEY:    So the witness hasn't adopted this and

   11    there may be slight differences between what he recalls and

   12    what is in this 302.     But I believe that he did hear the

   13    statement about being able to take things from disbelievers and

   14    go into homes and those -- I believe he heard those statements,

   15    Your Honor.

   16               THE COURT:    I believe the 302 says he heard them from

   17    others, so what is the source of your belief about his having

   18    heard them directly?

   19               MS. SWEENEY:    I spoke with Mr. Elessaway on the phone

   20    two weeks ago, maybe, and I did not ask.        All I said to him

   21    was, tell me what you remember from your interactions with this

   22    Defendant, and I didn't give him the 302s, he didn't review

   23    them because these aren't his statements, they're the statement

   24    of how somebody else remembers what he said to him.

   25               THE COURT:    Well, what he remembers about his



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 263 of 274 PageID263
                                                                              4137



    1    interaction might, to a lay person, encompass what other people

    2    told him was said.     My only point is that he will only be

    3    allowed to testify about what was said to him.

    4               MS. SWEENEY:    Understood.

    5               THE COURT:    Not what other people told him supposedly

    6    that Mr. Osmakac said.     And if he is prepared to say those two

    7    things, then I think they would go to the question of

    8    predisposition of the Defendant.       They would also serve as

    9    evidence of his intent as well.

   10               I'm not sure that if this were a case where his --

   11    his entrapment defense weren't relevant, the Court wouldn't

   12    consider that to be merely cumulative, but in the context of an

   13    entrapment defense where predisposition is properly considered,

   14    the Court considers that to be some evidence of that.

   15               Yes, sir.

   16               MR. GEORGE TRAGOS:     Your Honor, if his testimony is

   17    beyond those two statements, I would like to be placed on

   18    notice of that to see whether or not, again, those statements

   19    would comport with predisposition or 404(b).         So I would -- if

   20    it goes beyond that, I would like to know that before he's put

   21    on the stand.

   22               THE COURT:    Well, let's do this.      Since the rule

   23    hasn't been invoked in this case, there's a question about it,

   24    let's not have a conversation with Mr. Elessaway before he

   25    takes the stand tomorrow.      We will have a proffer of his



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 264 of 274 PageID264
                                                                              4138



    1    testimony through him by inquiry before he is presented in

    2    front of the jury so that we're clear that he doesn't begin to

    3    present hearsay of others in the context of his testimony.

    4               MS. SWEENEY:    Your Honor, did I understand your

    5    instruction to be not to speak to him again before he takes the

    6    stand?   Is that what you --

    7               THE COURT:    Not other than to tell him he will be

    8    here to testify, not to speak to him about the content of his

    9    testimony.

   10               MS. SWEENEY:    May I -- I won't speak to him about the

   11    content, may I instruct him specifically on the Court's ruling

   12    that he should only relate what he personally heard?

   13               THE COURT:    No.   You can just have him come and not

   14    talk to him about his testimony, and then when he gets here, we

   15    will inquire of what he heard personally, and then we will

   16    insure that whatever he tells us he heard personally is

   17    predisposition intent evidence and then because, for example,

   18    as you point out, he didn't read the 302s, so we don't know

   19    what he's going to say he heard Mr. Osmakac say.          We only know

   20    now what the agents say he said he heard Mr. Osmakac say.

   21               So let's just hear from him for the first time

   22    without any prodding and prompting and explanation and coaching

   23    by anyone on either side of the case, if he is still needed for

   24    testimony, which I don't think he is, but that's the

   25    Government's predilection and preference.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 265 of 274 PageID265
                                                                              4139



    1               And then the other thing is Mr. Kohlmann and the

    2    expanse to which he will be allowed to testify?         Is that the

    3    question that remains pending with him?

    4               MR. PETER TRAGOS:     Yes, Your Honor.

    5               THE COURT:    And we'll take that up at 8:30.       He'll be

    6    here at 8:30?

    7               MS. SWEENEY:    Yes, Your Honor.

    8               THE COURT:    All right.

    9               Anything else?

   10               MR. GEORGE TRAGOS:     I just want to make sure the

   11    Defendant is here at 8:30.

   12               THE COURT:    Yes, the Defendant will be here?        Yes?

   13    Where are my Marshals?

   14               THE MARSHAL:    Yes, Your Honor.

   15               THE COURT:    All right.

   16               And is Mr. Kohlmann and Mr. Elessaway, are they the

   17    last two witnesses?

   18               MS. SWEENEY:    No, Your Honor.

   19               We further have, Your Honor, Lynn Billings.         She

   20    searched the hotel room.      We have Keith Arndt.     He conducted

   21    the analysis on the various cell phones that were -- she

   22    searched the hotel room which may seem kind of pointless since

   23    the evidence is all in.

   24               The other thing that happened is, the Defendant threw

   25    his cell phone and he threw two phone numbers over a fence at



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 266 of 274 PageID266
                                                                              4140



    1    the hotel and she found those.       And she'll testify to that.

    2               Keith Arndt will testify to what's on the cell

    3    phones, including the fact that the bomb phone number was

    4    programmed into the Defendant's cell phone.

    5               Jeff Fuller, another agent, will testify to finding

    6    the Defendant's getaway vehicle, essentially, that where he

    7    parked it and it was in the location where he said it was.           We

    8    have Mr. Elessaway.     We have Special Agent Haag.       I don't know

    9    if he has confirmed from the big disk the phone calls that

   10    we've discussed, but if he has, he will testify again about

   11    that tomorrow.    Someone to identify Russell Dennison's voice.

   12    Then we have also finally --

   13               THE COURT:    Who is that someone?

   14               MS. SWEENEY:    It either -- most likely will be Amy

   15    Pittman, Your Honor.     She's interviewed Mr. Dennison

   16    previously, and she can testify from her interviews of him that

   17    she recognizes his voice.

   18               THE COURT:    How many times has she interviewed him?

   19               MS. SWEENEY:    I believe twice, Your Honor.       And then

   20    in addition to that, recognizing him, she will review videos

   21    that he has posted on the Internet where his voice is also

   22    heard.

   23               And then finally we have Rafi Diaz, an agent who went

   24    to the Defendant's home on the night of his arrest and got the

   25    computer from the house.      And then Peggy Fox who will testify



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 267 of 274 PageID267
                                                                              4141



    1    to the image, the thumbnail, essentially, of the German

    2    brothers' video on the Defendant's computer that

    3    Mr. Kohlmann -- the Government seeks to have Mr. Kohlmann

    4    testify about.

    5               THE COURT:    This is a still photo or is this an

    6    actual video?

    7               MS. SWEENEY:    It is not the actual video, Your Honor.

    8    It's purely a thumbnail from the video.        And in all honesty, I

    9    think the evidence is far stronger that the Defendant viewed

   10    this video from his own statements.       He describes exactly

   11    things that happened in that video.       I don't want to raise the

   12    issue now beause the Court doesn't want to hear it, but --

   13               THE COURT:    I don't.

   14               MS. SWEENEY:    Okay.

   15               THE COURT:    But she is going to testify to the

   16    presence of a still photo from some sort of image that was

   17    pulled from the screen, not the content or the video itself?

   18               MS. SWEENEY:    No, it's neither the content nor the

   19    video.   It is nearly an image.      All that is --

   20               THE COURT:    Image of what is the question?

   21               MS. SWEENEY:    It is -- essentially, imagine, Your

   22    Honor, an icon of some sort.       Basically, all that is on the

   23    Defendant's computer is a jpeg image that is a still from the

   24    video.   I don't believe she can --

   25               THE COURT:    That was my question.      It's a still photo



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 268 of 274 PageID268
                                                                              4142



    1    from the video and is the only thing she's testifying came from

    2    the computer?

    3                MS. SWEENEY:   Yes.

    4                THE COURT:   And that's supposed to be the

    5    foundational basis for Mr. Kohlmann's testimony that the video

    6    was on his computer?

    7                MS. SWEENEY:   Your Honor, the basis for

    8    Mr. Kohlmann's testimony is that the Defendant viewed the

    9    video.   And he can say that based on the things that the

   10    Defendant says in the recordings.

   11                THE COURT:   What's the relevance of the photo on the

   12    computer?

   13                MS. SWEENEY:   It's not.    I would -- frankly, Your

   14    Honor, I'd rather just proceed on what Mr. Kohlmann can say

   15    that makes it clear to him that the Defendant viewed the German

   16    brothers' video.    If -- I'd rather not present it, so we'll

   17    proceed on that basis.     We'll proceed on the basis of the

   18    Defendant's statements prove that he watched that video.

   19                THE COURT:   And that's by the -- Mr. Kohlmann

   20    comparing the video to the Defendant's statements?

   21                MS. SWEENEY:   That's correct, Your Honor.

   22                THE COURT:   And they are so close and verbatim and

   23    unique that it couldn't have been something the Defendant came

   24    up with on his own?

   25                MS. SWEENEY:   No, I don't believe it could, Your



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 269 of 274 PageID269
                                                                              4143



    1    Honor.    In one of the videos, the Defendant describes

    2    specifically an attack in Waziristan, and he describes this

    3    attack and how multiple people were killed and graves had to be

    4    dug and there was the smell of death in the air, and that is

    5    exactly what Abu Adam says in this German video.          He --

    6                THE COURT:   Does the defense disagree?       You're

    7    shaking your head and I don't know for what purpose.

    8                MR. PETER TRAGOS:    I disagree because yesterday the

    9    prosecutor said that his martyrdom video mirrored this video so

   10    much.    And after looking at Mr. Kohlmann's report again,

   11    there's only one line that's not even verbatim that is saying

   12    that he repeats from the video.

   13                MS. SWEENEY:   That is -- sorry --

   14                THE COURT:   In the report of Mr. Kohlmann, he does

   15    not recite that the two are so similar that that is his basis

   16    for believing that it was the source of the Defendant's

   17    martyrdom video.

   18                MR. PETER TRAGOS:    He talks about how in the

   19    transcripts he says the two German brothers did this, this and

   20    this, but as far as his martyrdom video, you know, the words

   21    that I see that are exact -- they're not even exactly the same

   22    or when they talk about not first, second, third or fourth

   23    world war, from what he quotes from the German video.

   24                THE COURT:   Not this part about death in the air and

   25    so forth?



                 CLAUDIA SPANGLER-FRY    OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 270 of 274 PageID270
                                                                              4144



    1               MR. PETER TRAGOS:     That's when he's talking to, I

    2    think, the UCE about have you seen the video.

    3               MS. SWEENEY:    That's also in --

    4               THE COURT:    That's when who is talking to the UCE?

    5               MR. PETER TRAGOS:     The Defendant, but not the

    6    martyrdom video.

    7               MS. SWEENEY:    These items are all in Mr. Kohlmann's

    8    report.   He's explaining that the pieces -- what the Defendant

    9    says that makes it clear he's viewed this video.          Then in

   10    his martyrdom video, he calls out to Abu Adam and Abu Ibrahim

   11    and then he -- I don't disagree with Mr. Tragos that it's not

   12    an exact quote, but the idea is the same.        It is that,

   13    essentially, jihad is the next world war or something along

   14    those lines, essentially.

   15               And the Defendant make that same sort of claim in his

   16    martyrdom video.    And Mr. Kohlmann can present that exact

   17    language and explain how he sees that the Defendant must have

   18    viewed this video.

   19               THE COURT:    Is the Government seeking to introduce

   20    the video of the German brothers in evidence or just the fact

   21    that the Defendant was mimicking some of the things that they

   22    said and that at least as to one of them some evidence as to

   23    his background?

   24               MS. SWEENEY:    Your Honor, we would seek to introduce

   25    the video into evidence as -- again, it goes to the



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 271 of 274 PageID271
                                                                              4145



    1    predisposition.    It shows that the Defendant was -- he's the

    2    only person in this case that speaks German.         The UC and the

    3    CHS don't speak German.

    4               And I think it goes to show his predisposition,

    5    essentially, that these are items that he was seeking out and

    6    watching on his own, things putting forth these kinds of ideas

    7    and that are promoting violence because, essentially, the

    8    entire thrust of the German brothers' video is that the whole

    9    world must follow Sharia Law, and if they don't, lands can be

   10    retaken by violence.     That's the overall idea of this video.

   11               And given that the Defendant not only watched it but

   12    found it so influential he talked about it on multiple

   13    occasions, I believe it's proof of predisposition.

   14               THE COURT:    Counsel.

   15               MR. PETER TRAGOS:     Your Honor, I think it's maybe an

   16    argument that didn't sit or didn't win us the day before, but I

   17    think that showing his watching videos and his religious

   18    beliefs don't necessarily show a predisposition to have a bomb

   19    in his car and buy grenades and guns.        They show a

   20    predisposition to a religious belief.

   21               So it's the same thing as him telling Iman that he --

   22    I'm sorry, it's not Iman, the president of the mosque that he

   23    believes that it's okay under Sharia Law to kill people that

   24    are disbelievers.     And this is the same thing, just 'cause he

   25    watches these videos of these people that say, it's okay to



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 272 of 274 PageID272
                                                                              4146



    1    kill somebody, doesn't necessarily show he has a predisposition

    2    to be somebody that buys a bomb or somebody that goes out and

    3    buys guns.    And they're also not his statements.

    4               I think this is just purely prejudicial and there's

    5    no probative value to some other guy's video that isn't before

    6    this jury.    And so everything that he said is not going to be

    7    taken as evidence against this Defendant when this Defendant --

    8    I mean, as his own words that he has to live with in this case.

    9               THE COURT:    Well, that's my greater concern with the

   10    playing of an entire video of another person with other views,

   11    maybe more expansive than this Defendant's views.          I don't know

   12    what the video shows.     But to the extent that the Defendant

   13    made statements establishing his predisposition to behave a

   14    certain way and those statements find their source in other

   15    extremists and there's some evidence of who at least one of

   16    these other extremists is, the Court would consider that.

   17               But the notion of playing another extremist's entire

   18    video to show what his additional beliefs were, to the extent

   19    that they're not reflected in the Defendant's own martyrdom

   20    video, would seem to me to have a greater prejudicial and

   21    probative effect on the course of this case.

   22               So I'm not sure what all is in this other video that

   23    the Government seeks to play, but to the extent that it exceeds

   24    those statements the Defendant adopted, it would seem to be

   25    potentially overly prejudicial under the rules.



                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 273 of 274 PageID273
                                                                              4147



    1               Ms. Sweeney.

    2               MS. SWEENEY:    Your Honor, we will endeavor to --

    3    either we will present testimony about the video solely through

    4    Mr. Kohlmann and won't play anything, or we'll attempt to clip

    5    it to where it's limited to simply the parts where the

    6    Defendant mirrors or says the same thing.

    7               The only other thing I would add is, we're saying

    8    video and it is a video, but the -- it's mostly just audio.

    9    The video itself is just the still image of Abu Adam, he's

   10    wearing camouflage, he's sitting in front of like some hills or

   11    some rocks and he might be holding a gun.        I can't remember if

   12    he's holding one finger up like number one or pointing at the

   13    sky, I'm not sure which one.

   14               So there's no action in the video, it's merely an

   15    image that plays on the screen.        And the entire video is 14

   16    minutes long.    So -- but I understand the Court's ruling.

   17               THE COURT:    All right.

   18               And then I'll address anything else with regard to

   19    Mr. Kohlmann in the morning when we proceed at 8:30.

   20               We stand in recess.

   21               (Thereupon, the proceedings concluded.)

   22                                 *******

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                CLAUDIA SPANGLER-FRY     OFFICIAL U. S. COURT REPORTER
Case 8:12-cr-00045-MSS-AEP Document 379 Filed 06/16/15 Page 274 of 274 PageID274
                                                                              4148



    1                                 CERTIFICATE

    2

    3    STATE OF FLORIDA             )

    4    COUNTY OF HILLSBOROUGH       )

    5

    6             I, CLAUDIA SPANGLER-FRY, Official Court Reporter for

    7    the United States District Court, Middle District, Tampa

    8    Division,

    9              DO HEREBY CERTIFY, that I was authorized to and

   10    did, through use of Computer Aided Transcription, report

   11    in shorthand the proceedings and evidence in the

   12    above-styled cause, as stated in the caption hereto, and

   13    that the foregoing pages numbered 1 to 274, inclusive,

   14    constitute a true and correct transcription of my

   15    shorthand report of said proceedings and evidence.

   16                IN WITNESS WHEREOF I have hereunto set my hand

   17    in the City of Tampa, County of Hillsborough, State of

   18    Florida, this 15th day of June, 2015.

   19

   20              /s/CLAUDIA SPANGLER-FRY
                   _________________________________________
   21              CLAUDIA SPANGLER-FRY, Official Court Reporter

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